Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 1 of 121 Page ID #:5980

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    1                        UNITED STATES DISTRICT COURT

    2                       CENTRAL DISTRICT OF CALIFORNIA

    3                                      ---

    4               HONORABLE STEPHEN V. WILSON, JUDGE PRESIDING

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    8     VERNON UNSWORTH,                     )
                                               )
    9                                          )
                                               )
   10                         Plaintiffs,      )
                                               )No. CV 18-8048
   11                VS                        )
                                               )
   12     ELON MUSK,                           )
                                               )
   13                                          )
                              Defendant.       )
   14     _____________________________________)

   15

   16                   Reporter's Transcript of Proceedings
                              JURY TRIAL - DAY THREE
   17                             MORNING SESSION
                              Los Angeles, California
   18                        THURSDAY, DECEMBER 5, 2019

   19

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   21

   22

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                             UNITED STATES DISTRICT COURT
Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 2 of 121 Page ID #:5981

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                             UNITED STATES DISTRICT COURT
Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 3 of 121 Page ID #:5982

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   25     (Appearances continued on next page)



                             UNITED STATES DISTRICT COURT
Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 4 of 121 Page ID #:5983

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                             UNITED STATES DISTRICT COURT
Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 5 of 121 Page ID #:5984

                                                                               5


    1                                     INDEX

    2     WITNESS:                                                   PAGE:

    3
           Plaintiff VERNON UNSWORTH, Previously Sworn                     6
    4      CROSS-EXAMINATION (RESUMED) BY MR. PRICE:                       6

    5                                     *****

    6                                    EXHIBITS

    7      Exhibit No. 907 admitted into evidence.                   52

    8      Exhibit No. 10 admitted into evidence.                    53

    9      Exhibit No. 677 admitted into evidence.                   68

   10      Exhibit No. 783 received in evidence                      84

   11      Exhibit No. 75 received in evidence                       91
           Exhibit No. 790 received in evidence                      93
   12
           Exhibit No. 902A received in evidence                     101
   13
           Exhibit No. TX6 received in evidence                      102
   14

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                             UNITED STATES DISTRICT COURT
      Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 6 of 121 Page ID #:5985

                                                                                     6


            1   THURSDAY, DECEMBER 5, 2019                            9:00 A.M.

            2                                   ~ ~ ~

            3                           JURY TRIAL - DAY TWO

            4                           MORNING SESSION ONLY

08:55:09    5                                  ~ ~ ~

09:05:43    6                THE COURT:   Good morning, members of the jury.

09:05:47    7   Thank you once again for making the special effort to be here

09:05:50    8   on time.

09:05:51    9                       We're ready to proceed.

09:05:51   10                MR. PRICE:   Thank you, Your Honor.

09:05:51   11              PLAINTIFF VERNON UNSWORTH, PREVIOUSLY SWORN

09:05:51   12                       CROSS-EXAMINATION (RESUMED)

09:05:51   13   BY MR. PRICE:

09:06:06   14   Q.       Good morning, Mr. Unsworth.

09:06:08   15   A.       Good morning, Mr. Price.

09:06:08   16                MR. PRICE:   Good morning, ladies and gentlemen.

09:06:08   17   BY MR. PRICE:

09:06:08   18   Q.       I want to go back to the time of the rescue and lead

09:06:14   19   up to the CNN interview that you did on July 13th.          Okay?

09:06:14   20   A.       Okay.

09:06:14   21   Q.       And a couple of things that I'd like to clarify if I

09:06:17   22   could.   The children were discovered on July 2nd, right?

09:06:21   23   A.       Correct.

09:06:21   24   Q.       And you said you did a couple of interviews.        Those

09:06:30   25   were with CNN, correct?



                                    UNITED STATES DISTRICT COURT
      Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 7 of 121 Page ID #:5986

                                                                                     7


09:06:31    1   A.        Not that I know of.

09:06:33    2   Q.        Did you know who you were interviewing with during the

09:06:36    3   rescue?

09:06:37    4   A.        No.

09:06:37    5   Q.        You do know that CNN is a large international news

09:06:41    6   organization, correct?

09:06:42    7   A.        I do now.    I didn't at the time.

09:06:44    8   Q.        You said you've been a financial advisor for how many

09:06:47    9   years?

09:06:48   10   A.        Since 1987.

09:06:50   11   Q.        And you lived in the UK?

09:06:52   12   A.        Correct.

09:06:52   13   Q.        And there is a CNN station that broadcasts in the UK,

09:06:57   14   broadcasts news 24 hours a day, correct?

09:06:59   15   A.        I don't watch much television, sir.

09:07:02   16   Q.        So, what you're saying is that at the time of the CNN

09:07:05   17   interview, you did not know that you were going on a station

09:07:08   18   that had a huge platform worldwide.       Is that what you're

09:07:12   19   saying?

09:07:13   20   A.        Absolutely not.

09:07:14   21   Q.        Well, after the 2nd, there was like a gap of ten days

09:07:22   22   where you didn't give an interview, right?        Like, between

09:07:25   23   July 3rd and the time that you did your interview on the CNN

09:07:29   24   on the 13th; is that right?

09:07:31   25   A.        I think that's correct.



                                      UNITED STATES DISTRICT COURT
      Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 8 of 121 Page ID #:5987

                                                                                     8


09:07:32    1   Q.        And when you did the CNN interview, you knew that you

09:07:36    2   were --

09:07:36    3                        Well, certainly, as you were giving your

09:07:38    4   answers, you knew that you were in front of the camera,

09:07:41    5   correct?

09:07:42    6   A.        Correct.

09:07:43    7   Q.        And you knew that if you attacked Elon Musk, that it

09:07:51    8   was going to make headlines, right?

09:07:53    9   A.        I did not attack Elon Musk.

09:08:01   10   Q.        Sir, let me jump ahead.

09:08:03   11                 MR. PRICE:   I'd like to play, Your Honor, it's

09:08:05   12   Exhibit 14 and ask some questions about that in response to

09:08:10   13   that answer.    That's the CNN interview.

09:08:13   14                 THE COURT:   All right.

09:08:13   15                 (Videotaped news interview viewed.)

09:09:10   16                 MR. PRICE:   To help us with the questions, Your

09:09:10   17   Honor, I'd like to put up as a demonstrative the transcript

09:09:15   18   that interview.      It's about half a page.    It's Exhibit 817.

09:09:18   19                 THE COURT:   Okay.

09:09:23   20                 (Videotape viewed.)

09:09:37   21                 MR. PRICE:   The second page, thank you.

09:09:43   22   BY MR. PRICE:

09:09:43   23   Q.        Mr. Unsworth, you said that:    "This was just -- just a

09:09:48   24   PR stunt."    Correct?

09:09:50   25   A.        Correct.



                                     UNITED STATES DISTRICT COURT
      Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 9 of 121 Page ID #:5988

                                                                                     9


09:09:51    1   Q.      And that communicates that Mr. Musk wasn't trying to

09:09:57    2   help save these kids and just wanted to get publicity,

09:10:02    3   doesn't it?

09:10:03    4   A.      Correct.

09:10:07    5   Q.      Don't you find that to be insulting to say someone is

09:10:15    6   coldhearted, that they would do a PR stunt when there are

09:10:16    7   children to be saved?     Don't you find that to be an insult?

09:10:19    8   A.      My insult was to the tube and not to Mr. Musk

09:10:24    9   personally.

09:10:25   10   Q.      So, you did not mean that -- let me step back.

09:10:30   11                      When you say the tube was a PR stunt, are you

09:10:34   12   saying that the effort creating that tube in consultation

09:10:36   13   with Mr. Stanton and sending it to Thailand, are you saying

09:10:43   14   that was a PR stunt, and there was no attempt to try to help

09:10:49   15   these children?

09:10:49   16   A.      I believed at the time it was a PR stunt.

09:10:51   17   Q.      Right now do you believe that Mr. Musk was so

09:10:54   18   coldhearted that he created the submarine and sent it to

09:10:59   19   Thailand just to get publicity and with no regard for the

09:11:05   20   safety of those kids?

09:11:05   21   A.      My opinion is it was still a PR stunt.

09:11:07   22   Q.      But will you answer my question?       Right now do you

09:11:11   23   think that Mr. Musk was so coldhearted that he was sending

09:11:16   24   over this sub only as a PR stunt and with no regard for the

09:11:22   25   safety of those children?



                                   UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 10 of 121 Page ID
                                            #:5989
                                                                                      10


09:11:23    1     A.      I don't think it was cold-hearted, but I still believe

09:11:25    2     it was a PR stunt.

09:11:27    3     Q.      But you would agree it would be coldhearted if you

09:11:27    4     sent over this sub, and you did not have the intention of

09:11:32    5     trying to help these children escape death, right?

09:11:37    6     A.      Right.

09:11:41    7     Q.      And that's basically what you're saying here, is that

09:11:45    8     he was coldhearted that he sent the sub over with no

09:11:49    9     intention of trying to help these children get out of that

09:11:52   10     cave, right?

09:11:52   11     A.      I never said Mr. Musk was coldhearted.

09:11:57   12     Q.      You just said that doing what you said he did, which

09:12:01   13     was send the sub over as a PR stunt, would be pretty

09:12:05   14     coldhearted, right?

09:12:05   15     A.      I never said he was coldhearted.

09:12:09   16     Q.      After sitting in this courtroom and seeing the

09:12:12   17     evidence, are you willing to apologize, on the record, to Mr.

09:12:20   18     Musk for saying that:     "Creating and sending this sub to

09:12:25   19     Thailand was just a PR stunt"?

09:12:29   20     A.      My opinion, as I sit here today, is that it was still

09:12:34   21     a PR stunt, and I never made any reference to Mr. Musk being

09:12:40   22     coldhearted.     He obviously got involved, and that's what

09:12:44   23     he -- that's his involvement.

09:12:46   24     Q.      And so to be clear, you're not willing to apologize to

09:12:50   25     Mr. Musk for saying that sending that sub over there was a PR



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 11 of 121 Page ID
                                            #:5990
                                                                                      11


09:12:57    1     stunt, right?

09:12:58    2     A.      I'm not sure how I -- how I need to apologize.        I had

09:13:02    3     my opinion at the time, and I still stand by that opinion.

09:13:06    4     Q.      You can see how that -- that would hurt someone, that

09:13:11    5     is, to say that what -- the effort that you just undertook

09:13:13    6     was just to get PR, and there was no intent to rescue these

09:13:18    7     kids.   You could see how that would hurt someone?

09:13:24    8     A.      I'm not sure how it would hurt somebody, but that's

09:13:28    9     what I said at the time.

09:13:29   10     Q.      And you still believe that today?

09:13:31   11     A.      I do.

09:13:32   12     Q.      And you would repeat that today.

09:13:34   13     A.      I do.

09:13:34   14     Q.      Let me talk about what was happening before the CNN

09:13:39   15     interview.    On July 6, there was a meeting convened to

09:13:44   16     determine what course of action would be taken to rescue the

09:13:47   17     children, right?

09:13:49   18     A.      What --

09:13:52   19                         Can you remind me when this was?

09:13:54   20     Q.      July 6th.

09:13:56   21     A.      When?

09:13:57   22                  MR. SPIRO:   Objection.    Vague, Your Honor, what --

09:14:02   23                  THE COURT:   Make it clearer.

09:14:04   24                  MR. PRICE:   Sure.

09:14:04   25     BY MR. PRICE:



                                      UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 12 of 121 Page ID
                                            #:5991
                                                                                      12


09:14:04    1     Q.      Is it true, sir, that there was a meeting on July 6,

09:14:07    2     where there were Thai government officials and some divers

09:14:10    3     and others discussing what plan they were going to try to

09:14:13    4     execute to save the children?

09:14:14    5     A.      There was, yes.    And I was actually involved in one of

09:14:18    6     those early meetings.

09:14:20    7     Q.      You were not at the July 6 meeting, correct?

09:14:23    8     A.      In the evening, no, I wasn't.      And neither was Rick

09:14:29    9     Stanton or John Blanton or, from recollection, none of the

09:14:33   10     other divers of the UK team.

09:14:36   11     Q.      At that meeting, there was a decision made to try to

09:14:41   12     dive-rescue the children, correct?

09:14:44   13     A.      From what I believe, yes.

09:14:45   14     Q.      And that decision, that rescue was going to be an

09:14:49   15     attempt that had never been done in the world before,

09:14:52   16     correct?

09:14:53   17     A.      Correct.

09:14:53   18     Q.      It involved divers going to the children, tethering

09:15:02   19     them to the divers, like tethering a child between two

09:15:08   20     divers, drugging them with Ketamine so they wouldn't panic,

09:15:13   21     and then diving those children out, correct?

09:15:15   22     A.      I have to correct you on the fact that it was only one

09:15:19   23     diver per child.

09:15:19   24     Q.      Okay.

09:15:20   25     A.      Not two divers.    But, yes, in general, that's --



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 13 of 121 Page ID
                                            #:5992
                                                                                      13


09:15:23    1     that's the way it was done.

09:15:24    2     Q.      And -- and there was some concern that that plan --

09:15:30    3     that the children might be injured because they'd be

09:15:36    4     unprotected from the -- the inside of the cave, right?

09:15:39    5     A.      Correct.   There was in no guarantees that it was going

09:15:42    6     to be successful, because it was the first time it was ever

09:15:44    7     been attempted.

09:15:44    8     Q.      And between July 6 and 8 when the first rescue attempt

09:15:48    9     was made, they were still considering other options, right?

09:15:53   10     A.      Surprised the UK team was concerned the only option

09:15:58   11     was the dive plan.

09:16:00   12     Q.      Yes, but as you know, there is always a chance the

09:16:05   13     weather could change, right?

09:16:06   14     A.      Correct.

09:16:06   15     Q.      And there was still a problem of whether or not you

09:16:09   16     could get a face mask that was small enough to fit on the

09:16:14   17     smallest child, right?

09:16:16   18     A.      Correct.

09:16:16   19     Q.      And if the face mask couldn't fit, then you couldn't

09:16:20   20     dive the kid out of the cave, right?

09:16:24   21     A.      Correct.   And at the end of the day, a face mask was

09:16:28   22     made available that fit that particular child.

09:16:30   23     Q.      At the last hour, right?

09:16:32   24     A.      It was still made available.

09:16:34   25     Q.      And luckily that child was saved, but that was at the



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 14 of 121 Page ID
                                            #:5993
                                                                                      14


09:16:38    1     last hour, correct?

09:16:39    2     A.       Still made available, but yes.

09:16:40    3     Q.       I know it was still made available.      My question is,

09:16:44    4     that was at the last hour.      That wasn't on July 6 or July

09:16:47    5     7th, right?

09:16:48    6     A.       I don't recall exactly when the mask was made

09:16:50    7     available, but it -- it was made, and fortunately it fit the

09:16:54    8     child.

09:16:56    9     Q.       During July 6 to July 8, there was still uncertainty

09:17:02   10     as to whether or not the diving solution would work, correct?

09:17:07   11     A.       Of course.

09:17:07   12     Q.       And between July 6 and July 8, because of potential

09:17:11   13     changes in the whether, because you weren't sure you could

09:17:14   14     get the face masks, there were people on the ground

09:17:17   15     investigating other options, correct?

09:17:19   16     A.       Correct.

09:17:19   17     Q.       And one of those options was to survey the area and

09:17:24   18     see if you could find or drill other entrances into the cave,

09:17:29   19     correct?

09:17:29   20     A.       Correct.   That had been going on, really, from the

09:17:32   21     start of the rescue.

09:17:33   22     Q.       And before July --

09:17:35   23     A.       Sorry.   Let me finish.

09:17:37   24     Q.       I didn't mean to interrupt you.

09:17:38   25     A.       It wasn't just -- just between those two days.       Other



                                      UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 15 of 121 Page ID
                                            #:5994
                                                                                      15


09:17:43    1     ways and other plans had been in operation, really, from the

09:17:48    2     start of the rescue.

09:17:49    3     Q.      So, let me correct myself, then.      Those efforts

09:17:52    4     continued between July 6 and July 8 because there wasn't yet

09:17:58    5     a clear solution, even though there was a selective one.

09:18:02    6     A.      Certain -- certain parts of the plans were considered,

09:18:06    7     were then discounted, such as trying to find an entrance on

09:18:12    8     another part of the mountain or the area.        The drilling side

09:18:17    9     of it had been discounted.

09:18:21   10                        From memory, the drilling actually stopped, I

09:18:24   11     think, on or around the day that the boys stopped, and that

09:18:27   12     was in the early days.     And the other option was to possibly

09:18:32   13     leave the children in there for at least five to six months

09:18:38   14     until the monsoon rains and the floods receded.

09:18:43   15     Q.      Between July 6 and July 8, you knew that there was

09:18:51   16     SpaceX engineers, who worked for Mr. Musk, who were on the

09:19:00   17     ground in Thailand doing 3D surveys of the areas around the

09:19:01   18     cave, correct?

09:19:01   19     A.      I wasn't aware of what they were involve in.

09:19:03   20     Q.      You met one of these individuals, a man named Chris

09:19:07   21     Bowman, correct?

09:19:07   22     A.      I did for a very short space of time.       Didn't really

09:19:12   23     interact with him; but, yes, I think I met him for a very

09:19:15   24     short space of time.

09:19:16   25     Q.      And did you understand what he was doing?        Did you



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 16 of 121 Page ID
                                            #:5995
                                                                                      16


09:19:17    1     understand he was surveying to see if there was a solution to

09:19:20    2     find another entrance to the cave?

09:19:23    3     A.        No, I did not.

09:19:24    4     Q.        Did you think that the presence of SpaceX engineers on

09:19:32    5     the ground before July 10 was a PR stunt?

09:19:35    6     A.        I wasn't aware of how many SpaceX engineers were on

09:19:39    7     the ground.     As far as I was aware, it was only of Chris

09:19:42    8     Bowman.    I did not know of anybody else that was there.

09:19:45    9     Q.        Okay, well, I'll limit it to your awareness.      You were

09:19:48   10     wear that Chris Bowman was there, an engineer with SpaceX.

09:19:51   11     A.        Correct.

09:19:51   12     Q.        Is it your opinion that he was there as part of the PR

09:19:57   13     stunt?

09:19:57   14     A.        Not at the time, no, because I wasn't aware of exactly

09:20:01   15     what they were -- what they were doing.

09:20:02   16     Q.        Sitting here today, do you think that Mr. Bowman was

09:20:05   17     on the ground in Thailand as part of the PR stunt?

09:20:08   18     A.        No.

09:20:09   19     Q.        So, that part of what Mr. Musk directed his people to

09:20:15   20     do, you do not think was a PR stunt, correct?

09:20:18   21     A.        I wasn't aware of what Mr. Bowman was there for.       I

09:20:23   22     wasn't really taking much notice of what he was there for.

09:20:32   23     So my understanding at the time was very limited.

09:20:38   24     Q.        Did you ever ask why Mr. Bowman was there?

09:20:41   25     A.        No.



                                       UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 17 of 121 Page ID
                                            #:5996
                                                                                      17


09:20:41    1     Q.      In your five-minute conversation with him, what was he

09:20:44    2     talking to you about?

09:20:45    3     A.      I actually don't think I physically spoke to him face

09:20:50    4     to face.   From memory, there was other people around, I

09:20:54    5     think, including maybe Martin Ellis.       But other than that, I

09:20:59    6     don't think I personally spoke to him face to face.

09:21:02    7     Q.      Mr. Ellis is someone who's a friend of yours, correct?

09:21:05    8     A.      Correct.

09:21:06    9     Q.      And it's your understanding that Mr. Ellis was

09:21:10   10     providing maps and survey materials to SpaceX to help them to

09:21:12   11     survey the area?

09:21:13   12     A.      I'm not fully aware of exactly what Mr. Ellis was

09:21:19   13     providing to them.

09:21:23   14     Q.      Do you remember saying, at your deposition, that you

09:21:26   15     spent less than five minutes talking with a SpaceX engineer?

09:21:32   16     A.      I don't remember that.

09:21:35   17                  MR. PRICE:   Your Honor, if I could just put up the

09:21:38   18     transcript, page 212, lines 12 through 17.        And I believe

09:21:47   19     there is no objection.

09:21:49   20                  MR. WOOD:    There is no objection, Your Honor.

09:22:01   21                  MR. PRICE:   In fact, Your Honor, if I could expand

09:22:04   22     it 25 through --

09:22:07   23                  MR. WOOD:    I don't know what it is, but there is

09:22:08   24     no objection.    It's in his deposition.

09:22:14   25                  MR. PRICE:   It would be 211, 25; 212, line 17.



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 18 of 121 Page ID
                                            #:5997
                                                                                      18


09:22:37    1                  THE COURT:   All right.

09:22:37    2     BY MR. PRICE:

09:22:58    3     Q.      I'll just go ahead and read it.

09:22:59    4                  "Question:   Did you see anyone affiliated with Mr.

09:23:02    5     Musk, someone who works with Mr. Musk, at one of his

09:23:03    6     companies, at the rescue site during the rescue operations?

09:23:08    7                  "Answer:   I seem to remember, but I can't recall

09:23:10    8     the day that one of the engineers was introduced to possibly

09:23:13    9     myself and Martin Ellis and maybe two or three others.         But

09:23:16   10     that was early on in the rescue, and I cannot recall what day

09:23:19   11     that was.   I seem to recall there was a photograph somewhere

09:23:22   12     of the SpaceX engineer, but I can't recall his name.         Can't

09:23:26   13     recall what day it was.

09:23:29   14                  "Question:   Other than meeting, how much time, by

09:23:32   15     the way, did you spend with the SpaceX engineer whose name

09:23:34   16     you don't remember?

09:23:35   17                  "Answer:   Very little.

09:23:36   18                  "Question:   A minute?

09:23:38   19                  "Answer:   Less than five minutes."

09:23:40   20                       So, does that refresh your recollection that

09:23:43   21     you actually met with the SpaceX engineer for less than five

09:23:46   22     minutes?

09:23:47   23     A.      I recall the meeting, and I'm -- my -- my

09:23:49   24     understanding of, from what I can recollect, is it was on the

09:23:53   25     6th of July, because that was the actual day that Martin



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 19 of 121 Page ID
                                            #:5998
                                                                                      19


09:23:57    1     Ellis arrived.    But during this day, the 6th of July, I was

09:24:01    2     involved in many meetings and -- and speaking to people

09:24:05    3     during the 6th of July, including the UK team, the dive team,

09:24:10    4     the embassy, the British embassy officials, the US Air Force.

09:24:16    5                       So, it -- it was a meeting that formed a very

09:24:22    6     difficult day for us, and I cannot remember -- if I spoke to

09:24:29    7     Chris Bowman, I cannot recall what I was talking to him

09:24:34    8     about.   It may have been substantially less than five

09:24:37    9     minutes, because we were in a group.       So it may well have

09:24:41   10     been that I actually didn't speak to him very much.

09:24:45   11     Q.       Did you understand that drilling was actually part of

09:24:49   12     the government's plan before July 6?

09:24:52   13     A.       The -- I understood that drilling was an option.        I

09:24:57   14     didn't know who was involved at the time.        And the drilling,

09:25:05   15     from recollection, started, I think, on the 1st or 2nd of

09:25:11   16     July.    They said it was a very difficult area to even do any

09:25:16   17     drilling; and from my understanding and my recollection, once

09:25:22   18     the boys were found, they were told to stop drilling.

09:25:26   19     Q.       Now, on July 10th, there were still four boys who were

09:25:31   20     in the cave trapped, correct?

09:25:33   21     A.       Correct, four boys and the coach.

09:25:36   22     Q.       And there were still concerns about whether or not the

09:25:42   23     dive rescue operation would work with respect to the smallest

09:25:47   24     boy, correct?

09:25:47   25     A.       It wasn't just the smallest boy.     There was concerns



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 20 of 121 Page ID
                                            #:5999
                                                                                      20


09:25:51    1     about all 12 of them, including the coach, not just the small

09:25:55    2     boy.

09:25:55    3     Q.      And would these concerns -- one of the concerns was

09:25:57    4     the weather, right?     Because it could change very quickly.

09:26:01    5     A.      Correct.   We had a, what we regarded was a window of

09:26:06    6     opportunity on the basis that the rains were due to come in

09:26:13    7     heavily on or around about the 10th or the 11th, and the

09:26:17    8     actual fact, it arrived early on the evening of the 9th.

09:26:25    9     Q.      So it had -- it arrived early on the 9th you said?

09:26:27   10     A.      The rains occurred early on the evening of the 9th

09:26:30   11     after we'd extracted eight of the boys successfully.

09:26:33   12     Q.      So, after extracting the first eight boys, the rains

09:26:38   13     came early before you were able to -- before the divers were

09:26:40   14     able to extract the four boys and the coach, right?

09:26:43   15     A.      Correct.   It had been raining heavily on the evening

09:26:48   16     of the 9th and into the morning of the 10th, which was the

09:26:51   17     final day of the rescue.

09:26:52   18     Q.      And there was also concern as to whether or not the

09:26:55   19     water pumps would continue to work, correct?

09:26:58   20     A.      That was the case during the whole operation.        It

09:27:01   21     wasn't just a case of one.      It was a case of whether the

09:27:05   22     water pumps functioned during the entirety of the operation,

09:27:07   23     not just the one day.

09:27:09   24     Q.      Then I stand corrected.

09:27:13   25                        Every day you were there, there was a concern



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 21 of 121 Page ID
                                            #:6000
                                                                                      21


09:27:14    1     that the water pumps could fail.

09:27:16    2     A.      There was concerns about many things, not just about

09:27:21    3     one area, not just about the water pumps but the -- the

09:27:25    4     electrical supplies, a multitude of things could have gone --

09:27:28    5     gone wrong at the time.     It wasn't -- it wasn't just the one

09:27:31    6     thing about the water pumps.

09:27:32    7     Q.      So, several concerns.

09:27:35    8                       Let me ask you, what was the fear about the

09:27:37    9     water pumps failing?     What would have -- what would have

09:27:39   10     happened?

09:27:40   11     A.      Well, the water pumps played a part; but, really,

09:27:46   12     from -- from the dive start point, the water pumps were not

09:27:52   13     having any effect on the water, on the water levels between

09:27:58   14     the dive start point and to where the boys were in -- well,

09:28:05   15     we've referred that to as Station 9.

09:28:10   16                       So, the only good that the water pumps were

09:28:15   17     doing was really in the entrance chamber and a couple of

09:28:19   18     sections from the entrance chamber to Chamber 3.         But the

09:28:22   19     water pumps had no effect on the water levels coming through

09:28:26   20     the cave at the time from the dive start point at the end of

09:28:33   21     Chamber 3 through to where the boys were, actually no effect

09:28:37   22     whatsoever.

09:28:38   23     Q.      Well, but that wasn't the concern, sir.       The concern

09:28:40   24     was that without the water pumps, the other chambers,

09:28:43   25     including where there was the dive command operation, Chamber



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 22 of 121 Page ID
                                            #:6001
                                                                                      22


09:28:45    1     3, might be flooded, right?

09:28:50    2     A.        The -- in actual fact, the chamber between the end of

09:28:57    3     chamber 2 and up into Chamber 3 remained flooded the whole

09:29:03    4     time, during the whole operation.       Other than on the last day

09:29:09    5     a very small air space appeared.

09:29:12    6                        So, the -- that -- that area, although there

09:29:16    7     was two water pumps in that particular chamber, they didn't

09:29:20    8     have any effect on reducing the water level to any -- any

09:29:24    9     level that it didn't necessitate a whole submersion.

09:29:29   10     Q.        So, I guess what you're saying is, there really was no

09:29:32   11     need to have a concern about the water pumps, but people did

09:29:36   12     anyway.

09:29:36   13     A.        There was concerns about many other things, not just

09:29:40   14     the water pumps.    The water pumps did have an effect on the

09:29:45   15     area of -- the entrance area where they were pumping water

09:29:49   16     from the entrance chamber to stop it backing up to any

09:29:52   17     serious level.    But in actual fact, we were very, very lucky

09:29:58   18     that mother nature was on our side, and we had very little

09:30:02   19     rain between, really, the 2nd of July, and I think for three

09:30:07   20     or four days.

09:30:08   21                        So, you know, we were very lucky with mother

09:30:11   22     nature.    If it had rained on those three or four days, it

09:30:15   23     would have been a different scenario.       And the water pumps

09:30:17   24     wouldn't have coped with the volume of water anyway.

09:30:22   25     Q.        Isn't it your understanding that the rescue pod, that



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 23 of 121 Page ID
                                            #:6002
                                                                                      23


09:30:31    1     sub was built in case it might be needed because of flooding,

09:30:34    2     changes in the weather, not being able to find a mask that

09:30:40    3     fit the smallest child so he could not be dived out -- I

09:30:40    4     think that's the right verb tense.

09:30:42    5                        Isn't that right?

09:30:45    6     A.      That's my understanding, yes.

09:30:46    7     Q.      And with that understanding, knowing that that was the

09:30:49    8     reason that the sub was requested, is it still, sitting here

09:30:56    9     today, your opinion that -- that the effort of creating that

09:31:00   10     sub was just a PR stunt?

09:31:03   11     A.      It is, yes.

09:31:05   12     Q.      Let me ask you about another of your statements, then.

09:31:09   13     In the July 13, CNN interview, if we could go to 8-17 again.

09:31:26   14                        Now, we've gone through a lot of these

09:31:29   15     statements:    "Stick the submarine where it hurts," which is

09:31:31   16     the colloquialism, right?

09:31:31   17     A.      Idiom.

09:31:38   18     Q.      "It just had absolutely no chance of working."

09:31:42   19                        That was your opinion, correct?

09:31:42   20     A.      Correct.

09:31:42   21     Q.      And you were asked at the end when -- when you said:

09:31:45   22     "It was just a PR stunt."      The interviewer asked you:     "But

09:31:48   23     he went into the cave Tuesday."      Right?

09:31:57   24                        This is a transcript of the video we just

09:32:00   25     saw, sir.



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 24 of 121 Page ID
                                            #:6003
                                                                                      24


09:32:01    1     A.      Correct.

09:32:01    2     Q.      And your answer was:     "And was asked to leave very

09:32:06    3     quickly, and so he should have been."

09:32:10    4                        Do you see that?

09:32:11    5     A.      Correct.

09:32:12    6     Q.      And the statement:     "And was asked to leave very

09:32:14    7     quickly," that wasn't an opinion, that was a statement of

09:32:17    8     fact.   Correct?

09:32:20    9     A.      My understanding from general conversations, which I

09:32:24   10     think I've answered already, was that the general

09:32:28   11     conversations -- that's what was asked to be done.

09:32:32   12     Q.      That wasn't my question, sir.      I'm going to ask you

09:32:36   13     what the basis of that was and talk about your testimony

09:32:40   14     yesterday.    But I'm just saying that statement:      "He was

09:32:43   15     asked to leave very quickly," that is a statement of fact

09:32:48   16     that you made, right?

09:32:51   17                  MR. WOOD:    Objection.    Irrelevant.

09:32:54   18                  THE COURT:    Overruled.

09:32:54   19                  THE WITNESS:    Correct.

09:32:54   20     BY MR. PRICE:

09:32:55   21     Q.      And yesterday, on your direct examination, you were

09:32:59   22     asked to explain the basis for that statement.        Do you recall

09:33:02   23     that?

09:33:03   24     A.      I do.

09:33:04   25     Q.      And you said:     "It's what you heard generally around



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 25 of 121 Page ID
                                            #:6004
                                                                                      25


09:33:09    1     the cave rescue site, and specifically, there had been a

09:33:14    2     commanded order that the only people that should go into the

09:33:18    3     cave were rescuers, right?

09:33:21    4     A.      Correct.

09:33:21    5     Q.      And you were also asked in your deposition on August

09:33:30    6     14 of this year what the basis was for your statement that

09:33:37    7     Mr. Musk was asked to leave very quickly, weren't you?

09:33:40    8     A.      I cannot recall that section of the deposition.        If

09:33:42    9     you could show me the deposition, please.

09:33:48   10                  MR. PRICE:   Is there a deposition available?        I

09:33:52   11     think there is one near you.

09:33:55   12                        Your Honor, may I approach the witness to

09:33:57   13     hand him the deposition?

09:33:57   14     BY MR. PRICE:

09:34:19   15     Q.      Sir, if you'd turn to page 235, lines 5 through 15 --

09:34:29   16                  MR. PRICE:   And, Your Honor, I would request that

09:34:32   17     I'd be able to play that section.

09:34:41   18                  MR. WOOD:    It's fine with me, Your Honor.     No

09:34:43   19     objection.

09:34:44   20                  THE COURT:   Okay.

09:35:01   21                  MR. PRICE:   Your Honor, actually, to save of time,

09:35:03   22     it's 235, line 10 through 15.

09:35:34   23                  (Videotaped deposition of Mr. Unsworth viewed.)

09:35:54   24     BY MR. PRICE:

09:35:54   25     Q.      Now, sir, in your answer in your deposition, when you



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 26 of 121 Page ID
                                            #:6005
                                                                                      26


09:35:57    1     were asked:    "How do you know that Mr. Musk was asked to

09:36:00    2     leave the cave," you didn't mention anything about a general

09:36:03    3     order, did you?

09:36:05    4     A.      Not a general order, but what I said yesterday, it was

09:36:10    5     general conversation in the area, that was going around.

09:36:13    6     Q.      My question, though, is that, yesterday you said there

09:36:17    7     were two reasons:     General conversation, which I'll get to,

09:36:20    8     and that there was an order.

09:36:22    9                        And isn't it true, sir, that in your

09:36:24   10     deposition, when you were asked under oath:        "How do you know

09:36:28   11     Mr. Musk was asked to leave the cave," you did not mention

09:36:33   12     the order at all?

09:36:34   13     A.      The order that I mentioned yesterday was a general

09:36:37   14     order for the three days of the extraction on 8, 9 and 10,

09:36:42   15     that the only people allowed in the cave during the rescue

09:36:48   16     operation, during the three days of the extraction, were

09:36:51   17     rescuers, and that was the general order.

09:36:54   18     Q.      And you did not mention that in your sworn deposition

09:36:58   19     testimony when you were asked:      "How do you know that Mr.

09:37:01   20     Musk was asked to leave the cave," correct?

09:37:04   21     A.      Correct.

09:37:05   22     Q.      And, in fact, you know now that Mr. Musk was not asked

09:37:09   23     to leave the cave, correct?

09:37:11   24     A.      My understanding was from general conversation that

09:37:16   25     was going around the rescue site on or around the 10th, which



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 27 of 121 Page ID
                                            #:6006
                                                                                      27


09:37:20    1     was the last day of the rescue, that's the general

09:37:23    2     conversations that were going around.

09:37:25    3     Q.       That wasn't my question.

09:37:28    4                         You know now that Mr. Musk was not asked to

09:37:35    5     leave the cave, right?

09:37:36    6     A.       I don't know that.

09:37:37    7     Q.       Well, you were asked the question about:       "Didn't Mr.

09:37:44    8     Musk go into the cave?"     That was after you said it was a PR

09:37:50    9     stunt.   Right?

09:37:50   10     A.       Correct.

09:37:50   11     Q.       And you understood that question was, basically:        How

09:37:54   12     could it have been a PR stunt?      I mean, Mr. Musk actually

09:38:00   13     went into the cave.     Right?

09:38:00   14     A.       Correct.

09:38:01   15     Q.       And you continued to do investigation to try to get

09:38:02   16     information to see if you could find someone to verify that,

09:38:05   17     correct?

09:38:05   18     A.       I didn't actually go out and try to get the

09:38:11   19     information verified; it was general conversation, it was

09:38:13   20     going around the rescue site on -- on the day of the 10th.

09:38:18   21     Q.       Well, you said in your deposition that your statement

09:38:21   22     was based upon hearsay, correct?

09:38:24   23     A.       Correct.

09:38:25   24     Q.       And that you could not identify a single person who

09:38:27   25     said that, correct?



                                      UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 28 of 121 Page ID
                                            #:6007
                                                                                      28


09:38:28    1     A.       Correct.

09:38:28    2     Q.       And later, after you filed the lawsuit, you directed

09:38:36    3     your friend, Mr. Thanet, to try to get information on whether

09:38:41    4     Mr. Musk was in the cave and how long he was in the cave,

09:38:47    5     right?

09:38:47    6                   MR. WOOD:    Objection, Your Honor.    For

09:38:49    7     clarification, what date is he referencing?         The lawsuit was

09:38:52    8     filed September 17th.

09:38:53    9                   MR. PRICE:   This is October 28, 2018.

09:38:56   10                   MR. WOOD:    Thank you.

09:38:56   11     BY MR. PRICE:

09:38:59   12     Q.       Correct, sir?

09:39:00   13     A.       I can't recall the conversation with Mr. Thanet.         If

09:39:05   14     you could bring up the conversation, please.

09:39:08   15     Q.       Sure.   If you look at Exhibit 859, and you've

09:39:11   16     identified this as texts, dialogues, conversations with

09:39:29   17     Mr. Thanet.

09:39:38   18     A.       Correct.

09:39:38   19     Q.       If you look at 859/50 --

09:39:41   20                         Do you have that in front of you?      October

09:39:44   21     27, 2018.   And if you'll look at -- it's time stamped 8:57.

09:39:57   22     Do you see that?

09:39:58   23     A.       I do.

09:39:58   24     Q.       It says:   "Page 105 of your diary has a photo of

09:40:03   25     Captain Dan in a meeting with Musk's team.        What time was



                                      UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 29 of 121 Page ID
                                            #:6008
                                                                                      29


09:40:06    1     this and where?    Was MUSK" all caps "there.      And did he go to

09:40:11    2     the cave?   And if so, what time did they go?       And did Musk

09:40:15    3     go?   Maybe you need to speak with Captain Dan."

09:40:18    4                       That's what you asked Mr. Thanet, correct?

09:40:18    5                  MR. WOOD:    Your Honor, excuse me.    Objection.

09:40:20    6     This conversation he's referring to has not been placed into

09:40:24    7     evidence.

09:40:25    8                  THE COURT:   Well --

09:40:25    9                  MR. WOOD:    Nor should it be.

09:40:29   10                  THE COURT:   I mean, you're now referring to this

09:40:39   11     exhibit, maybe you should just ask him the question without

09:40:42   12     the exhibit and then use the exhibit for some other purpose

09:40:50   13     or move part of the exhibit in evidence.

09:40:53   14                  MR. PRICE:   Your Honor, I'll move into evidence

09:40:55   15     for these purposes, and what we plan to do is redact the

09:40:58   16     exhibit, only what we're referring to.

09:41:00   17                  THE COURT:   So, at this point, the only part of

09:41:04   18     this exhibit that I recall being in evidence were the first

09:41:09   19     four or five entries.

09:41:13   20                  MR. PRICE:   I think that's correct.     The first

09:41:16   21     four or five entries on a specific page.

09:41:19   22                  THE COURT:   For page 1.

09:41:20   23                  MR. PRICE:   Oh, Your Honor, I'm sorry.      That was

09:41:22   24     actually the chat with Mr. Stanton.

09:41:24   25                  THE COURT:   Oh.



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 30 of 121 Page ID
                                            #:6009
                                                                                      30


09:41:24    1                  MR. PRICE:   This is with Mr. Thanet.      I don't

09:41:26    2     believe -- although this has been authenticated by the

09:41:29    3     witness, I don't believe we've moved anything in yet.

09:41:32    4                  THE COURT:   Well, then, this is your first effort,

09:41:34    5     correct?

09:41:34    6                  MR. PRICE:   This is my first effort.

09:41:37    7                  THE COURT:   Well, then lay a foundation for it.

09:41:39    8     BY MR. PRICE:

09:41:39    9     Q.      Mr. Unsworth, this is a record of your text chats or

09:41:43   10     dialogue with Mr. Thanet, correct?

09:41:45   11     A.      I believe so, yes.

09:41:47   12     Q.      And it goes from July 1st, 2018, to about a year

09:41:51   13     later, in July of 2019, correct?

09:41:54   14     A.      Correct.

09:41:54   15     Q.      And 859-50, that is 50 pages in to that text chat,

09:42:04   16     correct?

09:42:04   17     A.      Correct.

09:42:05   18     Q.      And that is, what I'd refer to, 8:57, is on October

09:42:09   19     27, 2018, correct?

09:42:11   20     A.      Correct.

09:42:11   21     Q.      And this is a text message you sent to Mr. Thanet,

09:42:16   22     correct?

09:42:16   23     A.      Correct.

09:42:17   24                  MR. PRICE:   Your Honor, I'll move it into

09:42:20   25     evidence.



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 31 of 121 Page ID
                                            #:6010
                                                                                      31


09:42:20    1                  THE COURT:   Received.

09:42:21    2                  MR. WOOD:    In order to perfect the record, my

09:42:29    3     objection is to relevancy and hearsay.

09:42:32    4                  THE COURT:   It is overruled.

09:42:34    5     BY MR. PRICE:

09:42:35    6     Q.      So, now, I'll read that.      You wrote:   "Page 105 of

09:42:40    7     your diary has a photo of Captain Dan, a meeting with Musk

09:42:44    8     team.   What time was this and where?      Was Musk there?    And

09:42:47    9     did he go to the cave?     If so, what time did they go?      And

09:42:50   10     did Musk go?     Maybe you need to speak with Captain Dan."

09:42:55   11                        Do you see that?

09:42:56   12     A.      I do.

09:42:56   13     Q.      That's what you wrote, right?

09:42:58   14     A.      It is.

09:42:58   15     Q.      Who is Captain Dan?

09:43:02   16     A.      I believe Captain Dan is part of a -- umm -- maybe the

09:43:09   17     U.S. Army or the U.S. Air Force.      I'm not quite sure.

09:43:13   18     Q.      And so you were asking Mr. Thanet to talk to someone

09:43:18   19     in the U.S. Air Force to confirm whether or not Mr. Musk

09:43:21   20     actually went into the cave, correct?

09:43:23   21     A.      Correct.

09:43:24   22     Q.      And when Mr. Thanet did not respond immediately, you

09:43:31   23     told him that that information was very important.

09:43:37   24                        If you'd look to the next page, sir, 859-51,

09:43:40   25     that timestamp 10:03.



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 32 of 121 Page ID
                                            #:6011
                                                                                      32


09:43:45    1     A.        Correct.

09:43:48    2                   MR. PRICE:   And, Your Honor, I will move into

09:43:51    3     evidence 10:03 where Mr. Unsworth says:       "The information on

09:44:01    4     Mr. Musk with Captain Dan is very important."

09:44:02    5                   THE COURT:   Actually, once the witness agrees that

09:44:04    6     that is what he said, the exhibit need not be moved into

09:44:10    7     evidence.    So, I'm not going to allow it into evidence, but

09:44:14    8     the testimony can be considered.

09:44:19    9     BY MR. PRICE:

09:44:19   10     Q.        And, sir, I'd like you to look further on that page,

09:44:22   11     you see October 31, 2018.      This is about four days later?

09:44:32   12                   THE COURT:   What page is this?

09:44:34   13                   MR. PRICE:   It's the same page, Your Honor,

09:44:40   14     859-51.

09:44:41   15     BY MR. PRICE:

09:44:41   16     Q.        Or three days later?

09:44:42   17     A.        Correct.

09:44:43   18     Q.        And you see 7:26, do you see those entries, starting

09:44:50   19     with "Vern"?

09:44:51   20                   THE COURT:   Are you telling me that's 850.

09:44:53   21                   MR. PRICE:   It's the same, 859-51, Your Honor.

09:45:00   22                   THE COURT:   859?

09:45:01   23                   MR. PRICE:   Yes.   This is page 51, Your Honor,

09:45:08   24     859-51, under October 31, 2018.

09:45:13   25                   THE COURT:   851.   I don't see it.   Let me --



                                       UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 33 of 121 Page ID
                                            #:6012
                                                                                      33


09:45:18    1                  MR. PRICE:   Yes, 859-51.

09:45:52    2                  THE COURT:   It's probably my error.     I don't see

09:46:00    3     it, but TC [sic] says that's okay.

09:46:00    4     BY MR. PRICE:

09:46:05    5     Q.       Mr. Unsworth, did you write what is on 7:26, and was

09:46:11    6     that Mr. Thanet's response?

09:46:12    7                  MR. WOOD:    Your Honor, I thought you had

09:46:15    8     instructed him to ask the question but not to refer to the

09:46:17    9     specific chat.

09:46:18   10                  THE COURT:   Yes, that's the procedure.      If he

09:46:20   11     doesn't remember or denies whatever you're asking, you can

09:46:34   12     then proceed in a different direction.

09:46:34   13                  MR. PRICE:   I'll do it that way, Your Honor.

09:46:37   14                  THE COURT:   I don't know why I don't see 859 but

09:46:41   15     everyone else does.

09:46:46   16                  MR. PRICE:   859 is the exhibit, Your Honor.

09:46:48   17                       Would you like me to bring the page.

09:46:51   18                  THE COURT:   Wait a second.    859-51, right?

09:46:54   19                  MR. PRICE:   Yes.

09:46:55   20                  THE COURT:   What time?

09:46:56   21                  MR. PRICE:   October 31, 2018, and the timestamp is

09:47:00   22     7:26.

09:47:02   23                  THE COURT:   I misunderstood.    I do see 7:26.

09:47:07   24     Sorry.

09:47:07   25     BY MR. PRICE:



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 34 of 121 Page ID
                                            #:6013
                                                                                      34


09:47:09    1     Q.      Did you write on that date, October 31, 2018:        "How

09:47:13    2     about Captain Dan?"      To which Mr. Thanet responded:     "I have

09:47:16    3     not reached out to him yet."

09:47:17    4                  MR. WOOD:    Excuse me, Your Honor, that's not the

09:47:19    5     procedure you asked him to follow.

09:47:22    6                  THE COURT:    Well, the objection is correct.     You

09:47:24    7     should ask him:    Did he have a conversation with Captain Dan?

09:47:30    8     And you can suggest what the conversation might have been or

09:47:34    9     not because it's cross-examination.       If he -- depending upon

09:47:40   10     his response, I -- I think you know what your options are.

09:47:48   11     BY MR. PRICE:

09:47:49   12     Q.      Mr. Unsworth, on October 31, 2018, did you reach out

09:47:53   13     to Mr. Thanet to ask him whether he had -- had communications

09:48:00   14     with Captain Dan?

09:48:05   15     A.      From what is in the text message, yes.

09:48:08   16     Q.      And did he respond -- did he say he had not --

09:48:12   17                        Isn't it true he said he hadn't reached him

09:48:15   18     yet?

09:48:16   19     A.      Correct.

09:48:21   20     Q.      And then, sir, and I'm going to be referring to

09:48:29   21     859-52, see if that might help.

09:48:31   22                  THE COURT:    Well, first ask the question.

09:48:33   23     BY MR. PRICE:

09:48:34   24     Q.      Is it true that on November 2nd, 2018, that Mr. Thanet

09:48:39   25     informed you that Captain Dan said:       "A Thai official had



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 35 of 121 Page ID
                                            #:6014
                                                                                      35


09:48:47    1     insisted that Mr. Musk go inside the cave, and that they were

09:48:51    2     there for over an hour at least."

09:48:56    3     A.      Could you refer me to the line, please?

09:48:58    4     Q.      I'm asking you the question generally first, if you

09:49:02    5     want to refresh your memory, it's November 2nd, 2018, 21:17

09:49:11    6     to 21:21.

09:49:14    7                  THE COURT:   The better procedure would be just to

09:49:16    8     ask him to look at a page of an exhibit, 52.

09:49:23    9                  MR. PRICE:   Okay, just the page?

09:49:25   10                  THE COURT:   Yes.

09:49:25   11     BY MR. PRICE:

09:49:35   12     Q.      So, let me ask the question again.       Isn't it true that

09:49:37   13     on November 2nd, 2018, Mr. Thanet told you that Mr. Musk was

09:49:43   14     asked -- that a Thai official insisted that Mr. Musk go

09:49:47   15     inside the cave and that they were in for over an hour?

09:49:53   16     A.      I don't see any reference to a Thai official.

09:50:01   17                  MR. PRICE:   Your Honor, may I refer the witness to

09:50:05   18     the timestamp?

09:50:06   19                  THE COURT:   Well, just ask him to look at the

09:50:09   20     page.

09:50:11   21                  MR. PRICE:   There are a lot of entries.      I think

09:50:13   22     it would help to give him the timestamp.

09:50:16   23                  THE COURT:   It's not hard to read.     You can read

09:50:18   24     it in ten seconds.

09:50:20   25                  MR. PRICE:   Okay.



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 36 of 121 Page ID
                                            #:6015
                                                                                      36


09:50:20    1     BY MR. PRICE:

09:50:22    2     Q.        Sir, if you look at the November 2, 2018 entries.

09:50:28    3     A.        November the 2nd?

09:50:30    4     Q.        November 2nd, 2018.

09:50:32    5     A.        Starting at what time?

09:50:34    6     Q.        If you'd just look at the entries on that day.

09:50:38    7     A.        Okay.   I don't see any reference to a Thai official.

09:50:56    8                   MR. PRICE:   Your Honor, may I read into the record

09:50:58    9     859-52, line 21:19, or timestamp, 21:19 through 21:21.

09:51:12   10                   MR. WOOD:    If you'll isolate that, Your Honor, and

09:51:14   11     submit it into evidence, I would not object to that isolated

09:51:18   12     portion.

09:51:19   13                   THE COURT:   All right, it can be read into the

09:51:22   14     record.

09:51:22   15                   MR. PRICE:   And I ask the Court to put into

09:51:24   16     evidence, Your Honor.

09:51:25   17                   THE COURT:   Once it's in the recorded, it's in the

09:51:27   18     recorded.    You don't have to make it an exhibit.

09:51:29   19     BY MR. PRICE:

09:51:30   20     Q.        So, November 2nd, 2018, Mr. Thanet:     "The Thai

09:51:34   21     official insisted Musk to go inside the cave.        Captain Dan

09:51:39   22     and Musk engineer were waiting outside because they don't

09:51:42   23     want to get wet.     He didn't know how far Musk and Thai

09:51:47   24     official went into, but it took about over one hour at least,

09:51:52   25     they went into the cave."



                                      UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 37 of 121 Page ID
                                            #:6016
                                                                                      37


09:51:55    1     A.      Correct.

09:51:56    2     Q.      So, by the way, these -- you had text chats with a

09:52:08    3     number of your friends, correct?      That had been produced to

09:52:16    4     us.

09:52:16    5     A.      I don't know which chats you're referring to, but,

09:52:19    6     yes, over a period of time with many of the -- many of my

09:52:25    7     friends, yes.

09:52:25    8     Q.      We have Exhibit 59, that's a text chat that goes on

09:52:30    9     for 80 pages with Mr. Thanet, correct?

09:52:36   10     A.      Correct.

09:52:36   11     Q.      And there are text chats with someone you referred to

09:52:40   12     as Dr. Harry?

09:52:44   13     A.      Possibly, yes.

09:52:45   14     Q.      Could you just look at 853, and tell me whether or not

09:52:49   15     that is a text chat with Dr. Harry?

09:53:15   16     A.      Correct.

09:53:15   17     Q.      And if you look at 854, that's some text chats with

09:53:25   18     John Volanthen, correct?

09:53:27   19     A.      Correct.

09:53:27   20     Q.      And Exhibit 855, that's a text chat with Martin Ellis,

09:53:37   21     correct?

09:53:37   22     A.      Correct.

09:53:37   23     Q.      And by the way, Mr. Volanthen was one of the divers,

09:53:41   24     first divers, correct?

09:53:42   25     A.      Correct.



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 38 of 121 Page ID
                                            #:6017
                                                                                      38


09:53:42    1     Q.      And Dr. Harry was one of the doctor divers who

09:53:48    2     administered Ketamine to the kids, right?

09:53:52    3     A.      Right.    He was one of the Australian divers.

09:53:55    4     Q.      And their job was to -- to make this dangerous dive

09:53:59    5     and actually sedate the kids so they wouldn't panic when they

09:54:03    6     were taken out, correct?

09:54:04    7     A.      Right.    That was his initial job to do, was to make

09:54:08    8     the children comfortable.

09:54:10    9     Q.      Did he go in before the rescue to also deliver

09:54:15   10     medicine to the kids?

09:54:16   11     A.      I'm not sure when the first day Dr. Harry actually

09:54:20   12     went into the cave.     It could have been on or around the 7th,

09:54:26   13     6th or 7th of July.     I'm not totally aware of that.

09:54:30   14     Q.      And then 855 in the book, Exhibit 855, for

09:54:38   15     identification, is a text exchange between you and Martin

09:54:43   16     Ellis, correct?

09:54:43   17     A.      Correct.

09:54:43   18     Q.      And who was Mr. Ellis?

09:54:47   19     A.      Martin Ellis is a good friend of mine.       He's a caver,

09:54:53   20     and he's the author of two volumes of Caves in Thailand.

09:54:59   21     Q.      And if you look at 857, that's a text exchange with

09:55:05   22     Phil Collett, correct?

09:55:06   23     A.      Correct.

09:55:06   24     Q.      That's about nine pages, correct?

09:55:19   25     A.      Correct.



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 39 of 121 Page ID
                                            #:6018
                                                                                      39


09:55:19    1     Q.      And 858, that's a text exchange with Mr. Stanton,

09:55:25    2     correct?

09:55:26    3     A.      Correct.

09:55:27    4     Q.      And just so we -- the jury has an idea as to how many

09:55:33    5     messages there are here.     If you look, for example, on 858-1,

09:55:40    6     do you see that first page?

09:55:41    7     A.      I do.

09:55:42    8     Q.      I mean, there are over 60 entries per page, correct?

09:55:49    9     A.      I don't know how many entries there are on each page.

09:55:52   10     Q.      Can you look and see?

09:55:55   11     A.      You want me to --

09:55:57   12                  MR. WOOD:    Your Honor, is it really necessary for

09:56:03   13     Mr. Unsworth to count the lines?

09:56:04   14                  THE COURT:   He can approximate.

09:56:06   15                  THE WITNESS:   Okay, I'll say approximately 60.

09:56:08   16     BY MR. PRICE:

09:56:08   17     Q.      And so, for example, with 80 pages with Mr. Thanet,

09:56:13   18     we're talking about 4,800 lines of text messages, right?

09:56:19   19     Because 60 times 80 --

09:56:19   20                  THE COURT:   You can argue that.     Let's not do the

09:56:23   21     math.   We'd have to bring back Mr. Musk.

09:56:34   22     BY MR. PRICE:

09:56:34   23     Q.      Sir, in any of these texts with your friends and

09:56:42   24     colleagues, did you say anything about experiencing any

09:56:48   25     emotional distress whatsoever from Mr. Musk's tweets?



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 40 of 121 Page ID
                                            #:6019
                                                                                      40


09:56:55    1     A.      I can't recall every text message that I've sent with

09:57:00    2     whoever it is, whether it's Martin, Rick or anybody, over a

09:57:05    3     long space of time, what was said.

09:57:07    4     Q.      Well, certainly, if --

09:57:10    5                        I mean, these people were your friends, of

09:57:13    6     varying closeness, correct?

09:57:16    7     A.      Correct.

09:57:17    8     Q.      And you would expect, if you were having good days and

09:57:22    9     bad days, and you were experiencing emotional distress, you

09:57:25   10     would expect somewhere there where you would find some

09:57:27   11     conversation of it, correct?

09:57:28   12     A.      Not necessarily.

09:57:30   13     Q.      And do you say "not necessarily" because you know that

09:57:35   14     there is no such conversation, correct?

09:57:38   15     A.      I -- I can't confirm that one way or the other.

09:57:42   16     Q.      Well, of course, you could confirm it if you went and

09:57:45   17     looked through the pages, right?

09:57:47   18     A.      Possibly, yes.

09:57:49   19                  MR. WOOD:    Objection, Your Honor.    Argumentative.

09:57:51   20                  THE COURT:    No, I mean, he could be asked to read

09:57:55   21     the 80 pages.

09:57:59   22                  MR. WOOD:    If that's what he'd like him to do.

09:58:02   23                  THE COURT:    He couldn't do it now.

09:58:03   24                  MR. PRICE:    I was going to make that request

09:58:05   25     during the break.



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 41 of 121 Page ID
                                            #:6020
                                                                                      41


09:58:09    1                  THE COURT:   If you want to make that request, then

09:58:10    2     I would allow it, and he can give you an answer.         But he's to

09:58:20    3     read all of the transcripts on those exhibits.

09:58:25    4                  MR. PRICE:   Yes, and --

09:58:27    5                  THE COURT:   Outside the presence of the jury.

09:58:28    6                  MR. PRICE:   Yes, Your Honor.

09:58:29    7                  THE COURT:   Because it will be too time consuming.

09:58:31    8     And he can then respond to your question at that time.

09:58:39    9                  MR. PRICE:   Thank you, Your Honor.

09:58:40   10                  THE COURT:   I have no idea how he will respond.

09:58:44   11                  MR. PRICE:   Your Honor, should I, for the record,

09:58:47   12     state the exhibit numbers?

09:58:47   13                  THE COURT:   Yes.

09:58:48   14                  MR. PRICE:   They are exhibits 859, the text

09:58:52   15     streaming with Mr. Thanet; Exhibit 853, the stream with Dr.

09:58:58   16     Harry; Exhibit 854, the stream with John Volanthen; 855 with

09:59:05   17     Martin Ellis; 857 was Phil Collett; and 858 with Rick

09:59:14   18     Stanton.

09:59:14   19                  THE COURT:   And, I mean, I don't know how quickly

09:59:19   20     people can read, and I'm not --

09:59:25   21                  THE WITNESS:   Your Honor --

09:59:29   22                  THE COURT:   -- assessing it, but I think it can be

09:59:32   23     done in a reasonable time.

09:59:33   24                  MR. WOOD:    Your Honor, it's a little over a 100

09:59:36   25     pages.   We can do it in a reasonable time during a break.         I



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 42 of 121 Page ID
                                            #:6021
                                                                                      42


09:59:38    1     just wanted to make sure that the time he has to spend

09:59:41    2     reading, he'll still have 10 or 15 minutes like everyone else

09:59:46    3     to take break.

09:59:47    4                  THE COURT:   No, we're going to have to take a

09:59:49    5     longer recess in the morning because I don't want to rush

09:59:53    6     things, and we'll need the break, and we'll need everyone to

09:59:57    7     give these matters the time that they need.

10:00:00    8                       So, what time is it now.      I can't see that

10:00:04    9     far.

10:00:04   10                  COURT CLERK:    It's 10:00.

10:00:07   11                  THE COURT:   Okay, just keep going.

10:00:11   12                  THE WITNESS:    Sorry, Mr. Price, I can, if you wish

10:00:13   13     me to answer, to save a lot of time, I don't recall all my

10:00:20   14     text messages, but the situation is, regarding my emotional

10:00:27   15     feelings, is that I very rarely talk to, certainly, in text

10:00:33   16     messages, I wouldn't talk to anybody about it in a text

10:00:36   17     message.   And it's not -- it's something that I bottled up.

10:00:40   18     I deal with it myself.      And I don't necessarily need to talk

10:00:43   19     to somebody about -- about this situation in a text message

10:00:46   20     with -- with anybody.

10:00:50   21                  MR. WOOD:    Your Honor, given that answer, can we

10:00:52   22     agree that it's not in there so he doesn't have to read a 100

10:00:57   23     pages?

10:00:57   24                  THE COURT:   If there is a stipulation, and I'm not

10:01:02   25     urging it one way or the other, but if that is the



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 43 of 121 Page ID
                                            #:6022
                                                                                      43


10:01:06    1     stipulation, that would obviate the need to read all the

10:01:09    2     pages.

10:01:10    3                  MR. WOOD:    I will so stipulate, Your Honor,

10:01:12    4     because there is no reason for him to do that and everybody

10:01:14    5     wait for it.

10:01:14    6                  THE COURT:   Okay, all right, the stipulation is

10:01:16    7     that there is no reference to his emotional grief in any of

10:01:27    8     these texts.    And the exhibit numbers are --

10:01:33    9                       You've read into the record, and the record

10:01:35   10     does reflect the names of the persons, it can reflect the

10:01:41   11     time periods, and it can reflect the number of pages in each

10:01:51   12     exhibit which contain texts and the approximate lines in each

10:01:58   13     page which we know is about 60, and at some point if you want

10:02:04   14     to do some math, you can do it.

10:02:07   15                  MR. PRICE:   Your Honor, I don't need to do it now.

10:02:09   16     For exhibit, for Mr. Thanton's -- I'm sorry -- Thanet's text

10:02:18   17     exchange, I -- I talked about the time period.        The others

10:02:20   18     have different time frames.      Shall I state on the record --

10:02:23   19                  THE COURT:   Yes.

10:02:23   20                  MR. PRICE:   In that case, we talked about Mr.

10:02:28   21     Thanet, 853, which is Dr. Harry, we'll call him.         That is

10:02:38   22     from July 16, 2018 to August 5th, 2019.       Exhibit 853.

10:02:52   23     Exhibit 854 John Volanthen, that is from March 2nd, 2019 to

10:03:04   24     August 5th, 2019.     By the way, Your Honor, that's two pages.

10:03:11   25                       Dr. Harry was also approximately two pages.



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 44 of 121 Page ID
                                            #:6023
                                                                                      44


10:03:14    1                        855, Martin Ellis.    That's a page and a

10:03:19    2     quarter.    And that's from March 4, 2019 to March 27, 2019.

10:03:32    3                        Mr. Collett, Phil Collett, 857.      That's from

10:03:40    4     November 21, 2018 to August 6, 2019.       That's about nine and

10:03:52    5     three quarters pages.

10:03:54    6                        And Mr. Stanton, Exhibit 858.     That's from

10:04:02    7     August 6, 2018 to August 5, 2019, and that is about six pages

10:04:15    8     of texts.

10:04:16    9                  THE COURT:   So, those references are incorporated

10:04:21   10     in the stipulation.

10:04:22   11                        Okay, go ahead.

10:04:28   12     BY MR. PRICE:

10:04:28   13     Q.      And, sir, in your direct examination, you used the

10:04:33   14     phrase that you "had a life sentence without parole."         Do you

10:04:36   15     recall that?

10:04:37   16     A.      Correct.

10:04:37   17     Q.      And you used that exact same phrase in your

10:04:40   18     deposition, correct?

10:04:41   19     A.      Correct.

10:04:42   20     Q.      And you've never said that anywhere else except for at

10:04:47   21     your deposition in here, correct?

10:04:52   22     A.      Correct.

10:04:52   23     Q.      And to prepare for your deposition, you spent what you

10:04:55   24     described as "an enormous amount of time," correct?

10:05:01   25     A.      Correct.



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 45 of 121 Page ID
                                            #:6024
                                                                                      45


10:05:01    1     Q.      You said you spent many, many days preparing for your

10:05:06    2     deposition, correct?

10:05:07    3     A.      Correct.

10:05:07    4     Q.      With how many lawyers?

10:05:13    5                  MR. WOOD:    Objection, Your Honor.

10:05:14    6                  THE COURT:   Well, he's not getting into what was

10:05:16    7     said.   He can ask generally what the -- his preparation was,

10:05:24    8     but it can't go beyond that.

10:05:28    9                  MR. PRICE:   I will not, Your Honor.     These were

10:05:31   10     asked in his deposition.

10:05:32   11                  THE WITNESS:   I can't recall how many lawyers were

10:05:34   12     actually involved in the preparation of my deposition.

10:05:37   13     BY MR. PRICE:

10:05:37   14     Q.      Was it more than five?

10:05:40   15     A.      Possibly.

10:05:43   16     Q.      And then in preparation for your testimony in this

10:05:47   17     trial, how many hours or days have you spent to prepare your

10:05:52   18     testimony?

10:05:54   19     A.      I can't recall exactly how many hours, but I think

10:05:57   20     I've prepared myself.

10:05:59   21     Q.      And I'm sure you have prepared yourself.        I'm asking

10:06:03   22     you if you can give me your best estimate.        A day, two days,

10:06:07   23     three days, a week, two weeks?

10:06:09   24     A.      I cannot give an honest time span.       Possibly days,

10:06:16   25     many, many hours.



                                      UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 46 of 121 Page ID
                                            #:6025
                                                                                      46


10:06:17    1     Q.      Can you give us just an estimate?       We're not asking

10:06:21    2     for accuracy, but are you saying you can't tell us, say

10:06:24    3     between zero weeks and a month, what your best estimate is?

10:06:28    4     A.      The only answer I can give you is:       Many hours.

10:06:31    5     Q.      So, as far as your memory is, it could be as long as a

10:06:37    6     month to prepare?

10:06:38    7     A.      As I said, it was many hours.

10:06:40    8     Q.      Many days?

10:06:41    9     A.      Many hours.

10:06:42   10     Q.      Also many days?    Can you at least --

10:06:45   11     A.      Possibly.    Hours run into days.

10:06:48   12     Q.      You obviously prepared with lawyers, correct?

10:06:51   13     A.      Correct.

10:06:52   14     Q.      Did you also prepare with a jury consultant?

10:06:57   15                  MR. WOOD:    Objection, Your Honor.    May I approach

10:07:00   16     the bench?

10:07:01   17                  THE COURT:   I'm going to sustain that objection.

10:07:03   18                  MR. WOOD:    Thank you.

10:07:23   19     BY MR. PRICE:

10:07:23   20     Q.      Now, I want to take your attention to the time after

10:07:29   21     Mr. Musk's initial tweets.      Okay?

10:07:34   22     A.      Okay.

10:07:34   23     Q.      And you said you became aware of them because you

10:07:40   24     think Tik probably told you about them, correct?

10:07:43   25     A.      Correct.



                                      UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 47 of 121 Page ID
                                            #:6026
                                                                                      47


10:07:43    1     Q.        And you have seen them, correct?

10:07:44    2     A.        Correct.

10:07:44    3     Q.        And a day or two after, you went to a celebration that

10:07:49    4     was taking place at the cave where the rescue took place.

10:07:54    5     Correct?

10:07:54    6     A.        Correct, I believe that was, from memory, on the 15th

10:08:01    7     of July, I believe.

10:08:07    8                      MR. PRICE:   And, Your Honor, there is a video,

10:08:11    9     it's Exhibit 903.       I want to play the first few seconds, to

10:08:15   10     see if Mr. Unsworth can tell us whether that's a short

10:08:18   11     videotape with him at the celebration.        I asked counsel about

10:08:23   12     it last night.       I think there is no objection.

10:08:26   13                      MR. WOOD:    No objection.

10:08:30   14                      MR. PRICE:   If you could play that really short

10:08:32   15     excerpt.

10:08:46   16                      (Video clip viewed.)

10:08:46   17     BY MR. PRICE:

10:08:46   18     Q.        So, Mr. Unsworth, are those video clips from that

10:08:50   19     celebration that you attended after Mr. Musk's initial

10:08:55   20     tweets?

10:08:57   21     A.        Yes.

10:08:58   22     Q.        What was the celebration, by the way?       How many people

10:09:01   23     were there?

10:09:01   24     A.        From recollection, hundreds of people, maybe running

10:09:06   25     into thousands.



                                        UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 48 of 121 Page ID
                                            #:6027
                                                                                      48


10:09:07    1     Q.      And it was a celebratory sort of atmosphere?

10:09:11    2     A.      It was a very nice atmosphere, yes.

10:09:13    3     Q.      Now, on that time, on that date, you also were

10:09:17    4     interviewed by Time Magazine, correct?

10:09:20    5     A.      I can't remember exactly which media it was.

10:09:31    6     Q.      Well, let me step back a bit.      In this lawsuit, in

10:09:34    7     your deposition, you said that you believed -- people

10:09:40    8     believed what Mr. Musk said because:       "They believed him

10:09:44    9     because he's a billionaire, he's rich, he's a worldwide

10:09:50   10     entrepreneur.    They believe what he says."      Do you recall

10:09:52   11     that?

10:09:53   12     A.      Right.

10:09:58   13     Q.      Now, in the interview that took place the day after

10:10:00   14     the tweet, this is before you were consulted with any of the

10:10:02   15     attorneys, correct?

10:10:05   16     A.      I'm sorry --

10:10:07   17     Q.      The day after the tweet, on the 15th, on the 15th,

10:10:11   18     when you were interviewed, you had not yet consulted with any

10:10:15   19     attorneys, correct?

10:10:15   20     A.      Correct.

10:10:16   21     Q.      Your answers were candid, correct?

10:10:20   22     A.      Correct.

10:10:23   23                  MR. PRICE:   Your Honor, if we can play --

10:10:25   24                        This is video 24.

10:11:06   25                  (Video clip viewed.)



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 49 of 121 Page ID
                                            #:6028
                                                                                      49


10:11:08    1     BY mR. PRICE:

10:11:08    2     Q.      Sir, do you see where it says "British diver."        You

10:11:13    3     did not select that obviously?

10:11:14    4     A.      Correct.

10:11:16    5     Q.      And you are not a diver, correct?

10:11:17    6     A.      Correct.

10:11:17    7     Q.      So, let's continue.

10:11:27    8                   (Video clip viewed.)

10:11:52    9                   MR. PRICE:   And, Your Honor, for a demonstrative,

10:11:54   10     if we could put transcript 818.      It's a transcript of that

10:11:59   11     interview.

10:11:59   12                   THE COURT:   Why a transcript?

10:12:01   13                   MR. PRICE:   Just so we can refer to these

10:12:03   14     statements.

10:12:03   15                   THE COURT:   Well, just ask him.    I mean, the

10:12:06   16     trial --

10:12:06   17                        These are not complicated words.      Just ask

10:12:10   18     him.

10:12:11   19                   MR. PRICE:   Okay.   Let me find it for myself.

10:12:18   20     BY mR. PRICE:

10:12:18   21     Q.      Mr. Unsworth, you said:      "I'm not going to make any

10:12:25   22     further comment about him, but I think people realize what

10:12:28   23     sort of a guy he is."      Do you recall saying that?

10:12:31   24     A.      I do.

10:12:32   25     Q.      And by that, you were being dismissive of Mr. Musk,



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 50 of 121 Page ID
                                            #:6029
                                                                                      50


10:12:38    1     correct?

10:12:39    2     A.      I just made the comment that, you know, I felt he --

10:12:45    3     he wasn't such a nice guy.

10:12:51    4     Q.      But when you were making the comment, didn't you say:

10:12:53    5     But I think people realize what sort of guy he is, that no

10:12:57    6     one was going to believe he actually made a factual statement

10:13:01    7     that you were a pedophile.

10:13:03    8                    MR. WOOD:    Objection, Your Honor.   That goes to

10:13:06    9     the jury's province.

10:13:07   10                    THE COURT:   He's allowed to ask him.    This is

10:13:10   11     cross-examination.     Overruled.

10:13:12   12                         The jurors can make up their own mind, but

10:13:15   13     he's allowed to ask him.

10:13:17   14                    THE WITNESS:   Sorry, could you repeat the

10:13:18   15     question?

10:13:19   16     BY MR. PRICE:

10:13:20   17     Q.      Yes.    When you said:    "I'm not going to make any

10:13:22   18     further comment about him, but I think people realize what

10:13:25   19     sort of a guy he is."

10:13:26   20                         When you said that, you meant to convey that

10:13:29   21     no one is going to believe that you're a pedophile based upon

10:13:33   22     Mr. Musk's tweets, right?

10:13:35   23     A.      I didn't say that.

10:13:36   24     Q.      But that's what you meant, when you said:        "I think

10:13:41   25     people realize what sort of guy he is."       Is that correct?



                                      UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 51 of 121 Page ID
                                            #:6030
                                                                                      51


10:13:43    1     A.       By making a comment, of "sus" and "pedo guy" means

10:13:49    2     exactly what it means, a pedophile.

10:13:50    3     Q.       But I'm asking what you meant when you told a reporter

10:13:53    4     in response to the question:      How it made you feel.     When you

10:13:56    5     said:   "I'm not going to make any further comment about him,

10:13:59    6     but I think people realize what sort of guy he is."

10:14:02    7                         And when you said that, you certainly weren't

10:14:05    8     communicating, as you said in your deposition, that:         I

10:14:07    9     believe everyone is going to believe him because he's a rich

10:14:11   10     billionaire.

10:14:11   11                         You didn't mean to convey that, right?

10:14:13   12     A.       It was just a general comment at the time relative to

10:14:19   13     how I felt about the guy.

10:14:20   14     Q.       Well, within --

10:14:22   15                         You said this was around July 15th, correct?

10:14:25   16     A.       Correct.

10:14:25   17     Q.       And so after Mr. Musk's tweets, even after those

10:14:32   18     tweets, people in organizations were coming to you to honor

10:14:37   19     you, right?

10:14:40   20     A.       I don't recall being honored during that period.

10:14:45   21     Q.       During July of 2018?

10:14:48   22     A.       I don't specifically recall, no.

10:14:51   23     Q.       Okay.   Well, if you'll look at Exhibit 908, I'm sorry,

10:15:02   24     905.    I'm sorry, Mr. Unsworth, it's 905.

10:15:27   25     A.       The exhibit, yes.



                                      UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 52 of 121 Page ID
                                            #:6031
                                                                                      52


10:15:30    1     Q.        Do you have that in front of you?

10:15:31    2     A.        I do.

10:15:32    3     Q.        And do you recognize that as a picture of you?

10:15:34    4     A.        I do.

10:15:34    5     Q.        And a picture of the prime minister of England,

10:15:38    6     correct?

10:15:38    7     A.        Correct.

10:15:39    8     Q.        And that was taken in July of 2018 after Mr. Musk's

10:15:44    9     tweets?

10:15:45   10     A.        Correct.

10:15:47   11                   MR. PRICE:   Your Honor, move Exhibit 905 into

10:15:51   12     evidence.

10:15:51   13                   THE COURT:   Received.

10:15:52   14                   MR. WOOD:    No objection.

10:15:53   15                  (Exhibit No. 907 admitted into evidence.)

10:15:53   16                   THE COURT:   We could show that.

10:15:57   17     BY MR. PRICE:

10:15:58   18     Q.        So, to your -- to your left, that's the Prime Minister

10:16:02   19     of England, correct?

10:16:04   20     A.        Correct.

10:16:04   21     Q.        And she is the chief executives of England, sort of

10:16:09   22     the equivalent of the President of the United States,

10:16:11   23     correct?

10:16:12   24     A.        She was the Prime Minister at the time, yes.

10:16:16   25     Q.        That's the head executives officer?



                                       UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 53 of 121 Page ID
                                            #:6032
                                                                                      53


10:16:18    1     A.      Prime Minister of England, yes.      A Prime Minister of

10:16:23    2     the UK, yes.

10:16:24    3     Q.      If we look at -- when we move out on this picture, if

10:16:30    4     we look at Exhibit 10, Exhibit 10, anywhere.

10:16:42    5                  THE COURT:   You mean 910?

10:16:44    6                  MR. PRICE:   No, 10.

10:16:48    7                  THE COURT:   10.

10:16:48    8                  MR. PRICE:   Yes, one zero.

10:17:06    9                  MR. WOOD:    No objection.

10:17:11   10                  THE COURT:   10 -- I have -- I have a -- let me

10:17:15   11     see.   Okay, received, 10 is received.

10:17:22   12                (Exhibit No. 10 admitted into evidence.)

10:17:22   13                  MR. PRICE:   If we can put up Exhibit 10, please.

10:17:25   14     BY MR. PRICE:

10:17:25   15     Q.      So, Mr. Unsworth, this is a group picture, correct?

10:17:28   16     A.      Correct.

10:17:28   17     Q.      And you see up at the top there, there is a number --

10:17:31   18     you recognize as being 10 Downing Street?

10:17:37   19     A.      Correct.

10:17:42   20     Q.      And that is kind of the British equivalent of the

10:17:44   21     White House.    That's where the Prime Minister resides,

10:17:48   22     correct?

10:17:48   23     A.      Correct.

10:17:48   24     Q.      And you are front and center in this picture, correct?

10:17:54   25     A.      Correct.



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 54 of 121 Page ID
                                            #:6033
                                                                                      54


10:17:54    1     Q.       Standing to the right of Prime Minister Theresa May,

10:18:01    2     right?

10:18:02    3     A.       Correct.

10:18:02    4     Q.       Now, did you have an understanding that before this

10:18:05    5     picture was taken, that you were vetted?

10:18:11    6     A.       Sorry, could you repeat the question?

10:18:13    7     Q.       Sure.   Did you have an understanding that before, you

10:18:17    8     know, you were going to be permitted to stand right next to

10:18:21    9     the Prime Minister of England, that there was probably going

10:18:24   10     to be some vetting of you to see, you know, who you were.

10:18:28   11     A.       I'm not aware of any vetting procedures.

10:18:32   12     Q.       Well, in your experience, it would be true, would it

10:18:39   13     not, that elected officials usually don't want to be

10:18:43   14     associated with someone they think is a pedophile?

10:18:47   15     A.       I'm not aware of any vetting procedures.       So,

10:18:52   16     that's -- that's what I understand.

10:18:54   17     Q.       Well, my question is different.     It's:   You would

10:18:57   18     agree that the Prime Minister of England would not want to be

10:19:02   19     seen with someone who is wildly believed to be a pedophile?

10:19:11   20                  MR. WOOD:    Objection, Your Honor.

10:19:12   21                  THE COURT:   Sustained.

10:19:16   22     BY MR. PRICE:

10:19:16   23     Q.       This was an occasion where the Prime Minister of

10:19:19   24     England was honoring the British folks who were involved in

10:19:22   25     the rescue operation, correct?



                                      UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 55 of 121 Page ID
                                            #:6034
                                                                                      55


10:19:25    1     A.      Correct.

10:19:25    2     Q.      And we talked about you being front row center, here.

10:19:30    3     How is it that you got that position where you were right

10:19:34    4     next to Prime Minister May?

10:19:36    5     A.      No specific order on the day, it just happened -- it

10:19:39    6     happened on the day.       No specific order.

10:19:40    7     Q.      So, they didn't tell you where to stand.

10:19:44    8     A.      No.

10:19:46    9     Q.      So, you --

10:19:51   10                        Did no one else want to stand next to the

10:19:55   11     Prime Minister?

10:19:55   12     A.      I just said it just happened.      There was no format.

10:19:59   13     There was -- no one told to stand in a specific place.

10:20:02   14     Q.      Well, let me ask it this way.

10:20:05   15                        It's true that you didn't select that place

10:20:08   16     right next to the Prime Minister because it was the only

10:20:11   17     place open.

10:20:13   18                   MR. WOOD:    Your Honor, the picture is the picture.

10:20:15   19     I object to the question.

10:20:17   20                   THE COURT:    Well, I --

10:20:18   21                        Look, it's cross-examination.     I think

10:20:23   22     it's -- he can ask a few more questions about this.

10:20:29   23     BY MR. PRICE:

10:20:29   24     Q.      I only have a couple of more questions, if we can try

10:20:31   25     this.



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 56 of 121 Page ID
                                            #:6035
                                                                                      56


10:20:32    1                       You didn't take that position next to the

10:20:36    2     Prime Minister because it was the only position open.         You

10:20:39    3     sought it.    Correct?

10:20:40    4     A.      I did not seek the position at all.       It just happened

10:20:43    5     to be coincidence, I suppose, but I didn't choose any

10:20:49    6     particular position.

10:20:57    7     Q.      Now, in connection with people wanting to honor you --

10:21:01    8                       Oh, by the way, I'm sorry.

10:21:03    9                       England.    Is that your country of birth?

10:21:05   10     A.      It is.

10:21:06   11     Q.      And that's where you reside about half of the time,

10:21:10   12     three months on, three months off?

10:21:13   13     A.      Correct, in Ilford in London.

10:21:17   14     Q.      And the head of England, the Prime Minister, agreed to

10:21:21   15     take a picture with you, honoring you, after Mr. Musk's

10:21:25   16     tweets, right?

10:21:26   17                  MR. WOOD:    Objection to the form of the question.

10:21:29   18     The Queen is the head of the UK.

10:21:31   19                  THE COURT:   The objection was to the form of the

10:21:32   20     question, correct?

10:21:33   21                  MR. WOOD:    Yes, Your Honor.

10:21:34   22                  THE COURT:   Sustained.

10:21:35   23     BY MR. PRICE:

10:21:35   24     Q.      The chief executives officer of England, the Prime

10:21:44   25     Minister, your home country, agreed to this picture, correct?



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 57 of 121 Page ID
                                            #:6036
                                                                                      57


10:21:48    1     A.      Correct.

10:21:48    2     Q.      And this was to honor you, correct?

10:21:53    3     A.      Correct.

10:21:53    4     Q.      Was there any discussion about you being a pedophile?

10:22:01    5     A.      Not that I recall, no.

10:22:02    6     Q.      I mean, with any of these people.

10:22:05    7     A.      Not that I recall, no.

10:22:10    8     Q.      Now, this is your home country.      You're --

10:22:13    9                        Is Thailand sort of your second home?

10:22:17   10     A.      Maybe Tham Luang Cave is my second home.

10:22:23   11     Q.      Beginning in 2011, you moved to -- you started

10:22:25   12     splitting half the time in Thailand, right?

10:22:27   13     A.      Correct.

10:22:27   14     Q.      And it was about a year later that you started

10:22:29   15     examining the cave systems, right?

10:22:35   16     A.      Right, from May 2012.

10:22:36   17     Q.      So, you went to Thailand not to explore the cave; you

10:22:39   18     went there because Tik went there.

10:22:42   19     A.      Correct.

10:22:42   20     Q.      Because her visa had run out.

10:22:46   21     A.      Yes.   Her six-month visa was due to run out, yes.

10:22:49   22     Q.      So, you consider that country your second home where

10:22:51   23     you lived with your companion, right?

10:22:54   24     A.      Yes.

10:22:54   25     Q.      And on September 6th of 2018, after Mr. Musk's tweets,



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 58 of 121 Page ID
                                            #:6037
                                                                                      58


10:23:01    1     you were celebrated in Thailand, correct?

10:23:07    2     A.      Correct.   And let me explain that the --

10:23:14    3                        You're going to be referring to the United As

10:23:17    4     One ceremony, which if I remember right, was held on the 6th

10:23:22    5     of September of 2018.

10:23:24    6                        It was originally scheduled for the 1st of

10:23:27    7     August 2018, which would have meant that I wouldn't have been

10:23:30    8     able to attend that event because I was already back in the

10:23:34    9     UK.

10:23:35   10                        My flight back to Thailand was already

10:23:38   11     arranged before the event was rearranged, and I got

10:23:44   12     notification of the event virtually on the same day that I

10:23:49   13     landed back in Thailand, which was the -- I think it was the

10:23:53   14     6th of September, which is when the event actually happened.

10:23:59   15     So, I actually had no control over that event.        Total

10:24:04   16     coincidence that I arrived in Thailand on the day it was

10:24:06   17     going to happen.

10:24:07   18     Q.      Well, you say you have no control over that event.

10:24:10   19     You had control over whether you would attend and be honored.

10:24:13   20     A.      Correct.   I was invited, yes.

10:24:15   21     Q.      And you accepted that invitation to be honored by the

10:24:20   22     King, correct?

10:24:21   23     A.      I wasn't -- no.    It was -- it was an event for the --

10:24:25   24     all the -- the rescuers and the volunteers.        I'm not sure it

10:24:31   25     had anything to do with the King.       The invitation didn't come



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 59 of 121 Page ID
                                            #:6038
                                                                                      59


10:24:38    1     through from the King.         It came from the Thai government.

10:24:41    2     Q.        Was this celebration sponsored by -- can I just say

10:24:44    3     "King" and not try the name?         Was it true this was sponsored

10:24:47    4     by the King?

10:24:48    5     A.        I'm not sure.       I'm not sure.

10:24:49    6     Q.        If you'd look at Exhibit 847, is that a picture of you

10:24:54    7     at the celebration where you and the other rescuers are being

10:25:01    8     honored?

10:25:38    9     A.        Can't lay my hands on 847 at the moment.

10:25:41   10     Q.        If you can't -- can you not find it, sir?

10:25:45   11                      MR. PRICE:    Your Honor, I'll be happy to give him

10:25:48   12     a copy.

10:25:49   13                      MR. WOOD:    I have no objection.

10:25:52   14                      THE COURT:    There is no objection, so, it's okay.

10:25:58   15     Proceed.

10:25:59   16     BY MR. PRICE:

10:26:01   17     Q.        So we'll put up Exhibit 847, there being no objection.

10:26:06   18                           So, is this, sir, a picture of you at this

10:26:13   19     United As One thanking party?

10:26:18   20     A.        It is, yes.

10:26:18   21     Q.        And this was at the Bangkok Royal Plaza?

10:26:22   22     A.        I believe so, yes.

10:26:23   23     Q.        A fairly nice place for an event?

10:26:27   24     A.        Yes.

10:26:33   25     Q.        At this event, did anyone suggest to you that you were



                                        UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 60 of 121 Page ID
                                            #:6039
                                                                                      60


10:26:39    1     a pedophile?

10:26:42    2     A.       No.

10:26:43    3     Q.       Did you receive some kind of a -- something from the

10:26:47    4     event?   Did you receive a certificate or something

10:26:51    5     commemorating it?

10:26:53    6     A.       I can't exactly remember what the attendees received.

10:27:00    7     Probably just a small momento or something like that, but not

10:27:04    8     something I can actually remember exactly what it was.

10:27:08    9     Q.       So, after Mr. Musk's texts, you were honored both in

10:27:14   10     your home country, in the United Kingdom, and in Thailand, by

10:27:20   11     the governments, correct?

10:27:21   12     A.       I wouldn't call it "honored."     We were invited to

10:27:27   13     specific functions.     I wouldn't call it an honor.      It was an

10:27:31   14     invitation to a specific function.

10:27:37   15     Q.       Well, let me show you --

10:27:43   16                        If you'd look at Exhibit 859, that's the text

10:27:49   17     stream with Mr. Thanet.     And I'm going to direct your

10:27:58   18     attention on to page 43, and I was going to ask you a

10:28:02   19     question.

10:28:11   20     A.       85943?

10:28:14   21     Q.       859/43.   Now, at that time did you have further

10:28:46   22     discussions with Mr. Thanet, where you were saying:         You

10:28:49   23     thought you couldn't accept a medal award from the Thai

10:28:56   24     government because that might stop you from receiving a medal

10:28:59   25     award from the United Kingdom?



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 61 of 121 Page ID
                                            #:6040
                                                                                      61


10:29:02    1     A.        I did.

10:29:40    2     Q.        Sir, it's true, is it not, that later you received an

10:29:49    3     award, the Royal Thai Insignia 2nd Class.

10:29:56    4     A.        Correct.

10:29:56    5     Q.        And could you tell us what that is, the Royal Thai

10:30:02    6     Insignia 2nd Class?

10:30:02    7     A.        It's a -- it's an -- it's an honor.     I'm not

10:30:07    8     exactly -- what it means, a Royal Thai Insignia, 2nd Command.

10:30:13    9     It's the second level.      That's what I understand it to be.

10:30:18   10     Q.        Do you recall receiving other awards or recognition

10:30:21   11     within the country of Thailand?

10:30:24   12     A.        I received an award in October of 2018 on behalf of

10:30:36   13     the UK team, which was a social impact toward -- given by the

10:30:44   14     British Chamber of Commerce Thailand.       That was in October of

10:30:48   15     2018, and from recollection, that's the only -- the only

10:30:52   16     award that I received in Thailand on behalf of the UK team.

10:31:00   17     Q.        Well, the way you -- and you said it was on behalf of

10:31:03   18     the UK team.       Isn't it true that the way you phrased that to

10:31:08   19     your friends, to Thanet, is that, quote:        "I was awarded the

10:31:22   20     Social Impact Award."

10:31:26   21     A.        Can you refer me to the --

10:31:28   22     Q.        I'm going to ask first whether you have a

10:31:31   23     recollection.

10:31:31   24     A.        I don't have a recollection of a specific chat with

10:31:37   25     Thanet.



                                       UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 62 of 121 Page ID
                                            #:6041
                                                                                      62


10:31:37    1     Q.      Okay.   Well, do you recall that you were telling

10:31:39    2     people that you -- "I received the award"?

10:31:42    3     A.      I received the award on behalf of the UK team.        And I

10:31:45    4     made a brief speech and specifically accepted it on behalf of

10:31:49    5     the UK team.

10:31:50    6     Q.      And so we can picture this, it's an event, like, if

10:31:55    7     you went to a stage and actually received an award on behalf

10:31:59    8     of the team, correct?

10:32:00    9     A.      Yes, it was a function organized by the British

10:32:06   10     Chamber of Commerce of Thailand.

10:32:08   11     Q.      And there was actually a British Royal who attended

10:32:16   12     that ceremony and gave you the award, right?

10:32:19   13     A.      Correct.

10:32:19   14     Q.      And who was that Royal?

10:32:20   15     A.      I think it was Prince Richard.

10:32:24   16     Q.      He's the -- I'm going to ask you to say it because I'm

10:32:28   17     going to mess up.     Duke of?

10:32:35   18     A.      Duke of Gloucester.

10:32:37   19     Q.      I asked you whether or not you have reported this to

10:32:39   20     your friend, of you receiving the award.        If you look at

10:32:45   21     859-49, on October 17, 2018?

10:32:59   22     A.      Yes, I see the text.

10:33:01   23     Q.      Is it true that you told Mr. Thanet that you received

10:33:06   24     the Social Impact Award by his Royal Highness, Prince

10:33:15   25     Richard, Duke of -- I'll let you say that.



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 63 of 121 Page ID
                                            #:6042
                                                                                      63


10:33:20    1     A.        Duke of Gloucester.   Yes, and I did say that that was

10:33:24    2     on behalf of the UK team, but not necessarily directly to

10:33:29    3     Mr. Thanet.

10:33:30    4     Q.        Yes, I'm asking you what we have in writing --

10:33:33    5     A.        Correct.

10:33:33    6     Q.        -- is -- is you said you received it.

10:33:36    7     A.        Correct.

10:33:36    8     Q.        From His Royal Highness, Prince Richard, Duke of --

10:33:42    9     A.        Gloucester.

10:33:49   10     Q.        Thank you.

10:33:50   11     A.        Yes.

10:33:50   12     Q.        How many people were at the ceremony?

10:33:54   13     A.        From recollection, probably 50 to 100 people.      I'm not

10:34:00   14     exactly sure of the total number, but I would guess 50 to 100

10:34:07   15     people.

10:34:08   16     Q.        And do you know how -- how that's arranged, the

10:34:08   17     exhibit --

10:34:12   18                          Do you know who selects the people to get

10:34:14   19     that award?

10:34:14   20     A.        No, no, no knowledge of that at all.

10:34:19   21     Q.        But you remember, though, you were on the stage

10:34:22   22     receiving it on behalf of the team.       Correct?

10:34:24   23     A.        Correct.

10:34:36   24     Q.        Now, continuing along this line of people coming to

10:34:41   25     you to want to honor you or tell your story.         There were also



                                       UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 64 of 121 Page ID
                                            #:6043
                                                                                      64


10:34:45    1     people, again, after of Mr. Musk's tweets, who wanted to come

10:34:56    2     and tell your story in the rescue, correct?

10:34:57    3     A.       Correct.

10:34:58    4     Q.       And is it fair to say that it would not be a very

10:35:02    5     valuable story if the public thought you were a pedophile?

10:35:13    6     A.       I was -- I was part of a huge operation, and people

10:35:18    7     wanted to know the story.

10:35:24    8     Q.       Certainly it is your understanding that nothing Mr.

10:35:29    9     Musk tweeted ever got in the way of you receiving any honor,

10:35:32   10     or from anyone wanting to tell your story to the public,

10:35:35   11     right?

10:35:36   12     A.       I'm not actually in control of that, and I don't know

10:35:40   13     what may have gone in the backgrounds for offers or

10:35:44   14     approaches that I have not actually been approached by.

10:35:48   15     Q.       Well, you were approached by a --

10:35:54   16                         Well, sorry.

10:35:55   17                         You were approached -- you were to appear in

10:35:58   18     a PBS documentary, correct?

10:36:01   19     A.       Thai PBS interview which, from recollection, happened

10:36:09   20     on the 8th of September last year.

10:36:13   21                  THE COURT:   Let's take the morning recess.

10:36:18   22                  COURT CLERK:   All rise.

10:36:20   23                  (Recess taken.)

10:57:23   24                  (Following proceedings were held in the presence

10:57:24   25     of the jury.)



                                      UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 65 of 121 Page ID
                                            #:6044
                                                                                      65


10:57:24    1                  MR. WOOD:    Your Honor, may I have one moment to

10:57:26    2     ask you question.

10:57:27    3                  THE COURT:   Yes.

10:57:28    4                  MR. WOOD:    Without elaborating, Mr. Wilson, my

10:57:31    5     partners, is not feeling well, and I would like to ask the

10:57:35    6     Court permission to conduct the redirect, which I assure will

10:57:38    7     be very limited, probably less than ten questions.

10:57:42    8                  THE COURT:   You have that permission.

10:57:44    9                  MR. WOOD:    Thank you so much, Your Honor.

10:57:49   10     BY MR. PRICE:

10:57:50   11     Q.      Good morning, Mr. Unsworth, again.

10:57:52   12     A.      Good morning.

10:57:53   13     Q.      So, I was talking about people who had come to you to

10:57:58   14     ask for your story or to honor you.       And I think you

10:58:02   15     mentioned that Matt Gutman had reached out to talk to you

10:58:06   16     about including your story in a book?

10:58:08   17     A.      Correct.

10:58:08   18     Q.      And that book was published in December of 2018,

10:58:11   19     correct?

10:58:12   20     A.      I can't recall the exact date, but if -- if that's the

10:58:16   21     date you're saying, then I'll accept that date.

10:58:19   22     Q.      You've cooperated with him in that book, right?

10:58:22   23     A.      I did.

10:58:22   24     Q.      And, in fact, you're mentioned like around page 3,

10:58:27   25     very early on.



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 66 of 121 Page ID
                                            #:6045
                                                                                      66


10:58:28    1     A.        I can't remember the exact page.

10:58:30    2     Q.        But you read the book, right?

10:58:32    3     A.        I did.

10:58:33    4     Q.        And you are mentioned throughout the book, correct?

10:58:35    5     A.        I am.

10:58:36    6     Q.        And there is no mention at all in the book of

10:58:42    7     accusation of you being a "pedo" or a "pedo guy," correct?

10:58:47    8     A.        Correct.

10:58:47    9     Q.        And certainly no mention of "pedophile," correct?

10:58:51   10     A.        Correct.

10:58:52   11     Q.        Now, around the time you talked with Mr. Gutman, and

10:58:59   12     that was about August of 2018 that you started talking with

10:59:03   13     him about the book; is that right?

10:59:04   14     A.        As I sit here today, I can't recall the exact time

10:59:08   15     scales.

10:59:09   16     Q.        And were you at that time trying to promote your

10:59:13   17     story?

10:59:16   18     A.        No, I never went out to actually, physically promote

10:59:21   19     my story to -- to anybody -- not --

10:59:24   20                          No, I didn't physically go out to anybody to

10:59:27   21     promote my story.

10:59:29   22     Q.        Well, let me step back a bit.    You have an Instagram

10:59:34   23     account?

10:59:34   24     A.        Correct.

10:59:34   25     Q.        And you had one in the summer of 2018, correct?



                                       UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 67 of 121 Page ID
                                            #:6046
                                                                                      67


10:59:38    1     A.      Correct.

10:59:38    2     Q.      And that was a public account, that is, you could

10:59:42    3     search, you know, "Vernon Unsworth" and find your Instagram

10:59:51    4     account, correct?

10:59:51    5     A.      I'm not exactly aware of how the platform works.         I

10:59:55    6     don't use if very often.      I think possibly since I've had it,

10:59:57    7     there's probably only 30 posts on there over a long period of

11:00:03    8     time.

11:00:03    9     Q.      Even though you may not know how it works, you do know

11:00:07   10     it is public, it's not a private account, right?

11:00:09   11     A.      I don't know.

11:00:10   12     Q.      Well, you didn't do anything to set it up so it would

11:00:13   13     be a private account.

11:00:14   14     A.      Okay.

11:00:14   15     Q.      Is that right?

11:00:16   16     A.      Correct.

11:00:16   17     Q.      And if you looked at Exhibit 677, is that an accurate

11:00:21   18     screen shot of your account as it appeared in --

11:00:30   19                    MR. PRICE:   I may have the wrong number, here,

11:00:32   20     Your Honor.     Oh, here it is.   Yeah.

11:00:32   21     BY MR. PRICE:

11:00:41   22     Q.      Or at least one shot as it appeared in -- as of August

11:00:44   23     24, 2018?

11:00:49   24     A.      677?

11:00:52   25     Q.      Yes.    It's 677.



                                      UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 68 of 121 Page ID
                                            #:6047
                                                                                      68


11:00:56    1     A.        Correct.

11:00:56    2     Q.        That is.

11:00:58    3     A.        Correct.

11:00:58    4     Q.        And that's August 24 of 2018 correct?     All the way

11:01:06    5     down at the bottom.

11:01:07    6     A.        Correct.

11:01:07    7     Q.        And that is after -- it's a little more than a month

11:01:11    8     after the rescue, the successful rescue, correct?

11:01:13    9     A.        Correct.

11:01:14   10                   MR. PRICE:   Your Honor, we move 677 into evidence.

11:01:17   11                   THE COURT:   Received.

11:01:21   12                  (Exhibit No. 677 admitted into evidence.)

11:01:21   13     BY MR. PRICE:

11:01:21   14     Q.        And we can see that, sir, this is a picture you

11:01:23   15     posted.    It says:    "NFTFH."   Correct?

11:01:28   16     A.        Correct.

11:01:29   17     Q.        And that stands for "not for the faint of heart,"

11:01:31   18     correct?

11:01:31   19     A.        "Not for the fainthearted."    Correct.

11:01:31   20     Q.        "Not for the fainthearted."

11:01:34   21                          This pictures shows injuries to your back,

11:01:37   22     correct?

11:01:37   23     A.        Correct.

11:01:37   24     Q.        It's true that this was not a picture of any injury

11:01:41   25     that you sustained during the rescue, correct?



                                       UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 69 of 121 Page ID
                                            #:6048
                                                                                      69


11:01:44    1     A.        Correct.

11:01:44    2     Q.        This picture that you posted within a month after the

11:01:48    3     rescue to your public account was a picture from sometime

11:01:52    4     before, correct?

11:01:53    5     A.        Correct.

11:01:54    6     Q.        And, in fact, you sent this picture or one very much

11:01:59    7     like it to Mr. Gutman in connection with his book, correct?

11:02:02    8     A.        Correct.

11:02:03    9     Q.        Were you trying to claim that these injuries somehow

11:02:09   10     were sustained as a result of the rescue?

11:02:11   11     A.        No.

11:02:12   12     Q.        And we recognized that the divers risked their lives,

11:02:22   13     and in fact one lost their life, correct?

11:02:22   14     A.        Correct.

11:02:25   15     Q.        Did you claim that you've risked your life in the

11:02:27   16     rescue?

11:02:28   17     A.        I've not made any claims to actually physically

11:02:31   18     risking lives.       I suppose in any rescue of this nature and

11:02:35   19     involving a cave that was in good conditions, by definition,

11:02:44   20     anybody is effectively risking their life.

11:02:47   21     Q.        Well, you testified on direct that when the boys were

11:02:50   22     being removed, that you assisted in -- in transporting them

11:02:55   23     some distance along the way in the cave after the dive was

11:02:59   24     completed, correct?

11:03:00   25     A.        Correct.



                                       UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 70 of 121 Page ID
                                            #:6049
                                                                                      70


11:03:00    1     Q.       And that was using something called skeg?

11:03:04    2     A.       Correct.

11:03:04    3     Q.       And that -- is it like a -- not a hammock.       What would

11:03:04    4     you --

11:03:09    5                         Tell the jury what that is.

11:03:10    6     A.       It's a flexible stretcher.

11:03:16    7     Q.       So, the boys would be -- because they were still under

11:03:19    8     sedation, correct?

11:03:20    9     A.       Correct.

11:03:20   10     Q.       They had to be carried?

11:03:21   11     A.       Correct.

11:03:21   12     Q.       How many people were involved in that operation?

11:03:26   13     A.       Possibly hundreds.

11:03:28   14     Q.       And these hundreds of people, including yourself,

11:03:31   15     didn't get special training for that, correct?

11:03:34   16     A.       Correct.

11:03:34   17     Q.       Now, did --

11:03:40   18                         Are you aware that someone purporting to be

11:03:44   19     your agent was representing that you risked your life.

11:03:48   20     A.       I wouldn't call him specifically my agent.       Well, he

11:03:56   21     was my agent for a very short space of time.        And I can't

11:03:59   22     relate to all the conversations that we had.

11:04:03   23     Q.       Well, let me ask you about that.     Around September of

11:04:15   24     2018, you came to believe that you had been foolish to tell

11:04:25   25     your story to Mr. Gutman and others for free, correct?



                                      UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 71 of 121 Page ID
                                            #:6050
                                                                                      71


11:04:32    1     A.      I can't recall the conversation with Mr. Gutman, if

11:04:36    2     you want to refer me to the conversation.

11:04:39    3     Q.      My question is, you became --

11:04:41    4                       Well, let me step back.

11:04:43    5                       In September of 2018, you told three or four

11:04:47    6     film companies who came out to you to -- this is probably a

11:04:52    7     British colloquialism -- to piss off?

11:04:59    8     A.      I can't recall those conversations or e-mails or

11:05:01    9     whatever form they came into.

11:05:03   10     Q.      Okay, let's look at Exhibit 859, again.       That's your

11:05:07   11     chat with Mr. Thanet, and I'll call your attention to 859-41.

11:05:42   12     A.      Okay.

11:05:43   13     Q.      Isn't it correct that around September 23, 2018, you

11:05:48   14     told Mr. Thanet that three to four film companies had tried

11:05:55   15     to contact you for your story, and you told them to piss off

11:05:59   16     because they weren't going to pay.

11:06:01   17     A.      Can you refer me to the line, please.

11:06:06   18                  MR. PRICE:   If I may, Your Honor, it's 9:15.

11:06:06   19                  THE WITNESS:   Correct.

11:06:06   20     BY MR. PRICE:

11:06:28   21     Q.      So, as of that time, you thought that even after Mr.

11:06:33   22     Musk's tweets, your story was valuable, the public would want

11:06:36   23     to hear about you, correct?

11:06:39   24     A.      About the story in general, yes.

11:06:42   25     Q.      Well, specifically about your story, about Vernon



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 72 of 121 Page ID
                                            #:6051
                                                                                      72


11:06:53    1     Unsworth, correct?

11:06:53    2     A.      Correct.

11:06:54    3     Q.      And at this time, in about September 2018, you had

11:06:57    4     heard that they were going to make a movie that involved only

11:06:59    5     the Thai Navy seals, correct?

11:07:00    6     A.      I don't recall that.

11:07:01    7     Q.      If you'll look at line 9:16.

11:07:07    8     A.      Correct.

11:07:08    9     Q.      You told Mr. Thanet:     "How can they make a movie

11:07:11   10     involving only the stupid Thais?"

11:07:16   11     A.      I didn't say "stupid Thais."

11:07:19   12     Q.      You said "Thais Kwaai," K-W-A-A-I.       That's a word we

11:07:26   13     discussed yesterday.     Do you remember?

11:07:26   14     A.      Correct.

11:07:26   15     Q.      And that's a colloquialism in Thailand for "stupid."

11:07:31   16     A.      "Buffalo."

11:07:32   17     Q.      Well, you said literally it meant "buffalo," but

11:07:35   18     didn't you tell us yesterday it meant as a slang word,

11:07:39   19     "stupid"?

11:07:39   20     A.      I don't recall saying that yesterday.       I only recall

11:07:42   21     saying "buffalo."

11:07:47   22     Q.      Okay.   Well, were you referring to Navy Seals as being

11:07:51   23     "buffalo"?

11:07:53   24     A.      It's what we have -- it's a slang word.       Yes.

11:07:57   25     Q.      Is it a complimentary slang word?



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 73 of 121 Page ID
                                            #:6052
                                                                                      73


11:08:01    1     A.       No.

11:08:01    2     Q.       What is the meaning, then, of it being uncomplimentary

11:08:07    3     about the Thais?

11:08:09    4     A.       I don't exactly know the full definition, but it's

11:08:12    5     something that is -- is, it's -- it's a slang word for --

11:08:20    6     not -- not good.

11:08:38    7     Q.       Yesterday, in your direct examination, you said in

11:08:46    8     response to counsel's question -- you were asked:         "Have you

11:08:51    9     ever hired an agent to represent you in any way related to

11:08:55   10     your efforts in the cave rescue?"       Do you recall that?

11:08:59   11     A.       I don't recall the exact question, no.

11:09:01   12     Q.       Do you recall saying you weren't -- that the agent

11:09:05   13     was, quote:     "Not exactly hired."

11:09:08   14     A.       Correct.

11:09:09   15     Q.       And you have some understanding how agents work.        They

11:09:14   16     get paid a commission, right?

11:09:16   17     A.       From my understanding, yes.

11:09:18   18     Q.       And you didn't have an agreement in writing, correct?

11:09:21   19     A.       We never entered into any formal arrangement.

11:09:26   20     Q.       But you, in your words, as of November of 2018 had an

11:09:34   21     agent.

11:09:36   22     A.       I gave him -- I respected -- you're referring to

11:09:41   23     Robinson who I met on the event of the 2nd, and we -- we

11:09:51   24     formed an arrangement.     I gave him the respect of calling him

11:09:59   25     an agent.      But no formal agreement was entered into.



                                      UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 74 of 121 Page ID
                                            #:6053
                                                                                      74


11:10:03    1     Q.       You understood that if he procured projects for you,

11:10:08    2     you would have to pay him some percentage.

11:10:12    3     A.       Correct.

11:10:12    4     Q.       And, in fact, in your view, in fact, what you told

11:10:15    5     Mr. Thanet at the time was:      "I have an agent."

11:10:20    6     A.       Correct.

11:10:20    7     Q.       And you said this only lasted -- you said a couple of

11:10:30    8     weeks?

11:10:30    9     A.       Two to three weeks at the maximum.      We -- we met, I

11:10:38   10     think, probably in Shanghai around the 2nd or 8th of

11:10:43   11     November.   There was a few inquiries that occurred after

11:10:47   12     that.    Will handled them for me.

11:10:53   13                         There was an agreement that was forwarded to

11:10:56   14     me by his lawyer, but I found the agreement to be too onerous

11:11:04   15     because he would lock me in for a period of three years, and

11:11:08   16     effectively, the -- the ad hoc business relationship ended

11:11:14   17     there.   Nothing has happened since, and we still remain good

11:11:18   18     friends.

11:11:19   19     Q.       You said that this person who you called an agent came

11:11:23   20     to you, correct?

11:11:23   21     A.       Correct.

11:11:24   22     Q.       So, you saw -- he saw something valuable in the story

11:11:28   23     of Vernon Unsworth, even late of Mr. Musk's tweets, correct?

11:11:37   24     A.       He found -- he found my story to be quite powerful,

11:11:40   25     yes.



                                      UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 75 of 121 Page ID
                                            #:6054
                                                                                      75


11:11:40    1     Q.      And in this -- having any discussions with him, did

11:11:44    2     you discuss whether or not your story was less value or had

11:11:52    3     no value because Mr. Musk had made a tweet saying, you know:

11:11:55    4     "Sorry, pedo guy"?

11:11:57    5     A.      I don't recall any type of conversation of that nature

11:12:01    6     with him, no.

11:12:02    7     Q.      And your understanding was to -- to get projects for

11:12:05    8     your story, and you would be presented to the public, right?

11:12:09    9     A.      He -- he's, he's basically a music producer.        He's

11:12:17   10     sort of semi retired.     He's very well connected.      I thought

11:12:22   11     he would be possibly useful, to take some of the -- some of

11:12:24   12     the inquiries.    But as I said, he only lasted possibly two or

11:12:30   13     three weeks, and you know, the ad hoc business relationship

11:12:34   14     ended there, and nothing has happened since.        As I said, we

11:12:40   15     remain good friends.

11:12:41   16     Q.      Do you have any communication ending the business

11:12:43   17     relationship?

11:12:45   18     A.      No.

11:12:45   19     Q.      You have communications starting in November of 2018

11:12:50   20     where he is representing you and representing you to people

11:12:55   21     who might pay for your story, correct?

11:12:58   22     A.      Correct, as long as, as I said, for a maximum of two

11:13:04   23     to three weeks.

11:13:05   24     Q.      And at your deposition in this case on August 14, 2019

11:13:11   25     you were asked whether you had an agent now, and you said no,



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 76 of 121 Page ID
                                            #:6055
                                                                                      76


11:13:14    1     correct?

11:13:16    2     A.      At the time --

11:13:23    3                        Can you remind me of the time of the

11:13:24    4     deposition?

11:13:28    5     Q.      August 14, 2019.

11:13:30    6     A.      So, as of August 2019, I did not have an agent.

11:13:35    7     Q.      In fact, Mr. Robinson was still acting on your behalf

11:13:40    8     trying to sell your story.        You had an agent, didn't you?

11:13:44    9     A.      No.

11:13:51   10     Q.      Well, let me show you Exhibit 907.

11:14:06   11                   MR. PRICE:   And, Your Honor, on these exhibits we

11:14:09   12     will redact the top eight, which reflects how they were --

11:14:14   13     how we got --

11:14:30   14                   THE COURT:   You mean the first page.

11:14:32   15                   MR. PRICE:   Yes, Your Honor.

11:14:34   16                   THE COURT:   Okay, so, I have 907 before me.

11:14:37   17                        Is there a question?

11:14:38   18                   MR. PRICE:   Yes.

11:14:40   19     BY MR. PRICE:

11:14:40   20     Q.      Is this a communication, Mr. Unsworth, that you

11:14:44   21     received on August 6th, 2019 just eight days before your

11:14:49   22     deposition?

11:14:51   23     A.      Correct.

11:14:55   24     Q.      And you received this from Mr. Robinson, correct?

11:15:00   25     A.      Correct.



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 77 of 121 Page ID
                                            #:6056
                                                                                      77


11:15:00    1     Q.      If you turn to 907-8 to 907-9, there is a long single

11:15:31    2     spaced pitch about your role in the rescue, correct?

11:15:43    3     A.      Correct.

11:15:43    4     Q.      And Mr. Robinson was sending this to you so that you

11:15:48    5     would have the opportunity to correct it or beef it up,

11:15:50    6     correct?

11:15:51    7     A.      Correct, and from -- it never actually got published.

11:15:57    8     Q.      You did not get any deals from this, correct?

11:16:02    9     A.      It wasn't about getting any deals, it was for his own

11:16:06   10     business which is called Tune Asia, and basically he asked me

11:16:13   11     to look at the documents to try and help him.        I made some

11:16:17   12     amendments to the documents, but I didn't actually finish

11:16:21   13     making a full amendment or a full assessment of the

11:16:25   14     documents, and they were never published.

11:16:26   15     Q.      Your understanding was that he was trying to pitch

11:16:30   16     your story that you would make some money off of it, right?

11:16:35   17     A.      Absolutely not.

11:16:37   18     Q.      Isn't that how it works with agents?

11:16:41   19     A.      He didn't mention any monetary side to the documents

11:16:47   20     or the e-mail.     I basically took it that he was asking me to

11:16:55   21     help with -- with his own business, which was, as I said,

11:17:01   22     called Tune Asia, which I believed is based in the

11:17:05   23     Philippines.    I had to look at the documents.      I didn't

11:17:09   24     finish looking at the documents, and they were never

11:17:11   25     published.



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 78 of 121 Page ID
                                            #:6057
                                                                                      78


11:17:18    1     Q.      You had the communications back in November of 2018

11:17:23    2     that you were, in your words, a fool to give away your story

11:17:30    3     for free, correct?

11:17:32    4     A.      Correct.

11:17:35    5     Q.      And you had communications with an agent about your

11:17:38    6     story, correct?

11:17:41    7     A.      Correct.

11:17:41    8     Q.      There is no written communication whatsoever that

11:17:46    9     suggests that relationship changed.       Correct?

11:17:52   10     A.      Correct.   And as I said, it lasted two to three weeks.

11:17:57   11     No contract was entered into, and effectively, as it was ad

11:18:04   12     hoc arrangement, it was fizzled out, and we've remained

11:18:08   13     friend ever since.     An actual fact, ever since December of

11:18:16   14     last year we only met on two occasions, one was New Years

11:18:23   15     Eve, and one was only on November the 10th or 11th of this

11:18:30   16     year.

11:18:30   17                        But that was the only communication where he

11:18:33   18     actually sent me a document to look at, and it was relative

11:18:38   19     to his own business.     It wasn't going to be relative to any

11:18:42   20     monetary situation, and it was never published.

11:18:47   21     Q.      So, is it your mindset now, is the same as the mindset

11:18:51   22     in November, which is that you are not going to give away

11:18:55   23     your story for free, you're going to insist to be paid?

11:19:00   24     A.      Let me -- let me say that so far as I'm concerned,

11:19:07   25     since probably April or May of this year, the impetus is --



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 79 of 121 Page ID
                                            #:6058
                                                                                      79


11:19:14    1     has disappeared.     It's not what it was, and it's very

11:19:17    2     unlikely that I will get involved in any other publications.

11:19:25    3     Certainly the presentation side of the scenario has -- I've

11:19:31    4     not done any presentations since May of this year.         It's gone

11:19:36    5     very quiet, and I don't expect -- I don't expect anything to

11:19:41    6     happen anytime soon.

11:19:42    7     Q.      Well, let's step back.     You understand it takes a long

11:19:47    8     time sometimes for film projects and book projects to be

11:19:51    9     developed, right?

11:19:52   10     A.      Correct.

11:19:52   11     Q.      And no project has been -- strike that.

11:19:54   12                        No film project has been developed about the

11:19:57   13     rescue, correct?

11:19:58   14     A.      That's not true.

11:19:59   15     Q.      Is there a film by a studio about the rescue?

11:20:03   16     A.      There was a very --

11:20:05   17                        Well, there is a film being launched recently

11:20:10   18     called The Cave, which was directed by Tom Waller.

11:20:17   19     Q.      And you --

11:20:18   20                        I'm sorry.   I didn't mean to interrupt.

11:20:19   21                        Is your story told in that?

11:20:22   22     A.      No.

11:20:22   23     Q.      Whose story is told?

11:20:25   24     A.      Well, I haven't seen the -- I haven't seen the movie,

11:20:28   25     but it was basically centered around one of the dive team,



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 80 of 121 Page ID
                                            #:6059
                                                                                      80


11:20:34    1     Jim Warny, who's Irish-Belgium nationality.        Tom Waller, the

11:20:43    2     director is Thai-Irish.      So there is a connection there.      But

11:20:47    3     the story primarily evolves around the divers.        Jim Warny,

11:20:53    4     and I think Miko Passy was involved, maybe Eric Brown.         But

11:20:57    5     the story -- I have made no contribution to that movie

11:21:02    6     whatsoever.

11:21:04    7     Q.       So, that's the story without Rick Stanton?

11:21:08    8     A.       I haven't watched the movie.     So, I don't know the

11:21:11    9     full details of what's there, and -- yeah, I've not seen the

11:21:19   10     movie.

11:21:21   11                   MR. WOOD:    Your Honor, if I might make a point of

11:21:23   12     inquiry.   Because Mr. Staton's name has come up, at the end

11:21:28   13     of the cross-examination before I redirect, will I have an

11:21:34   14     opportunity to state the stipulation that we entered into

11:21:36   15     yesterday, with the Court's approval, about Mr. Stanton?

11:21:39   16                   THE COURT:   Yes.

11:21:40   17                   MR. WOOD:    Thank you.

11:21:45   18                   THE WITNESS:   So, so far as I know, also

11:21:50   19     Mr. Stanton and the other divers involved, such as John

11:21:55   20     Volanthen, Jason Mallinson, Chris Jewell, none of those,

11:22:00   21     including myself, are not a part of the story.

11:22:03   22     BY MR. PRICE:

11:22:03   23     Q.       And so, Mr. Unsworth, I want to be clear about your

11:22:08   24     intent, and we'll start with November 2018.        At that point

11:22:14   25     you told Mr. Thanet that any story to be successful needed



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 81 of 121 Page ID
                                            #:6060
                                                                                      81


11:22:24    1     you, and you'd have to be paid big money, correct?

11:22:28    2     A.        I can't remember the exact conversation with

11:22:32    3     Mr. Thanet.

11:22:33    4     Q.        Look at 85-9 again, 57.

11:22:54    5     A.        85957?

11:23:04    6     Q.        Yes.

11:23:06    7     A.        Which line.

11:23:07    8     Q.        Very top.    Is it correct that you received an e-mail

11:23:11    9     from Dr. Harry and Dr. Craig, these are the British -- well,

11:23:18   10     Australian, medical doctors who risked their lives to

11:23:22   11     administrator medication to the kids, right?

11:23:24   12     A.        I think their e-mail actually came from their book

11:23:28   13     agents.    I think his name is Ellis Aaron or something like

11:23:32   14     that.   It wasn't directly from Dr. Harry or Craig Tallin.

11:23:37   15     Q.        But because it was from their agent, you expressed to

11:23:40   16     Mr. Thanet that the e-mail came from Dr. Harry and Dr.

11:23:40   17     Craig --

11:23:46   18     A.        Correct.    Because it involved the -- involved the book

11:23:51   19     that Ellis Henican was trying to do on behalf of Dr. Harry

11:23:53   20     and Dr. Craig Tallin.

11:23:55   21     Q.        And at that time you told Mr. Thanet that they needed

11:24:00   22     you so much, and that you sent that on to your agent,

11:24:04   23     Mr. Robinson, correct?

11:24:05   24     A.        I copied him in, yes.    And the actual e-mail from

11:24:10   25     Ellis Henican even included a comment that they -- they did



                                        UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 82 of 121 Page ID
                                            #:6061
                                                                                      82


11:24:18    1     really need me as part of writing the -- the book.

11:24:21    2     Q.      And you at this time also discussed that the divers

11:24:27    3     were thinking of doing a project, correct?

11:24:30    4     A.      Yeah, I mean, they've gone off and done their own

11:24:34    5     thing, and my honest opinion is that if we've done, done

11:24:41    6     everything together, it made -- you know, with other people,

11:24:46    7     such as --

11:24:47    8                        And not just the rescue is that, some of the

11:24:50    9     local volunteers.     I think the story would have had a bigger

11:24:54   10     impact but, you know, they quite rightly and understandably

11:24:59   11     they've done things on their own, and I have no problems with

11:25:02   12     that.

11:25:02   13     Q.      No problems.    You told Mr. Thanet on this day that you

11:25:05   14     were going to make the divers suffer for leaving you out of

11:25:08   15     the loop, correct?

11:25:09   16     A.      Correct.    And I don't -- I actually don't recall

11:25:14   17     making that comment, but everything is -- nothing has

11:25:18   18     happened, and in fact, I personally recommended Dr. Harry and

11:25:24   19     Dr. Craig to Peter Ahmed back in April of this year who is --

11:25:31   20     represents Escape Global.

11:25:36   21                        I don't know what's happened since then,

11:25:37   22     because it's not -- it's not my concern.

11:25:39   23     Q.      You said you don't recall making that comment.        So,

11:25:42   24     since you don't recall, sir, would you look at 859-58?

11:25:57   25                  THE COURT:   What page are you on?



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 83 of 121 Page ID
                                            #:6062
                                                                                      83


11:25:59    1                   MR. PRICE:    It's 4:57.   The date is November 13,

11:26:10    2     2018.

11:26:17    3                   THE WITNESS:    I see the thread.

11:26:19    4     BY MR. PRICE:

11:26:20    5     Q.      It's true, is it not, sir, that you told Mr. Thanet

11:26:23    6     that you would make the divers suffer for leaving you out of

11:26:25    7     the loop?

11:26:26    8     A.      Correct.    But as I've said, no harm done.      We remain

11:26:31    9     good friends.     And, you know, they've gone off and done their

11:26:38   10     own thing.    That's not a problem with me.       And as I said, I

11:26:41   11     personally recommended the two Australian divers to Peter

11:26:47   12     Ahmed of Escape Global.

11:26:47   13     Q.      You don't deny making that statement here.

11:26:50   14     A.      No.

11:26:50   15     Q.      No. And at the time you made that statement, you also

11:26:54   16     had an e-mail exchange with Mr. Thanet, I think you referred

11:26:59   17     to it, talking about the -- the doctors who risked their

11:27:04   18     lives trying to help these children, correct?

11:27:07   19     A.      I -- I can't recall the exact e-mail.        If you want to

11:27:12   20     refresh my memory.

11:27:15   21     Q.      I will.    Sir.    If you look at Exhibit 783, and

11:27:36   22     ignoring again -- this is the first eight of that e-mail,

11:27:40   23     which reflects how you received it.       That's an e-mail

11:27:45   24     exchange between you and Mr. Robinson, which has some other

11:27:48   25     e-mails on it, dated November 16, 2018, correct?



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 84 of 121 Page ID
                                            #:6063
                                                                                      84


11:27:53    1     A.        Correct.

11:28:02    2                     MR. PRICE:   Your Honor, I move Exhibit 783 except

11:28:04    3     for that top eight into evidence?

11:28:06    4                     THE COURT:   All right, it's in evidence.

11:28:08    5                     (Exhibit No. 783 received in evidence.)

11:28:12    6     BY MR. PRICE:

11:28:12    7     Q.        And we can go to the bottom of the second page.      This

11:28:16    8     starts with an e-mail from Dr. Harry's agent, Ellis Henican,

11:28:26    9     correct?

11:28:27   10     A.        Correct.

11:28:28   11     Q.        And she's asking for you to help in connection with

11:28:32   12     their story, correct?

11:28:34   13     A.        He.

11:28:35   14     Q.        He, I'm sorry, he's asking you to connect with the

11:28:40   15     story.

11:28:40   16     A.        Correct.

11:28:41   17     Q.        And this is something that you forward to your friend,

11:28:45   18     Thanet, correct?

11:28:46   19     A.        Correct.

11:28:46   20     Q.        And if we can go to what you said to him, it starts on

11:28:49   21     the next page at the bottom --

11:28:51   22                     THE COURT:   What page is that?

11:28:54   23                     MR. PRICE:   That's 73-1, Your Honor, at the

11:28:57   24     bottom.    Sorry, I should have said preceding page.

11:28:57   25     BY MR. PRICE:



                                       UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 85 of 121 Page ID
                                            #:6064
                                                                                      85


11:29:05    1     Q.        And you say:    "Hi Thanet, hope you're both well."     I'm

11:29:10    2     assuming you're talking about him and his wife.

11:29:10    3     A.        Correct.

11:29:14    4     Q.        And you say:    "My agent, Will Robinson, is now

11:29:17    5     representing me."      Correct?

11:29:19    6     A.        Correct.

11:29:19    7     Q.        And it says that:   Dr. Harry, Dr. Craig, with Coach

11:29:34    8     Ekk apparently sold rights to a book for 6 million."

11:29:39    9                          That's actually not in U.S. dollars, correct?

11:29:42   10                   MR. WOOD:    Objection, Your Honor.    It says

11:29:45   11     dollars.

11:29:45   12     BY MR. PRICE:

11:29:46   13     Q.        Is it your understanding it was $6 million?

11:29:48   14     A.        That was my understanding.

11:29:50   15     Q.        Okay.   So, that was your understanding.    And you say

11:29:52   16     they have problems, right?

11:29:58   17                   MR. WOOD:    Objection, vague.

11:30:02   18     BY MR. PRICE:

11:30:02   19     Q.        You say they do have problems?

11:30:04   20                   THE COURT:    It's a question -- maybe --

11:30:05   21                   MR. WOOD:    I'm sorry, Your Honor.    I'll withdraw

11:30:07   22     it.   I thought it was that question, not a statement, an

11:30:10   23     e-mail.    It's in the e-mail.

11:30:14   24     BY MR. PRICE:

11:30:14   25     Q.        You say in the e-mail:   "They do have problems,"



                                       UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 86 of 121 Page ID
                                            #:6065
                                                                                      86


11:30:14    1     right?

11:30:14    2     A.       I do.

11:30:16    3     Q.       And you say:   "One, the guy, Ellis, has seen coach Ekk

11:30:21    4     but the Wild Boars committee won't allow him to be

11:30:24    5     interviewed."    Do you see that?

11:30:25    6     A.       Correct.

11:30:25    7     Q.       And you had said to Mr. Fanton [SIC] around that time

11:30:29    8     that you were close friends with the people on this Wild

11:30:31    9     Boars committee who had to approve who the boys and the coach

11:30:37   10     would talk to.

11:30:37   11     A.       Sorry, could you repeat the question?

11:30:39   12     Q.       Sure.   You had said to Mr. Fanton --

11:30:39   13     A.       Mr. Fanton?

11:30:40   14     Q.       Mr. Thanet.

11:30:42   15     A.       Mr. Thanet.

11:30:45   16     Q.       Thank you.    You had said to Mr. Thanet -- my

11:30:45   17     apologies.

11:30:50   18                         You had said to Mr. Thanet previously that

11:30:54   19     you were close friends with the people in the Wild Boars

11:30:59   20     committee who had the gatekeeping function in whether or not

11:31:04   21     they had access to the boys and the coach.

11:31:07   22     A.       Correct.

11:31:07   23     Q.       So, you thought you had some sway in whether anyone

11:31:12   24     can talk to those boys and the coach, connect?

11:31:15   25     A.       No, not because they made a decisions, and that it



                                      UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 87 of 121 Page ID
                                            #:6066
                                                                                      87


11:31:20    1     was -- it's just a very low relationship.        I knew -- I knew

11:31:24    2     the two people concerned, but I've had very, very little

11:31:28    3     contact with them.

11:31:33    4     Q.      Let's continue.    You say you were integral to the

11:31:40    5     book.   Do you see that?

11:31:41    6     A.      Correct.

11:31:41    7     Q.      And you are not answering Mr. Ellis's calls, the agent

11:31:52    8     of these two doctors' rescuers, and you don't want to meet

11:31:57    9     with them, connect?

11:31:58   10     A.      Correct.

11:31:58   11     Q.      And because of that action, you're telling Mr. Thanet

11:32:02   12     that this book will fall flat on its face.

11:32:07   13     A.      Yeah, I -- I can see -- I can see the thread, possibly

11:32:12   14     their own comment.     But it's not impacted on the book because

11:32:16   15     the book was being released.

11:32:19   16     Q.      As of this date, November 2018, despite any tweets Mr.

11:32:26   17     Musk has sent, you thought that your story was so valuable to

11:32:31   18     the public that a book on it would fall flat on its face

11:32:37   19     without your participation, right?

11:32:39   20                  MR. WOOD:    Objection to the form.    No tweets were

11:32:41   21     sent.   They were published.     Object to form.

11:32:44   22                  THE COURT:    Ask the question differently.

11:32:45   23                  MR. PRICE:    I'll make that change.

11:32:48   24     BY MR. PRICE:

11:32:50   25     Q.      Despite Mr. Musk's publishing tweets, despite that,



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 88 of 121 Page ID
                                            #:6067
                                                                                      88


11:32:53    1     you thought, some three or four months later, four months

11:32:59    2     later, that your story was so valuable that a book on the

11:33:06    3     rescue would fall flat on its face without your

11:33:10    4     participation.

11:33:11    5     A.      Correct, possibly the wrong way to phrase it, but as

11:33:15    6     I've said, the book has been published without my

11:33:19    7     contribution.

11:33:19    8     Q.      So, what you're saying is that -- you turned out --

11:33:23    9     turned out you were wrong?

11:33:25   10     A.      Correct.

11:33:25   11     Q.      But your state of mind in November, after four months

11:33:28   12     of interacting with people, after the tweet, was that you had

11:33:34   13     that power.    Right?

11:33:37   14     A.      I had -- I had a -- an important story to tell as do

11:33:42   15     many other people.

11:33:44   16     Q.      Well, let's go to the next page.      I won't belabor

11:33:53   17     this.

11:33:53   18                        You go to the next, you say --

11:33:58   19                        And that's 873-2 at the top, and we'll

11:34:06   20     continue with this e-mail:      "What I don't like about all this

11:34:16   21     is that everyone is trying to do deals that won't work.          I am

11:34:21   22     the KEY," all caps, "I am the big piece in the jigsaw."          Do

11:34:28   23     you see that?

11:34:28   24     A.      Correct.

11:34:28   25     Q.      I guess you've now told us there has been a movie and



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 89 of 121 Page ID
                                            #:6068
                                                                                      89


11:34:33    1     a book published that you were not a part of?

11:34:36    2     A.      Correct.

11:34:36    3     Q.      And you says:    "Ellis now knows that they need to make

11:34:42    4     a big offer on the table," correct?

11:34:45    5     A.      Correct.

11:34:46    6     Q.      So, at this time you thought that your story was worth

11:34:51    7     a lot of money, correct?

11:34:55    8     A.      I thought it was worth a sum of money, yes, on the

11:35:00    9     basis that the previous three books that I've been consulting

11:35:03   10     to, I gave my time totally free, spent many hours with the

11:35:09   11     publishers, the authors of the book, and, as I said, spent a

11:35:15   12     lot of time dealing with these authors.

11:35:22   13     Q.      And you regretted that.     You said to Mr. Thanet:      "I

11:35:29   14     never should have helped Gutman.      He's going to make a

11:35:34   15     fortune on my story."

11:35:36   16     A.      Correct.

11:35:37   17     Q.      And after that, around this time, your agent,

11:35:45   18     Mr. Robinson, communicate with people that you were known

11:35:50   19     internationally, and that people would have to pay if they

11:35:54   20     wanted you to make an appearance.

11:36:00   21     A.      I -- as I said before, the relationship with Will

11:36:05   22     Robinson lasted only two to three weeks.        There was no

11:36:07   23     agreement put in place.     There was no -- nothing entered

11:36:13   24     into, and any -- any formal or informal business relationship

11:36:18   25     ended sometime in November of 2018.



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 90 of 121 Page ID
                                            #:6069
                                                                                      90


11:36:24    1     Q.      My question was, around this timeframe, that you

11:36:28    2     instructed Mr. Robinson to tell people that, you know, you

11:36:32    3     would not be assisting anyone unless you were paid?

11:36:38    4     A.      Correct.

11:36:52    5     Q.      In fact, if you look at Exhibit 785, do you have that

11:37:09    6     in front of you, sir?

11:37:11    7     A.      I do.

11:37:17    8     Q.      And that's an e-mail sent by your agent, correct?         Do

11:37:35    9     you see that?

11:37:35   10     A.      I'm just going through the threads.       Yes, I see the --

11:37:49   11     I see the e-mail.

11:37:50   12     Q.      And do you see this concerns about a possible public

11:37:57   13     appearance that you're going to make, correct?

11:37:59   14     A.      Correct.    On behalf of the British Chambers Commerce

11:38:05   15     of Thailand, which I said I'd be happy to do after the event

11:38:09   16     that happened in October 2018, that -- when I received the

11:38:15   17     Social Impact Award on behalf of the UK dive team.

11:38:21   18     Q.      Did you consider that to be an honor?

11:38:24   19     A.      No.

11:38:30   20     Q.      So, was this e-mail exchange sent on your behalf by

11:38:35   21     Mr. Robinson?

11:38:53   22     A.      I can't -- I can't see the exact trail of what

11:38:58   23     actually started -- but Will did get involved, and I think

11:39:03   24     the original e-mails came from Ticha, relative to the --

11:39:12   25     relative to the function, and Will obviously got involved at



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 91 of 121 Page ID
                                            #:6070
                                                                                      91


11:39:16    1     the specific stage.

11:39:17    2     Q.      In fact, if you see, if you look at 75-2, a quarter of

11:39:24    3     the way down, you are communicating to Mr. Robinson, correct?

11:39:29    4     A.      Sorry, could you repeat the line thread?

11:39:33    5     Q.      75-2, it's about a third of the way down where it

11:39:37    6     says:   "From Vernon Unsworth"?

11:39:42    7     A.      Correct.

11:39:42    8     Q.      I think you said at least for these several days, he

11:39:47    9     was acting as your agent, correct?

11:39:49   10     A.      Correct.

11:39:50   11                  MR. PRICE:    Your Honor, we would move Exhibit 75

11:39:54   12     into evidence.

11:39:54   13                  THE COURT:    Received.

11:39:55   14                  MR. WOOD:    No objection.

11:39:57   15                  (Exhibit No. 75 received in evidence.)

11:39:58   16     BY MR. PRICE:

11:39:59   17     Q.      And if we can go to 75-1, the bottom, first line, you

11:40:04   18     see an e-mail from Mr. Robinson to Chonticha@BCCThai.com.          Do

11:40:17   19     you see that?

11:40:17   20     A.      "Ticha" is actually part of the British Chamber of

11:40:24   21     Commerce, Thailand.      I think I only met her on only one

11:40:27   22     occasion, maybe two occasions, and have had no contact from

11:40:32   23     the BCCT since the beginning of this year.

11:40:38   24     Q.      And what Mr. Robinson says to her there is:        "There is

11:40:41   25     a substantial amount of international media interest in Khun



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 92 of 121 Page ID
                                            #:6071
                                                                                      92


11:40:49    1     Vernon at the moment."     Do you see that?

11:40:51    2     A.      I do.

11:40:51    3     Q.      And that is a correct statement, as of November of

11:40:54    4     2018, there was a large amount of international media

11:40:59    5     interest in you because you were considered to be a hero.

11:41:01    6     A.      I think it was a terminology that was used by Will to

11:41:05    7     make -- make it sound better than it possibly could be.          But

11:41:11    8     I'm not sure what amount of international interest I was

11:41:14    9     attracting at the time.

11:41:17   10     Q.      You're suggesting agents might exaggerate?

11:41:23   11     A.      Possibly.

11:41:24   12     Q.      Go to the top of the e-mail exchange.       You see

11:41:30   13     Mr. Robinson says:     "Thank you for your e-mail and further

11:41:34   14     information.    This is fine, but please ensure there are no

11:41:37   15     photos, audio or video of Khun Vernon's presentation."         Do

11:41:46   16     you see that?

11:41:46   17     A.      Correct.

11:41:46   18     Q.      And that was because you didn't want anyone profiting

11:41:50   19     off of video, audio or photo of you at that event, correct?

11:41:54   20     A.      I don't exactly know what the process is, but it was

11:41:57   21     just -- Will was on an ad hoc basis representing me at the

11:42:04   22     time.   That's what he had requested.

11:42:15   23     Q.      Sir, if you look at Exhibit 790.      That's an e-mail

11:42:42   24     string between your agent, Will Robinson and the Guardian,

11:42:50   25     and you copied them that exchange, correct?



                                      UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 93 of 121 Page ID
                                            #:6072
                                                                                      93


11:42:53    1     A.        Correct.

11:42:53    2     Q.        This is about November 22nd, 201, correct?

11:42:56    3     A.        Correct.

11:42:57    4     Q.        And could you tell to the jury who the Guardian is or

11:43:04    5     what they are?

11:43:05    6     A.        A Guardian, I believe, is a national media newspaper

11:43:10    7     in the UK.

11:43:11    8     Q.        And at the beginning of this string, you see that the

11:43:19    9     Guardian is asking for an interview with you.        Do you see

11:43:24   10     that?   Let's go to 790-2, the bottom.      I'm sorry.

11:43:28   11                   MR. PRICE:    I move 790 into evidence.

11:43:33   12                   THE COURT:    Received.

11:43:34   13                   (Exhibit No. 790 received in evidence.)

11:43:35   14                   MR. WOOD:    May I just look at it?

11:43:38   15                   THE COURT:    Yes.

11:43:38   16                   MR. WOOD:    No objection, Your Honor.

11:44:04   17     BY MR. PRICE:

11:44:04   18     Q.        And you forwarded the request to your agent, right?

11:44:07   19     A.        Correct.    I believe the original e-mail communication

11:44:11   20     came via my lawyers back in the UK on the 21st of November,

11:44:19   21     2018.

11:44:20   22     Q.        And in response to your agent's inquiry, Mr. Fearn of

11:44:26   23     the Guardian, said:       "They are going to write a very positive

11:44:29   24     piece."    Correct?

11:44:37   25     A.        Well, the e-mail that says we'd love to do a full



                                       UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 94 of 121 Page ID
                                            #:6073
                                                                                      94


11:44:42    1     interview with you about your experiences in the cave rescue

11:44:45    2     for our end-of-year issue.

11:44:53    3     Q.      And you passed on that, correct?

11:44:55    4     A.      Correct.

11:45:24    5     Q.      Someone else did reach out to you, asking you to

11:45:27    6     participate in a book, was a woman named Christina --

11:45:33    7     A.      Soontornvat.

11:45:34    8     Q.      Thank you.    Soontornvat.

11:45:37    9     A.      Correct.

11:45:37   10     Q.      That was sometime in September, correct?

11:45:40   11     A.      September of last year.

11:45:41   12     Q.      2018?

11:45:42   13     A.      Correct.

11:45:43   14     Q.      And she was a children's book author?

11:45:46   15     A.      Correct.

11:45:47   16     Q.      And she wanted you to help her with a book for kids in

11:45:53   17     the range of 10 to 14 years old, correct?

11:45:56   18     A.      Correct.   She's a book author, and she resides in

11:46:00   19     Austin, Texas.

11:46:02   20     Q.      And you have helped her in writing that book?

11:46:06   21     A.      Yes, it's one of the three books that I was actually

11:46:09   22     asked to participate in.     I first met with Christina on -- in

11:46:17   23     October of 2018 and continued to work with her because I

11:46:25   24     was -- I was happy to do so.

11:46:29   25     Q.      And in your communications with Christina for



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 95 of 121 Page ID
                                            #:6074
                                                                                      95


11:46:35    1     children's book, did -- any discussion about Mr. Musk's

11:46:39    2     tweets?

11:46:39    3     A.        Not that I recall.

11:46:44    4     Q.        In fact, it is true, sir, that no one has ever come to

11:46:50    5     you and said anything to the effect of, you know:          I think

11:46:58    6     you're a pedophile?

11:46:59    7     A.        Not to my face, no.

11:47:01    8     Q.        And that would be the only thing you'd know about,

11:47:04    9     right, to your face?

11:47:06   10     A.        Correct.    I don't know what people are thinking about

11:47:10   11     me as an individual, that I don't know.

11:47:17   12     Q.        Have you seen anything published that says:       You are a

11:47:22   13     pedophile?

11:47:23   14                      MR. WOOD:    Objection, Your Honor.   If he's asking

11:47:25   15     about something other than Mr. Musk.

11:47:27   16                      THE COURT:   Sustained.

11:47:34   17     BY MR. PRICE:

11:47:34   18     Q.        And, I'm sorry, sir, I left Exhibit 792 quickly.

11:47:39   19                           And in the communications with the Guardian

11:47:42   20     and Mr. Robinson, and this is on November 21st at 12:45 --

11:47:52   21     it's like two-thirds of the way down the document.

11:47:55   22     A.        79 --

11:47:56   23     Q.        790.

11:47:57   24     A.        790.    Yes.

11:47:59   25     Q.        If you look at the first page where it says:       "Hi Rob"



                                        UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 96 of 121 Page ID
                                            #:6075
                                                                                      96


11:48:11    1     790-1.   It says:    "Thank you for your interest in Vern.       Vern

11:48:21    2     is not doing" --

11:48:26    3                         "Vern is not doing any interviews at the

11:48:30    4     present.   Please can you be a little more specific?        What

11:48:33    5     questions you wish to ask?      What would the fee be?     And would

11:48:37    6     Vern have editorial proof?"      Do you see that?

11:48:40    7     A.       I do.

11:48:41    8     Q.       And the response from Mr. Fearn is right up above, and

11:48:50    9     it says, if you look in the middle of that paragraph: "We

11:48:55   10     never paid for interviews or offer copy approval, but it

11:49:01   11     would be a very positive piece."      Do you see that?

11:49:05   12     A.       Correct.

11:49:05   13     Q.       Your agent on your behalf passes.

11:49:08   14     A.       Correct.

11:49:09   15     Q.       It was your mindset then that you weren't going to do

11:49:12   16     this sort of publication -- this sort of publicity, for free,

11:49:16   17     correct?

11:49:17   18     A.       Correct.

11:49:25   19     Q.       Now, one of the things you did participate, though,

11:49:29   20     were documentaries about the rescue, correct?

11:49:33   21     A.       Correct.   I've been involved in two documentaries as I

11:49:37   22     mentioned previously, one which was already been released

11:49:40   23     which is a National Geographic documentary called the Drain

11:49:46   24     the Oceans, and it's specifically about Tham Luang cave.           For

11:49:56   25     that I received the sum of £1,400.



                                      UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 97 of 121 Page ID
                                            #:6076
                                                                                      97


11:49:59    1                          And I've been involved in another documentary

11:50:02    2     which has not yet been released, again, National Geographic,

11:50:08    3     in which the main divers also participate, but that's not

11:50:14    4     been released yet, and for that I received the sum of £1,000.

11:50:22    5     So, in total, as I mentioned yesterday, approximately $3,000.

11:50:26    6     Q.        And I think -- I don't know if this came up yesterday.

11:50:31    7     You live in Thailand, and your annual income is about 25,000?

11:50:35    8     A.        I don't live in Thailand all the time, but my business

11:50:38    9     is still conducted back in the UK.       I can work remotely,

11:50:44   10     because of the type of business that I do.        But my income

11:50:50   11     varies.    It depends on the level of business, but certainly

11:50:53   12     around about £25,000 mark.

11:50:56   13     Q.        So, so the amount that you received, actually received

11:51:00   14     so far is over 10 percent of your annual income?

11:51:05   15     A.        Correct.

11:51:05   16     Q.        And a dollar goes a long way in Thailand?

11:51:10   17                   MR. WOOD:    Objection, Your Honor.   Irrelevant.

11:51:12   18                   THE COURT:   Sustained.

11:51:14   19     BY MR. PRICE:

11:51:14   20     Q.        Now, one of the documentaries you participated in was

11:51:18   21     for CNA?    Does that ring a bell?

11:51:23   22     A.        No, that doesn't ring a bell.    I said the two

11:51:31   23     documentaries, the Drain the Oceans documentary was by

11:51:36   24     Mallinson Sadler TV productions, I believe, and the other

11:51:39   25     documentary which has not been released yet is by a company



                                       UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 98 of 121 Page ID
                                            #:6077
                                                                                      98


11:51:43    1     called SAR.

11:51:45    2     Q.        Let me see if I can orient myself.     Is there a

11:51:49    3     documentary that where you do a voiceover of the scene of

11:51:58    4     Mr. Stanton finding the kids?

11:52:03    5     A.        I don't recall that, no.   There may be, but I don't

11:52:12    6     recall.

11:52:12    7                   MR. PRICE:   I'm going to ask, Your Honor, that

11:52:14    8     during the break -- unless we have a stipulation -- that

11:52:18    9     Mr. Unsworth be shown a clip to see if that in fact is a

11:52:21   10     documentary that he did.

11:52:23   11                   THE COURT:   All right, he can be shown the clip

11:52:25   12     and asked about it.

11:52:26   13                   MR. PRICE:   Yes, because don't want to do it in

11:52:28   14     front of the jury, obviously, if he hasn't seen it.

11:52:31   15                        Okay, we'll come back to that.

11:52:36   16     BY MR. PRICE:

11:52:37   17     Q.        Trying to go chronologically.    In October of 2018 you

11:52:41   18     were invited to two events that were honoring you, but you

11:52:46   19     couldn't go to both because they were in the same day, one in

11:52:50   20     Thailand, one in the Palace in the UK; is that right?

11:52:55   21     A.        I don't exactly recall the two events.     I recall

11:53:00   22     possibly that there was maybe one or two in the UK that I

11:53:04   23     couldn't attend.    That was -- the invitation was part -- on

11:53:08   24     behalf of the whole team, from what I can remember, not just

11:53:13   25     specific individuals.



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 99 of 121 Page ID
                                            #:6078
                                                                                      99


11:53:15    1     Q.       At the end of the year, it's true, this is December

11:53:19    2     2018, you were included in a story in GQ, their Men of the

11:53:27    3     Year issue?

11:53:28    4     A.       Correct.   But I'm not aware of anything that actually

11:53:31    5     happened.   I certainly didn't become GQ Man of the Year.

11:53:37    6     Q.       I'm sorry, I didn't hear the answer.

11:53:39    7     A.       I said I certainly didn't become GQ Man of the Year

11:53:44    8     for December 2018.

11:53:45    9     Q.       But you were included in their Men of the Year story,

11:53:51   10     right?

11:53:51   11     A.       I was, yes.

11:53:52   12     Q.       Was it a select group of people that were being

11:53:55   13     considered for Men of the Year?

11:53:56   14     A.       I have no ideas with regards to the process.       It's not

11:53:59   15     something that, you know, I have been actively involved in.

11:54:02   16     And as I say, I don't know the process.

11:54:23   17     Q.       You also created a movie trailer for a movie that was

11:54:30   18     being directed and produced by you, correct?

11:54:34   19     A.       I don't recall -- I don't recall creating a movie

11:54:38   20     trailer at all.

11:54:39   21     Q.       Do you recall a piece of work, we'll say, I won't say

11:54:48   22     "movie trailer," called Return to Nam Som?

11:54:53   23     A.       Yes.   Yeah, this was -- this was done this year.       It

11:55:02   24     was part of a -- at the time -- if I can explain -- the cave,

11:55:13   25     Tham Luang, no one at the time had been back to where the



                                      UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 100 of 121 Page ID
                                             #:6079
                                                                                     100


11:55:17     1    boys had been rescued.

11:55:18     2                        The Navy Seals were in there between the 18th

11:55:22     3    and 20th of March.     They found that approximately 3- -- 3- to

11:55:27     4    400 meters out the whole cave was blocked, and so therefore

11:55:34     5    they couldn't reach the point where the boys were.

11:55:38     6                        I was specifically requested to help forge

11:55:48     7    their way on to -- because the Navy Seals had equipment that

11:55:51     8    they needed to retrieve from an area where the boys were

11:55:55     9    found.

11:55:56    10                        I took a group of experienced guys in with me

11:56:02    11    from Chiang Mai Rock Climbing Club, and I identified what

11:56:10    12    needed to be done to forge our way through to where the

11:56:17    13    chamber 9 was, and we spent over four hours digging our way

11:56:25    14    through.

11:56:26    15                        We eventually managed to find our way through

11:56:32    16    and make our way to where the boys were found, and Josh

11:56:37    17    Morris, some of these guys like Josh and Miko, they were

11:56:42    18    always going with GoPros, and that's where the video was

11:56:45    19    made.    It was a very short video clip demonstrating what we

11:56:49    20    had to do to break through, and then showing the -- the site

11:56:55    21    where the boys were found, and we were actually the first

11:56:58    22    group to reach that section.

11:57:03    23    Q.       Mr. Unsworth, so, there was a video made of this

11:57:06    24    event, correct?

11:57:07    25    A.       Correct.   It was -- it was put together by Josh Morris



                                      UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 101 of 121 Page ID
                                             #:6080
                                                                                     101


11:57:10     1    of Chiang Mai Rock Climbing Club.        But it was a basically

11:57:17     2    just a very small video clip to show what we had to do to

11:57:20     3    break through the silk blockage that existed.

11:57:24     4    Q.        And if you could look at Exhibit 902A.

11:58:01     5                    MR. WOOD:    No objection, Your Honor.

11:58:03     6                    THE COURT:   Received.

11:58:04     7                    (Exhibit No. 902A received in evidence.)

11:58:04     8    BY MR. PRICE:

11:58:06     9    Q.        If we could put 902A out.

11:58:11    10                         This is at the end of the movie that you

11:58:13    11    made --

11:58:14    12    A.        I wouldn't call it a movie.

11:58:14    13    Q.        Okay.

11:58:16    14    A.        It was -- it was a -- probably a clip that lasted, I

11:58:22    15    don't know how long, two or three minutes maybe.         I didn't

11:58:26    16    actually made the film.        Josh put it altogether.   And he put

11:58:30    17    our names down here as a -- as a -- as a reflection for me,

11:58:35    18    as it says there, "a Vern Unsworth Film."

11:58:38    19    Q.        I mean, the idea at the time was that this 2, 3-minute

11:58:43    20    thing was just going to be a trailer that there would be a

11:58:47    21    longer version of?

11:58:48    22    A.        Absolutely not.

11:58:49    23    Q.        Was it called a trailer?

11:58:50    24    A.        No.

11:58:51    25    Q.        At the end, this is presented as a Vern Unsworth Film,



                                       UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 102 of 121 Page ID
                                             #:6081
                                                                                     102


11:58:56     1    correct?

11:58:56     2    A.      I didn't put the film together, Josh did, and he just

11:59:00     3    thought it would be nice to recognize my name, on the basis

11:59:03     4    that it was -- it was me that knew where to -- to commence

11:59:11     5    the -- the digging to break through silk blockage.         So, it

11:59:17     6    was -- it was just a nice touch.

11:59:19     7    Q.      And in this timeframe, around the timeframe of this

11:59:23     8    "nice touch," I believe, or perhaps a few months later you

11:59:27     9    gave a talk to the British Club Bangkok in May 25, 2019,

11:59:34    10    correct?

11:59:34    11    A.      Correct.

11:59:35    12    Q.      And if you look at TX6, was this a presentation you

11:59:41    13    were invited to make?

11:59:44    14                 MR. WOOD:    What is TX6?

11:59:49    15                 MR. PRICE:   I'm sorry, Exhibit 6.

12:00:16    16                 MR. WOOD:    No objection, Your Honor.

12:00:18    17                 THE COURT:   Received.

12:00:19    18                 (Exhibit No. TX6 received in evidence.)

12:00:20    19    BY MR. PRICE:

12:00:20    20    Q.      If we could put up first page of Exhibit TX6.        This is

12:00:22    21    events hosted by the Bangkok Club, right?

12:00:27    22    A.      It's the British Club Bangkok.

12:00:30    23    Q.      British Club Bangkok.     And that's a fairly prestigious

12:00:33    24    club, correct?

12:00:34    25    A.      Correct, yes.



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 103 of 121 Page ID
                                             #:6082
                                                                                     103


12:00:34     1    Q.      And you became a member of that club, correct?

12:00:37     2    A.      I did.

12:00:37     3    Q.      When did you become a member?

12:00:42     4    A.      From -- from recollection, I think it was around about

12:00:48     5    January of this year.

12:00:49     6    Q.      And are there any other prestigious clubs that you've

12:00:52     7    become a member of since Mr. Musk's tweet in July of 2018?

12:01:01     8    A.      I don't recall being a member of any other

12:01:04     9    organizations that I can recall.       As I sit here today, the

12:01:10    10    only one I can think of is the British Club Bangkok.

12:01:15    11    Q.      And British Club Bangkok, do they review their

12:01:19    12    members, review their background before accepting membership?

12:01:22    13    A.      I have no idea.

12:01:26    14                 THE COURT:   I think it's after 12:00, isn't it?

12:01:30    15                 MR. PRICE:   It is 12:00.

12:01:32    16                 THE COURT:   So, let's take the lunch break.       Let's

12:01:35    17    come back at 1:10, is that okay?       1:10.

12:02:11    18                 (Following proceedings held outside the presence

12:02:12    19    of the jury.)

12:02:12    20                 MR. WOOD:    Your Honor, if I might, when the Court

12:02:14    21    is ready, I thought maybe outside the presence of the jury, I

12:02:17    22    would state the stipulation to make sure there is no

12:02:19    23    problems, what we agreed to.

12:02:21    24                 THE COURT:   What is --

12:02:22    25                 MR. WOO:    I think I was allowed to state the



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 104 of 121 Page ID
                                             #:6083
                                                                                     104


12:02:24     1    stipulation --

12:02:27     2                 MR. SPIRO:   Can we --

12:02:28     3                       The witness is actually in the courtroom, so

12:02:30     4    can we just quickly --

12:02:30     5                 MR. WOOD:    The witness is not on the stand.      Did

12:02:33     6    you invoke the rule?

12:02:33     7                 MR. SPIRO:   If we're going to talk about a

12:02:34     8    stipulation --

12:02:34     9                 THE COURT:   What's going on here?     I mean, I'm

12:02:36    10    hearing conversation --

12:02:39    11                 MR. SPIRO:   I would request to approach while the

12:02:42    12    witnesses are present.

12:02:45    13                 THE COURT:   You want Mrs. Stanton removed -- to

12:02:48    14    leave the courtroom?

12:02:48    15                 MR. SPIRO:   If we're going to discuss --

12:02:53    16                 THE COURT:   He can step out.     No problem.

12:02:53    17                 MR. SPIRO:   And I would like the witness to step

12:02:55    18    out too.

12:02:56    19                 THE COURT:   The witness can step out --

12:02:58    20                       Well, wait, he's the party.     He's the -- he's

12:03:00    21    the plaintiff.    So, he can't -- he has a right to be here.

12:03:06    22                 MR. WOOD:    Mr. Stanton has already gone to the

12:03:09    23    airport to return to the UK.

12:03:10    24                 THE COURT:   What is the stipulation?

12:03:11    25                 MR. WOOD:    Your Honor, pursuant to the agreement



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 105 of 121 Page ID
                                             #:6084
                                                                                     105


12:03:14     1    we made at the sidebar, and at the conclusion of the cross, I

12:03:20     2    would simply state, consistent with the stipulation, that

12:03:24     3    Mr. Rick Stanton has also received offers for movies,

12:03:32     4    documentaries, books and from agents.

12:03:38     5                 THE COURT:   Any problem with that?

12:03:38     6                 MR. SPIRO:   Let me just discuss it with the team,

12:03:41     7    and I will get back to you.

12:03:43     8                 THE COURT:   All right.

12:03:44     9                 MR. WOOD:    It is a stipulation we agreed to.

12:03:45    10                 MR. SPIRO:   I didn't agree to any stipulation.

12:03:49    11                 THE COURT:   All right, please.     Please.

12:03:54    12                       All right, what is this exhibit that you were

12:04:04    13    asking Mr. Unsworth to review over the lunch hour?         I mean,

12:04:09    14    can he discuss it with --

12:04:11    15                       He has a right to be here.

12:04:12    16                       So what are you going to ask him to review?

12:04:20    17    I mean just generally.

12:04:21    18                 MR. PRICE:   It's a documentary.     We just want to

12:04:24    19    play a couple minutes of it.      It's where Mr. Unsworth in the

12:04:29    20    documentary is doing a voiceover.       At the moment, the video

12:04:33    21    is showing of Mr. Stanton discovering where the boys were.

12:04:39    22                 MR. WOOD:    I don't know what he's talking about.

12:04:42    23                 MR. PRICE:   It's 920 -- 922.

12:04:45    24                 THE COURT:   Before we get to it, why don't we just

12:04:48    25    take the recess, have Mr. Unsworth and his counsel review it,



                                     UNITED STATES DISTRICT COURT
           Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 106 of 121 Page ID
                                             #:6085
                                                                                     106


12:04:53     1    and then before the jury comes back, I'll get you a response,

12:04:57     2    okay?

12:04:58     3                 MR. WOOD:   Thank you, Your Honor.

12:05:02     4                 (Noon recess taken.)

12:05:10     5                 (Reporters switched).

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            25



                                     UNITED STATES DISTRICT COURT
Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 107 of 121 Page ID
                                  #:6086
                                                                          107


  1                           C E R T I F I C A T E

  2    I hereby certify that the foregoing is a true and correct

  3    transcript of the stenographically recorded proceedings in

  4    the above matter.

  5    Fees charged for this transcript, less any circuit fee

  6    reduction and/or deposit, are in conformance with the

  7    regulations of the judicial conference of the united states.

  8

  9

 10    /S/Anne Kielwasser
                                                  12/5/2019
 11    Anne Kielwasser, CSR, RPR                 Date
       Official Court Reporter
 12

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 25



                          UNITED STATES DISTRICT COURT
Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 108 of 121 Page ID
                                  #:6087
                                                                          1

             $                                          67:23, 68:4                59 [1] - 37:8               85-9 [1] - 81:4
                                       2
                                                       25 [3] - 17:22, 17:25,      5th [2] - 43:22, 43:24      850 [1] - 32:20
                                                        102:9                                                  851 [1] - 32:25
  $3,000 [1] - 97:5         2 [3] - 22:3, 36:2,        25,000 [1] - 97:7                       6               853 [4] - 37:14, 41:15,
                             101:19                    27 [3] - 28:21, 30:19,                                   43:21, 43:22
              /             200 [1] - 2:10              44:2                                                   854 [3] - 37:17, 41:16,
                            201 [1] - 93:2             28 [1] - 28:9               6 [17] - 5:3, 5:4, 11:15,
                                                                                                                43:23
                            2011 [1] - 57:11                                        12:1, 12:7, 13:8,
                                                       2nd [16] - 6:22, 7:21,                                  855 [5] - 37:20, 38:14,
  /S/Anne [1] - 107:10                                                              14:4, 14:9, 14:12,
                            2012 [1] - 57:16            19:15, 22:19, 34:24,                                    41:16, 44:1
                            2018 [52] - 28:9, 28:21,                                15:4, 15:15, 19:12,
                                                        35:5, 35:13, 36:3,                                     857 [3] - 38:21, 41:17,
             1               30:12, 30:19, 32:11,       36:4, 36:20, 43:23,
                                                                                    44:4, 44:7, 85:8,
                                                                                                                44:3
                             32:24, 33:21, 34:1,                                    85:13, 102:15
                                                        61:3, 61:6, 61:8,                                      858 [3] - 39:1, 41:17,
                             34:12, 34:24, 35:5,        73:23, 74:10               60 [4] - 39:8, 39:15,
  1 [1] - 29:22                                                                                                 44:6
                             35:13, 36:2, 36:4,                                     39:19, 43:13
  10 [16] - 5:8, 16:5,                                                                                         858-1 [1] - 39:5
                             36:20, 43:22, 44:4,                                   677 [6] - 5:9, 67:17,
   25:22, 26:14, 42:2,                                             3                67:24, 67:25, 68:10,
                                                                                                               859 [7] - 28:15, 32:22,
   53:4, 53:6, 53:7,         44:7, 51:21, 52:8,                                                                 33:14, 33:16, 41:14,
                             57:25, 58:5, 58:7,                                     68:12
   53:10, 53:11, 53:12,                                                                                         60:16, 71:10
                             61:12, 61:15, 62:21,      3 [7] - 21:18, 21:21,       68 [1] - 5:9
   53:13, 53:18, 94:17,                                                                                        859-41 [1] - 71:11
                             65:18, 66:12, 66:25,       22:1, 22:3, 65:24,         6th [9] - 11:20, 18:25,
   97:14                                                                                                       859-49 [1] - 62:21
                             67:23, 68:4, 70:24,        100:3                       19:1, 19:3, 38:13,
  100 [4] - 41:24, 42:22,                                                                                      859-50 [1] - 30:15
                             71:5, 71:13, 72:3,        3-minute [1] - 101:19        57:25, 58:4, 58:14,
   63:13, 63:14                                                                                                859-51 [6] - 31:24,
                             73:20, 75:19, 78:1,       30 [1] - 67:7                76:21
  10010 [2] - 3:10, 4:5                                                                                         32:14, 32:21, 32:24,
                             80:24, 83:2, 83:25,       30309 [4] - 2:6, 2:14,
  101 [1] - 5:12                                                                                                33:1, 33:18
  102 [1] - 5:13             87:16, 89:25, 90:16,       2:22, 3:5                              7               859-52 [2] - 34:21,
                             92:4, 93:21, 94:12,       31 [5] - 32:11, 32:24,
  105 [2] - 28:24, 31:6                                                                                         36:9
                             94:23, 98:17, 99:2,        33:21, 34:1, 34:12
  10:00 [1] - 42:10                                                                73-1 [1] - 84:23            859-58 [1] - 82:24
                             99:8, 103:7               3109 [1] - 2:18
  10:03 [2] - 31:25, 32:3                                                          75 [3] - 5:11, 91:11,       859/43 [1] - 60:21
                            2019 [15] - 1:18, 6:1,     350 [1] - 1:24
  10th [10] - 3:14, 3:18,                                                           91:15                      859/50 [1] - 28:19
                             30:13, 43:22, 43:23,      3D [1] - 15:17
   3:22, 4:8, 19:19,                                                               75-1 [1] - 91:17            85943 [1] - 60:20
                             43:24, 44:2, 44:4,        3rd [1] - 7:23
   20:7, 20:16, 26:25,                                                             75-2 [2] - 91:2, 91:5       85957 [1] - 81:5
                             44:7, 75:24, 76:5,
   27:20, 78:15                                                                    783 [4] - 5:10, 83:21,      865 [4] - 3:14, 3:18,
  1180 [2] - 2:14, 2:21
                             76:6, 76:21, 102:9                    4                84:2, 84:5                  3:22, 4:8
                            20th [1] - 100:3
  11th [2] - 20:7, 78:15                                                           785 [1] - 90:5              873-2 [1] - 88:19
                            21 [1] - 44:4
  12 [2] - 17:18, 20:1                                 4 [1] - 44:2                78701 [1] - 2:10            894-2969 [1] - 1:25
                            211 [1] - 17:25
  12/5/2019 [1] - 107:10                               4,800 [1] - 39:18           79 [1] - 95:22              8:57 [2] - 28:21, 30:18
                            212 [3] - 2:10, 17:18,
  1201 [1] - 2:6                                       400 [1] - 100:4             790 [6] - 5:11, 92:23,      8th [2] - 64:20, 74:10
                             17:25
  12:00 [2] - 103:14,                                  404-506-9111 [4] - 2:7,      93:11, 93:13, 95:23,
                            212-849-7000 [2] -
   103:15
                             3:11, 4:5                  2:15, 2:23, 3:6             95:24                                 9
  12:45 [1] - 95:20                                    404-891-1402 [4] - 2:7,     790-1 [1] - 96:1
                            212-849-7100 [2] -
  13 [2] - 23:13, 83:1                                  2:15, 2:22, 3:5            790-2 [1] - 93:10
                             3:11, 4:6                                                                         9 [3] - 21:15, 26:14,
  13th [2] - 6:19, 7:24                                43 [1] - 60:18              792 [1] - 95:18
                            213 [1] - 1:25                                                                      100:13
  14 [5] - 8:12, 25:6,                                 4455 [1] - 1:24             7:26 [4] - 32:18, 33:5,
                            213-277-1800 [1] -                                                                 90012 [1] - 1:24
   75:24, 76:5, 94:17                                  4:57 [1] - 83:1              33:22, 33:23
                             2:19                                                                              90017 [2] - 3:14, 3:18
  15 [3] - 25:15, 25:22,                                                           7th [3] - 14:5, 38:12,
                            213-443-3000 [2] -                                                                 90017-2543 [2] - 3:22,
   42:2                                                            5                38:13
                             3:23, 4:9                                                                          4:9
  15th [4] - 47:6, 48:17,
                            213-443-3100 [4] -                                                                 90026 [1] - 2:18
   51:15                                                                                       8
                             3:15, 3:19, 3:23,         5 [4] - 1:18, 6:1, 25:15,                               902A [4] - 5:12, 101:4,
  16 [2] - 43:22, 83:25
                             4:10                       44:7                                                    101:7, 101:9
  17 [3] - 17:18, 17:25,
                            213-443-3675 [2] -         50 [3] - 30:15, 63:13,      8 [6] - 13:8, 14:9,         903 [1] - 47:9
   62:21
                             3:15, 3:19                 63:14                       14:12, 15:4, 15:15,        905 [3] - 51:24, 52:11
  17th [1] - 28:8
                            21:17 [1] - 35:5           51 [3] - 3:10, 4:4,          26:14                      907 [4] - 5:7, 52:15,
  18-8048 [1] - 1:10
                            21:19 [2] - 36:9            32:23                      8-17 [1] - 23:13             76:10, 76:16
  1880 [1] - 3:4
                            21:21 [2] - 35:6, 36:9     512-652-5780 [1] -          80 [4] - 37:9, 39:17,       907-8 [1] - 77:1
  18th [1] - 100:2
                            21st [2] - 93:20, 95:20     2:11                        39:19, 40:21               907-9 [1] - 77:1
  1987 [1] - 7:10
                            22nd [3] - 3:10, 4:4,      512-682-2074 [1] -          817 [1] - 8:18              908 [1] - 51:23
  1:10 [2] - 103:17
                             93:2                       2:11                       818 [1] - 49:10             91 [1] - 5:11
  1st [3] - 19:15, 30:12,
                            23 [1] - 71:13             52 [2] - 5:7, 35:8          84 [1] - 5:10               910 [1] - 53:5
   58:6
                            235 [2] - 25:15, 25:22     53 [1] - 5:8                847 [3] - 59:6, 59:9,       920 [1] - 105:23
  1ST [1] - 1:24
                            24 [4] - 7:14, 48:24,      57 [1] - 81:4                59:17                      922 [1] - 105:23




                                      UNITED STATES DISTRICT COURT
Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 109 of 121 Page ID
                                  #:6088
                                                                          2

  93 [1] - 5:11               42:22, 54:18, 105:10      3:25                      audio [2] - 92:15,          99:7, 103:3, 103:7
  9:00 [1] - 6:1             agreed [4] - 56:14,       APPEARANCES [1] -           92:19                     beef [1] - 77:5
  9:15 [1] - 71:18            56:25, 103:23, 105:9      2:25                      August [14] - 25:5,        beginning [3] - 57:11,
  9:16 [1] - 72:7            agreement [6] - 73:18,    appeared [3] - 22:5,        43:22, 43:24, 44:4,        91:23, 93:8
  9th [4] - 20:8, 20:9,       73:25, 74:13, 74:14,      67:18, 67:22               44:7, 58:7, 66:12,        BEHALF [4] - 2:4, 3:2,
   20:10, 20:16               89:23, 104:25            approach [3] - 25:12,       67:22, 68:4, 75:24,        3:8, 4:2
                             agrees [1] - 32:5          46:15, 104:11              76:5, 76:6, 76:21         behalf [15] - 61:12,
              A              ahead [3] - 8:10, 18:3,   approached [3] -           Austin [2] - 2:10,          61:16, 61:17, 62:3,
                              44:11                     64:14, 64:15, 64:17        94:19                      62:4, 62:7, 63:2,
                             Ahmed [2] - 82:19,        approaches [1] -           Australian [3] - 38:3,      63:22, 76:7, 81:19,
  A.M [1] - 6:1               83:12                     64:14                      81:10, 83:11               90:14, 90:17, 90:20,
  Aaron [1] - 81:13          air [1] - 22:5            approval [2] - 80:15,      authenticated [1] -         96:13, 98:24
  able [5] - 20:13, 20:14,   Air [3] - 19:4, 31:17,     96:10                      30:2                      belabor [1] - 88:16
   23:2, 25:17, 58:8          31:19                    approve [1] - 86:9         author [3] - 38:20,        Belgium [1] - 80:1
  absolutely [4] - 7:20,     airport [1] - 104:23      approximate [2] -           94:14, 94:18              bell [2] - 97:21, 97:22
   23:18, 77:17, 101:22      Alexander [1] - 3:9        39:14, 43:12              authors [2] - 89:11,       bench [1] - 46:16
  accept [2] - 60:23,        alexspiro@                April [2] - 78:25, 82:19    89:12                     best [2] - 45:22, 46:3
   65:21                      quinnemanuel.com         area [10] - 14:17, 15:8,   available [6] - 13:22,     better [2] - 35:7, 92:7
  accepted [2] - 58:21,       [1] - 3:12                17:11, 19:16, 21:3,        13:24, 14:2, 14:3,        between [15] - 7:22,
   62:4                      allow [3] - 32:7, 41:2,    22:6, 22:15, 26:5,         14:7, 25:10                12:19, 13:8, 14:12,
  accepting [1] - 103:12      86:4                      100:8                     Avenue [3] - 2:18,          14:25, 15:4, 15:15,
  access [1] - 86:21         allowed [4] - 26:15,      areas [1] - 15:17           3:10, 4:4                  21:13, 22:2, 22:19,
  account [7] - 66:23,        50:10, 50:13, 103:25     argue [1] - 39:20          award [11] - 60:23,         38:15, 46:3, 83:24,
   67:2, 67:4, 67:10,        altogether [1] - 101:16   argumentative [1] -         60:25, 61:3, 61:12,        92:24, 100:2
   67:13, 67:18, 69:3        amendment [1] -            40:19                      61:16, 62:2, 62:3,        beyond [1] - 45:8
  accuracy [1] - 46:2         77:13                    Army [1] - 31:17            62:7, 62:12, 62:20,       big [3] - 81:1, 88:22,
  accurate [1] - 67:17       amendments [1] -          arranged [2] - 58:11,       63:19                      89:4
  accusation [1] - 66:7       77:12                     63:16                     Award [3] - 61:20,         bigger [1] - 82:9
  acting [2] - 76:7, 91:9    amount [5] - 44:24,       arrangement [3] -           62:24, 90:17              billionaire [2] - 48:9,
  action [2] - 11:16,         91:25, 92:4, 92:8,        73:19, 73:24, 78:12       awarded [1] - 61:19         51:10
   87:11                      97:13                    arrived [4] - 19:1,        awards [1] - 61:10         birth [1] - 56:9
  actively [1] - 99:15       Angeles [7] - 1:17,        20:8, 20:9, 58:16         aware [13] - 15:19,        bit [2] - 48:6, 66:22
  actual [6] - 18:25,         1:24, 2:18, 3:14,        Asia [2] - 77:10, 77:22     16:6, 16:7, 16:14,        Blanton [1] - 12:9
   20:8, 22:2, 22:17,         3:18, 3:22, 4:9          assessing [1] - 41:22       16:21, 17:12, 38:13,      blockage [2] - 101:3,
   78:13, 81:24              Anne [1] - 107:11         assessment [1] -            46:23, 54:11, 54:15,       102:5
  ad [4] - 74:16, 75:13,     ANNE [1] - 1:23            77:13                      67:5, 70:18, 99:4         blocked [1] - 100:4
   78:11, 92:21              anne.kielwasser@          assisted [1] - 69:22       awareness [1] - 16:9       Boars [3] - 86:4, 86:9,
  administered [1] -          gmail.com [1] - 1:25     assisting [1] - 90:3                                   86:19
   38:2                      annual [2] - 97:7,        associated [1] - 54:14                B               book [29] - 38:14,
  administrator [1] -         97:14                    assuming [1] - 85:2                                    65:16, 65:18, 65:22,
   81:11                     answer [9] - 8:13,        assure [1] - 65:6                                      66:2, 66:4, 66:6,
  admitted [6] - 5:7, 5:8,                                                        background [1] -
                              9:22, 24:2, 25:25,       Atlanta [4] - 2:6, 2:14,                               66:13, 69:7, 79:8,
   5:9, 52:15, 53:12,                                                              103:12
                              41:2, 42:13, 42:21,       2:22, 3:5                                             81:12, 81:18, 82:1,
   68:12                                                                          backgrounds [1] -
                              46:4, 99:6               atmosphere [2] - 48:1,                                 85:8, 87:5, 87:12,
  advisor [1] - 7:8                                                                64:13
                             Answer [3] - 18:7,         48:2                                                  87:14, 87:15, 87:18,
  affiliated [1] - 18:4                                                           backing [1] - 22:16
                              18:17, 18:19             attack [1] - 8:9                                       88:2, 88:6, 89:1,
  agent [24] - 70:19,                                                             bad [1] - 40:9
                             answered [1] - 24:10      attacked [1] - 8:7                                     89:11, 94:6, 94:14,
   70:20, 70:21, 73:9,                                                            Bangkok [7] - 59:21,
                             answering [1] - 87:7      attempt [3] - 9:14,                                    94:16, 94:18, 94:20,
   73:12, 73:21, 73:25,                                                            102:9, 102:21,
                             answers [2] - 8:4,         12:15, 13:8                                           95:1
   74:5, 74:19, 75:25,                                                             102:22, 102:23,
                              48:21                    attempted [1] - 13:7                                  books [3] - 89:9,
   76:6, 76:8, 78:5,                                                               103:10, 103:11
                             anytime [1] - 79:6        attend [3] - 58:8,                                     94:21, 105:4
   81:15, 81:22, 84:8,                                                            based [3] - 27:22,
                             anyway [2] - 22:12,        58:19, 98:23                                         bottled [1] - 42:17
   85:4, 87:7, 89:17,                                                              50:21, 77:22
                              22:24                    attended [2] - 47:19,                                 bottom [6] - 68:5,
   90:8, 91:9, 92:24,                                                             basis [7] - 20:6, 24:13,
                             apologies [1] - 86:17      62:11                                                 84:7, 84:21, 84:24,
   93:18, 96:13                                                                    24:22, 25:6, 89:9,
                             apologize [3] - 10:17,    attendees [1] - 60:6                                   91:17, 93:10
  agent's [1] - 93:22                                                              92:21, 102:3
                              10:24, 11:2              attention [3] - 46:20,                                Bowman [7] - 15:21,
  agents [5] - 73:15,                                                             BCCT [1] - 91:23
                             appear [1] - 64:17         60:18, 71:11                                          16:8, 16:10, 16:16,
   77:18, 81:13, 92:10,                                                           became [3] - 46:23,
                             appearance [2] -          attorneys [2] - 48:15,                                 16:21, 16:24, 19:7
   105:4                                                                           71:3, 103:1
                              89:20, 90:13              48:19                                                boy [3] - 19:24, 19:25,
  agree [4] - 10:3,                                                               become [4] - 99:5,
                             Appearances [1] -         attracting [1] - 92:9                                  20:2




                                      UNITED STATES DISTRICT COURT
Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 110 of 121 Page ID
                                  #:6089
                                                                          3

  boys [20] - 15:11,       camera [1] - 8:4            20:4, 87:23                101:1, 102:9,             34:13, 75:19, 78:1,
   19:18, 19:19, 19:21,    candid [1] - 48:21         changed [1] - 78:9          102:21, 102:22,           78:5, 94:25, 95:19
   20:11, 20:12, 20:14,    cannot [5] - 18:10,        changes [2] - 14:13,        102:23, 103:10,          companies [3] - 18:6,
   21:14, 21:21, 69:21,     19:6, 19:7, 25:8,          23:2                       103:11                    71:6, 71:14
   70:7, 86:9, 86:21,       45:24                     charged [1] - 107:5        club [2] - 102:24,        companion [1] - 57:23
   86:24, 100:1, 100:5,    caps [2] - 29:1, 88:22     chat [8] - 29:24, 30:15,    103:1                    company [1] - 97:25
   100:8, 100:16,          Captain [12] - 28:25,       33:9, 37:8, 37:15,        clubs [1] - 103:6         completed [1] - 69:24
   100:21, 105:21           29:3, 31:7, 31:10,         37:20, 61:24, 71:11       CNA [1] - 97:21           complicated [1] -
  break [9] - 40:25,        31:15, 31:16, 32:4,       Chatham [2] - 2:17,        CNN [10] - 6:19, 6:25,     49:17
   41:25, 42:3, 42:6,       34:2, 34:7, 34:14,         2:17                       7:5, 7:13, 7:16, 7:23,   complimentary [1] -
   98:8, 100:20, 101:3,     34:25, 36:21              chats [5] - 30:9, 37:2,     8:1, 8:13, 11:14,         72:25
   102:5, 103:16           carried [1] - 70:10         37:5, 37:11, 37:17         23:13                    concern [7] - 13:2,
  brief [1] - 62:4         case [6] - 20:20,          Chiang [2] - 100:11,       coach [7] - 19:21,         20:18, 20:25, 21:23,
  bring [3] - 28:14,        20:21, 23:1, 43:20,        101:1                      20:1, 20:14, 86:3,        22:11, 82:22
   33:17, 39:21             75:24                     chief [2] - 52:21, 56:24    86:9, 86:21, 86:24       concerned [3] - 13:10,
  British [16] - 19:4,     Cave [2] - 57:10, 79:18    child [7] - 12:19,         Coach [1] - 85:7           78:24, 87:2
   49:2, 53:20, 54:24,     cave [39] - 10:10, 13:4,    12:23, 13:17, 13:22,      coincidence [2] -         concerns [8] - 19:22,
   61:14, 62:9, 62:11,      13:20, 14:18, 15:18,       13:25, 14:8, 23:3          56:5, 58:16               19:25, 20:3, 21:2,
   71:7, 81:9, 90:14,       16:2, 19:20, 21:20,       children [15] - 6:22,      cold [1] - 10:1            21:7, 22:13, 90:12
   91:20, 102:9,            23:23, 25:1, 25:3,         9:7, 9:15, 9:25, 10:5,    cold-hearted [1] -        conclusion [1] - 105:1
   102:22, 102:23,          26:2, 26:11, 26:15,        10:9, 11:17, 12:4,         10:1                     conditions [1] - 69:19
   103:10, 103:11           26:20, 26:23, 27:5,        12:12, 12:18, 12:21,      coldhearted [9] - 9:6,    conduct [1] - 65:6
  broadcasts [2] - 7:13,    27:8, 27:13, 28:4,         13:3, 15:13, 38:8,         9:18, 9:23, 10:3,        conducted [1] - 97:9
   7:14                     29:2, 31:9, 31:20,         83:18                      10:8, 10:11, 10:14,      conference [1] - 107:7
  Brown [1] - 80:4          35:1, 35:15, 36:21,       children's [2] - 94:14,     10:15, 10:22             confirm [3] - 31:19,
  Buffalo [1] - 72:16       36:25, 38:12, 47:4,        95:1                      colleagues [1] - 39:24     40:15, 40:16
  buffalo [3] - 72:17,      57:15, 57:17, 69:19,      Chonticha@                 Collett [4] - 38:22,      conformance [1] -
   72:21, 72:23             69:23, 73:10, 94:1,        BCCThai.com [1] -          41:17, 44:3               107:6
  built [1] - 23:1          96:24, 99:24, 100:4        91:18                     colloquialism [3] -       connect [3] - 84:14,
  business [10] - 74:16,   caver [1] - 38:19          choose [1] - 56:5           23:16, 71:7, 72:15        86:24, 87:9
   75:13, 75:16, 77:10,    Caves [1] - 38:20          Chris [5] - 15:20, 16:7,   comfortable [1] - 38:8    connected [1] - 75:10
   77:21, 78:19, 89:24,    celebrated [1] - 58:1       16:10, 19:7, 80:20        coming [3] - 21:19,       connection [4] - 56:7,
   97:8, 97:10, 97:11      celebration [6] - 47:3,    chris@chathamfirm.          51:18, 63:24              69:7, 80:2, 84:11
  BY [56] - 5:4, 6:13,      47:11, 47:19, 47:22,       com [1] - 2:19            Command [1] - 61:8        consider [2] - 57:22,
   6:17, 8:22, 11:25,       59:2, 59:7                Christina [3] - 94:6,      command [1] - 21:25        90:18
   18:2, 24:20, 25:14,     celebratory [1] - 48:1      94:22, 94:25              commanded [1] - 25:2      considered [4] - 15:6,
   25:24, 28:11, 30:8,     center [2] - 53:24,        Christopher [1] - 2:17     commemorating [1] -        32:8, 92:5, 99:13
   31:5, 32:9, 32:15,       55:2                      chronologically [1] -       60:5                     considering [1] - 13:9
   33:4, 33:25, 34:11,     centered [1] - 79:25        98:17                     commence [1] - 102:4      consistent [1] - 105:2
   34:23, 35:11, 36:1,     CENTRAL [1] - 1:2          circuit [1] - 107:5        comment [11] - 49:22,     consultant [1] - 46:14
   36:19, 39:16, 39:22,    ceremony [3] - 58:4,       claim [2] - 69:9, 69:15     50:2, 50:4, 50:18,       consultation [1] - 9:12
   44:12, 45:13, 46:19,     62:12, 63:12              claims [1] - 69:17          51:1, 51:5, 51:12,       consulted [2] - 48:14,
   47:17, 49:1, 49:20,     certain [2] - 15:6         clarification [1] - 28:7    81:25, 82:17, 82:23,      48:18
   50:16, 52:17, 53:14,    certainly [10] - 8:3,      clarify [1] - 6:21          87:14                    consulting [1] - 89:9
   54:22, 55:23, 56:23,     40:4, 42:15, 51:7,                                   Commerce [4] - 61:14,
                                                      Class [2] - 61:3, 61:6                               consuming [1] - 41:7
   59:16, 65:10, 67:21,     64:8, 66:9, 79:3,                                     62:10, 90:14, 91:21
                                                      clear [3] - 10:24, 15:5,                             contact [3] - 71:15,
   68:13, 71:20, 76:19,     97:11, 99:5, 99:7                                    commission [1] -
                                                       80:23                                                87:3, 91:22
   80:22, 83:4, 84:6,      certificate [1] - 60:4                                 73:16
                                                      clearer [1] - 11:23                                  contain [1] - 43:12
   84:25, 85:12, 85:18,    certify [1] - 107:2                                   committee [3] - 86:4,
                                                      CLERK [2] - 42:10,                                   continue [4] - 20:19,
   85:24, 87:24, 91:16,    chamber [7] - 21:17,                                   86:9, 86:20
                                                       64:22                                                49:7, 87:4, 88:20
   93:17, 95:17, 97:19,     21:18, 22:2, 22:3,                                   communicate [1] -
                                                      Climbing [2] - 100:11,                               continued [4] - 3:25,
   98:16, 101:8, 102:19     22:7, 22:16, 100:13                                   89:18
                                                       101:1                                                15:4, 27:15, 94:23
                           Chamber [7] - 21:18,       clip [8] - 47:16, 48:25,   communicates [1] -        CONTINUED [1] - 2:25
            C               21:21, 21:25, 22:3,        49:8, 98:9, 98:11,         9:1                      continuing [1] - 63:24
                            61:14, 62:10, 91:20        100:19, 101:2,            communicating [2] -       contract [1] - 78:11
  CA [5] - 2:18, 3:14,     Chambers [1] - 90:14        101:14                     51:8, 91:3               contribution [2] -
   3:18, 3:22, 4:9         chambers [1] - 21:24       clips [1] - 47:18          communication [5] -        80:5, 88:7
  CALIFORNIA [1] - 1:2     chance [2] - 13:12,        close [2] - 86:8, 86:19     75:16, 76:20, 78:8,      control [4] - 58:15,
  California [2] - 1:17,    23:18                     closeness [1] - 40:6        78:17, 93:19              58:18, 58:19, 64:12
   1:24                    change [3] - 13:13,        Club [8] - 100:11,         communications [6] -      convened [1] - 11:15




                                     UNITED STATES DISTRICT COURT
Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 111 of 121 Page ID
                                  #:6090
                                                                          4

  conversation [17] -       51:16, 52:6, 52:7,      99:4, 99:18, 100:24,   Court's [1] - 80:15        DEFENDANT [2] - 3:8,
   17:1, 26:5, 26:7,        52:10, 52:19, 52:20,    100:25, 102:1,         courtroom [3] - 10:16,      4:2
   26:24, 27:19, 28:13,     52:23, 53:15, 53:16,    102:10, 102:11,         104:3, 104:14             definition [2] - 69:19,
   28:14, 29:6, 34:7,       53:19, 53:22, 53:23,    102:24, 102:25,        Craig [6] - 81:9, 81:14,    73:4
   34:8, 40:11, 40:14,      53:24, 53:25, 54:3,     103:1, 107:2            81:17, 81:20, 82:19,      deliver [1] - 38:9
   71:1, 71:2, 75:5,        54:25, 55:1, 56:3,     Correct [2] - 27:10,     85:7                      demonstrating [1] -
   81:2, 104:10             56:13, 56:20, 56:25,    30:20                  created [2] - 9:18,         100:19
  conversations [6] -       57:1, 57:2, 57:3,      corrected [1] - 20:24    99:17                     demonstrative [2] -
   24:9, 24:11, 27:2,       57:13, 57:19, 58:1,    counsel [2] - 47:11,    creating [4] - 9:12,        8:17, 49:9
   28:16, 70:22, 71:8       58:2, 58:20, 58:22,     105:25                  10:18, 23:9, 99:19        denies [1] - 33:11
  convey [2] - 50:20,       60:11, 61:4, 62:8,     counsel's [1] - 73:8    CROSS [2] - 5:4, 6:12      deny [1] - 83:13
   51:11                    62:13, 63:5, 63:7,     count [1] - 39:13       cross [5] - 34:9,          deposit [1] - 107:6
  cooperated [1] - 65:22    63:22, 63:23, 64:2,    country [6] - 56:9,      50:11, 55:21, 80:13,      deposition [23] -
  coped [1] - 22:24         64:3, 64:18, 65:17,     56:25, 57:8, 57:22,     105:1                      17:14, 17:24, 25:5,
  copied [2] - 81:24,       65:19, 66:4, 66:7,      60:10, 61:11           CROSS-                      25:8, 25:9, 25:10,
   92:25                    66:8, 66:9, 66:10,     couple [6] - 6:21,       EXAMINATION [2] -          25:13, 25:23, 25:25,
  copy [2] - 59:12, 96:10   66:24, 66:25, 67:1,     6:24, 21:17, 55:24,     5:4, 6:12                  26:10, 26:18, 27:21,
  correct [323] - 6:23,     67:4, 67:16, 68:1,      74:7, 105:19           cross-examination [4]       44:18, 44:21, 44:23,
   6:25, 7:6, 7:12, 7:14,   68:3, 68:4, 68:6,      course [3] - 11:16,      - 34:9, 50:11, 55:21,      45:2, 45:10, 45:12,
   7:25, 8:5, 8:6, 8:24,    68:8, 68:9, 68:15,      14:11, 40:16            80:13                      48:7, 51:8, 75:24,
   8:25, 9:4, 12:7,         68:16, 68:18, 68:19,   COURT [102] - 1:1,      CRR [1] - 1:23              76:4, 76:22
   12:12, 12:16, 12:17,     68:22, 68:23, 68:25,    6:6, 8:14, 8:19,       CSR [2] - 1:23, 107:11     described [1] - 44:24
   12:21, 12:22, 13:5,      69:1, 69:4, 69:5,       11:23, 18:1, 24:18,    CV [1] - 1:10              despite [3] - 87:16,
   13:14, 13:18, 13:21,     69:7, 69:8, 69:13,      25:20, 29:8, 29:10,                                87:25
   14:1, 14:10, 14:15,      69:14, 69:24, 69:25,    29:17, 29:22, 29:25,
                            70:2, 70:8, 70:9,
                                                                                      D               details [1] - 80:9
   14:16, 14:19, 14:20,                             30:4, 30:7, 31:1,                                 determine [1] - 11:16
   15:3, 15:18, 15:21,      70:11, 70:15, 70:16,    31:4, 32:5, 32:12,                                developed [2] - 79:9,
   16:11, 16:20, 17:7,      70:25, 71:13, 71:19,    32:20, 32:22, 32:25,   Dan [12] - 28:25, 29:3,     79:12
   17:8, 19:20, 19:21,      71:23, 72:1, 72:2,      33:2, 33:10, 33:14,     31:7, 31:10, 31:15,       dialogue [1] - 30:10
   19:24, 20:5, 20:15,      72:5, 72:8, 72:14,      33:18, 33:20, 33:23,    31:16, 32:4, 34:2,        dialogues [1] - 28:16
   20:19, 23:19, 23:20,     73:14, 73:18, 74:3,     34:6, 34:22, 35:7,      34:7, 34:14, 34:25,
                                                                                                      diary [2] - 28:24, 31:7
   24:1, 24:5, 24:8,        74:6, 74:20, 74:21,     35:10, 35:19, 35:23,    36:21
                                                                                                      different [4] - 22:23,
   24:19, 25:4, 26:20,      74:23, 75:21, 75:22,    36:13, 36:17, 39:14,   dangerous [1] - 38:4
                                                                                                       33:12, 43:18, 54:17
   26:21, 26:23, 27:14,     76:1, 76:23, 76:24,     39:20, 40:20, 40:23,   Date [1] - 107:11
                                                                                                      differently [1] - 87:22
   27:17, 27:22, 27:23,     76:25, 77:2, 77:3,      41:1, 41:5, 41:7,      date [8] - 28:7, 34:1,
                                                                                                      difficult [2] - 19:6,
   27:25, 28:1, 28:12,      77:5, 77:6, 77:7,       41:10, 41:13, 41:19,    48:3, 65:20, 65:21,
                                                                                                       19:16
   28:18, 29:4, 29:20,      77:8, 78:3, 78:4,       41:22, 42:4, 42:10,     83:1, 87:16
                                                                                                      digging [2] - 100:13,
   30:5, 30:10, 30:13,      78:6, 78:7, 78:9,       42:11, 42:24, 43:6,    dated [1] - 83:25
                                                                                                       102:5
   30:14, 30:16, 30:17,     78:10, 79:10, 79:13,    43:19, 44:9, 45:6,     DAY [2] - 1:16, 6:3
                                                                                                      direct [5] - 24:21,
   30:19, 30:22, 30:23,     81:1, 81:8, 81:18,      46:17, 49:12, 49:15,   days [21] - 7:21,
                                                                                                       44:13, 60:17, 69:21,
   31:20, 31:21, 32:1,      81:23, 82:3, 82:15,     50:10, 52:13, 52:16,    14:25, 15:12, 22:20,
                            82:16, 83:8, 83:18,                                                        73:7
   32:17, 34:6, 34:19,                              53:5, 53:7, 53:10,      22:22, 26:14, 26:16,
                            83:25, 84:1, 84:9,                                                        directed [4] - 16:19,
   37:1, 37:3, 37:9,                                54:21, 55:20, 56:19,    32:11, 32:16, 40:8,
                            84:10, 84:12, 84:16,                                                       28:2, 79:18, 99:18
   37:10, 37:16, 37:18,                             56:22, 59:14, 64:21,    40:9, 45:1, 45:17,
                            84:18, 84:19, 85:3,                                                       direction [1] - 33:12
   37:19, 37:21, 37:22,                             64:22, 65:3, 65:8,      45:22, 45:23, 45:24,
                            85:5, 85:6, 85:9,                                                         directly [2] - 63:2,
   37:24, 37:25, 38:6,                              68:11, 76:14, 76:16,    46:8, 46:10, 46:11,
                            86:6, 86:22, 87:6,                                                         81:14
   38:16, 38:17, 38:22,                             80:16, 82:25, 84:4,     76:21, 91:8
                            87:10, 88:5, 88:10,                                                       director [1] - 80:2
   38:23, 38:24, 38:25,                             84:22, 85:20, 87:22,   deal [1] - 42:18
                            88:24, 89:2, 89:4,                                                        disappeared [1] - 79:1
   39:2, 39:3, 39:8,                                91:13, 93:12, 93:15,   dealing [1] - 89:12
                            89:5, 89:7, 89:16,                                                        discounted [2] - 15:7,
   40:6, 40:7, 40:11,                               95:16, 97:18, 98:11,   deals [3] - 77:8, 77:9,
                            90:4, 90:8, 90:13,                                                         15:9
   40:14, 44:16, 44:18,                             101:6, 102:17,          88:21
                            90:14, 91:3, 91:7,                                                        discovered [1] - 6:22
   44:19, 44:21, 44:22,                             103:14, 103:16,        death [1] - 10:5
                            91:9, 91:10, 92:3,                                                        discovering [1] -
   44:24, 44:25, 45:2,                              103:24, 104:9,         December [4] - 65:18,
                            92:17, 92:19, 92:25,                                                       105:21
   45:3, 46:12, 46:13,                              104:13, 104:16,         78:13, 99:1, 99:8
   46:24, 46:25, 47:1,      93:1, 93:2, 93:3,                                                         discuss [4] - 75:2,
                                                    104:19, 104:24,        DECEMBER [2] - 1:18,
   47:2, 47:5, 47:6,        93:19, 93:24, 94:3,                                                        104:15, 105:6,
                                                    105:5, 105:8,           6:1
   48:4, 48:15, 48:19,      94:4, 94:9, 94:10,                                                         105:14
                                                    105:11, 105:24         decision [2] - 12:11,
   48:20, 48:21, 48:22,     94:13, 94:15, 94:17,                                                      discussed [2] - 72:13,
                                                   Court [5] - 1:23,        12:14
   49:4, 49:5, 49:6,        94:18, 95:10, 96:12,                                                       82:2
                                                    36:15, 65:6, 103:20,   decisions [1] - 86:25
   50:1, 50:25, 51:15,      96:14, 96:17, 96:18,    107:11                                            discussing [1] - 12:3
                                                                           defendant [1] - 1:13
                            96:20, 96:21, 97:15,                                                      discussion [2] - 57:4,




                                    UNITED STATES DISTRICT COURT
Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 112 of 121 Page ID
                                  #:6091
                                                                          5

   95:1                       84:8, 85:7                 44:1, 81:13, 81:19,      evening [4] - 12:8,       Exhibit [48] - 5:7, 5:8,
  discussions [2] -          Drain [2] - 96:23,          81:25, 84:8, 86:3,        20:8, 20:10, 20:15        5:9, 5:10, 5:11, 5:11,
   60:22, 75:1                97:23                      89:3                     event [15] - 58:8,         5:12, 5:13, 8:12,
  dismissive [1] - 49:25     drill [1] - 14:18          Ellis's [1] - 87:7         58:11, 58:12, 58:14,      8:18, 28:15, 37:8,
  distance [1] - 69:23       drilling [7] - 15:8,       Ellyde [1] - 4:3           58:15, 58:18, 58:23,      37:20, 38:14, 41:15,
  distress [2] - 39:25,       15:10, 19:11, 19:13,      ellydethompson@            59:23, 59:25, 60:4,       41:16, 43:22, 43:23,
   40:9                       19:14, 19:17, 19:18        quinnemanuel.com          62:6, 73:23, 90:15,       44:6, 47:9, 51:23,
  DISTRICT [2] - 1:1, 1:2    drugging [1] - 12:20        [1] - 4:6                 92:19, 100:24             52:11, 52:15, 53:4,
  dive [13] - 12:12,         due [2] - 20:6, 57:21      Elon [2] - 8:7, 8:9       events [3] - 98:18,        53:12, 53:13, 59:6,
   13:11, 13:20, 19:3,       Duke [5] - 62:17,          ELON [1] - 1:12            98:21, 102:21             59:17, 60:16, 67:17,
   19:23, 21:12, 21:14,       62:18, 62:25, 63:1,       Emanuel [6] - 3:9,        eventually [1] - 100:15    68:12, 71:10, 76:10,
   21:20, 21:25, 38:4,        63:8                       3:13, 3:17, 3:21, 4:4,   evidence [33] - 5:7,       83:21, 84:2, 84:5,
   69:23, 79:25, 90:17       during [16] - 7:2, 14:9,    4:8                       5:8, 5:9, 5:10, 5:11,     90:5, 91:11, 91:15,
  dive-rescue [1] -           18:6, 19:1, 19:3,         embassy [2] - 19:4         5:11, 5:12, 5:13,         92:23, 93:13, 95:18,
   12:12                      20:20, 20:22, 22:4,       emotional [4] - 39:25,     10:17, 29:7, 29:13,       101:4, 101:7,
  dived [1] - 23:3            26:15, 26:16, 40:25,       40:9, 42:14, 43:7         29:14, 29:18, 30:25,      102:15, 102:18,
  diver [3] - 12:23, 49:2,    41:25, 51:20, 51:21,      end [9] - 13:21, 21:20,    32:3, 32:7, 36:11,        102:20
   49:5                       68:25, 98:8                22:2, 23:21, 80:12,       36:16, 52:12, 52:15,     exhibits [3] - 41:3,
  divers [19] - 12:2,                                    94:2, 99:1, 101:10,       53:12, 68:10, 68:12,      41:14, 76:11
   12:10, 12:18, 12:19,                 E                101:25                    84:3, 84:4, 84:5,        EXHIBITS [1] - 5:6
   12:20, 12:25, 20:13,                                 end-of-year [1] - 94:2     91:12, 91:15, 93:11,     existed [1] - 101:3
   37:23, 37:24, 38:1,                                  ended [3] - 74:16,         93:13, 101:7, 102:18     expand [1] - 17:21
                             e-mail [34] - 2:8, 2:12,                             evolves [1] - 80:3        expect [4] - 40:8,
   38:3, 69:12, 80:3,                                    75:14, 89:25
                              2:16, 2:19, 2:23, 3:6,                              exact [8] - 44:17,         40:10, 79:5
   80:19, 82:2, 82:14,                                  ending [1] - 75:16
                              3:12, 3:16, 3:20,                                    65:20, 66:1, 66:14,      experience [1] - 54:12
   83:6, 83:11, 97:3                                    engineer [6] - 16:10,
                              3:24, 4:6, 77:20,                                    73:11, 81:2, 83:19,      experienced [1] -
  diving [2] - 12:21,                                    17:15, 18:12, 18:15,
                              81:8, 81:12, 81:16,                                  90:22                     100:10
   14:10                                                 18:21, 36:22
                              81:24, 83:16, 83:19,                                exactly [15] - 14:6,      experiences [1] - 94:1
  doctor [1] - 38:1                                     engineers [4] - 15:16,
                              83:22, 83:23, 84:8,                                  16:14, 17:12, 45:19,
  doctors [2] - 81:10,                                   16:4, 16:6, 18:8                                   experiencing [2] -
                              85:23, 85:25, 88:20,                                 48:5, 51:2, 60:6,
   83:17                                                England [10] - 52:5,                                 39:24, 40:9
                              90:8, 90:11, 90:20,                                  60:8, 61:8, 63:14,
  doctors' [1] - 87:8                                    52:19, 52:21, 53:1,                                explain [3] - 24:22,
                              91:18, 92:12, 92:13,                                 67:5, 73:4, 73:13,
  document [2] - 78:18,                                  54:9, 54:18, 54:24,                                 58:2, 99:24
                              92:23, 93:19, 93:25                                  92:20, 98:21
   95:21                                                 56:9, 56:14, 56:24                                 explore [1] - 57:17
                             e-mails [3] - 71:8,                                  exaggerate [1] - 92:10
  documentaries [5] -                                   enormous [1] - 44:24                                expressed [1] - 81:15
                              83:25, 90:24                                        EXAMINATION [2] -
   96:20, 96:21, 97:20,                                 ensure [1] - 92:14                                  extract [1] - 20:14
                             early [8] - 12:6, 15:12,                              5:4, 6:12
   97:23, 105:4                                         entered [5] - 73:19,                                extracted [1] - 20:11
                              18:10, 20:8, 20:9,                                  examination [7] -
  documentary [9] -                                      73:25, 78:11, 80:14,                               extracting [1] - 20:12
                              20:10, 20:13, 65:25                                  24:21, 34:9, 44:13,
   64:18, 96:23, 97:1,                                   89:23                                              extraction [2] - 26:14,
                             editorial [1] - 96:6                                  50:11, 55:21, 73:7,
   97:23, 97:25, 98:3,                                  entirety [1] - 20:22                                 26:16
                             effect [6] - 21:13,                                   80:13
   98:10, 105:18,                                       entrance [6] - 15:7,
                              21:19, 21:21, 22:8,                                 examining [1] - 57:15
   105:20
                              22:14, 95:5
                                                         16:2, 21:17, 21:18,                                           F
  documents [6] -                                        22:15, 22:16             example [2] - 39:5,
                             effectively [3] - 69:20,                              39:17
   77:11, 77:12, 77:14,                                 entrances [1] - 14:18
                              74:16, 78:11                                        except [2] - 44:20,       face [13] - 13:16,
   77:19, 77:23, 77:24                                  entrepreneur [1] -
                             effort [6] - 6:7, 9:12,                               84:2                       13:19, 13:21, 14:14,
  dollar [1] - 97:16                                     48:10
                              11:5, 23:9, 30:4,                                   excerpt [1] - 47:15         17:4, 17:6, 87:12,
  dollars [2] - 85:9,                                   entries [8] - 29:19,
                              30:6                                                                            87:18, 88:3, 95:7,
   85:11                                                 29:21, 32:18, 35:21,     exchange [9] - 38:15,
                             efforts [2] - 15:3,                                   38:21, 39:1, 43:17,        95:9
  done [13] - 12:15,                                     36:2, 36:6, 39:8,
                              73:10                                                83:16, 83:24, 90:20,     face to face [2] - 17:4,
   13:1, 24:11, 41:23,                                   39:9
                             eight [6] - 20:11,                                    92:12, 92:25               17:6
   79:4, 82:4, 82:5,                                    equipment [1] - 100:7
                              20:12, 76:12, 76:21,                                excuse [2] - 29:5, 34:4   fact [20] - 12:22,
   82:11, 83:8, 83:9,                                   equivalent [2] - 52:22,
                              83:22, 84:3                                                                     17:21, 20:8, 22:2,
   99:23, 100:12                                         53:20                    execute [1] - 12:4
                             Ekk [2] - 85:8, 86:3                                                             22:17, 24:8, 24:15,
  down [5] - 68:5, 91:3,                                Eric [1] - 80:4           executives [3] - 52:21,
                             elaborating [1] - 65:4                                52:25, 56:24               26:22, 65:24, 69:6,
   91:5, 95:21, 101:17                                  error [1] - 33:2
                             elected [1] - 54:13                                  exhibit [17] - 29:11,       69:13, 74:4, 76:7,
  Downing [1] - 53:18                                   Escape [2] - 82:20,
                             electrical [1] - 21:4                                 29:12, 29:13, 29:16,       78:13, 82:18, 90:5,
  Dr [19] - 37:12, 37:15,                                83:12
                             Ellis [18] - 17:5, 17:7,                              29:18, 32:6, 33:16,        91:2, 95:4, 98:9
   38:1, 38:11, 41:15,                                  escape [1] - 10:5
                              17:9, 17:12, 18:9,                                   35:8, 36:18, 41:12,      factual [1] - 50:6
   43:21, 43:25, 81:9,                                  estimate [3] - 45:22,
                              19:1, 37:20, 38:16,                                  43:8, 43:12, 43:16,      fail [1] - 21:1
   81:14, 81:16, 81:19,                                  46:1, 46:3
                              38:18, 38:19, 41:17,                                 51:25, 63:17, 105:12     failing [1] - 21:9
   81:20, 82:18, 82:19,                                 Eve [1] - 78:15




                                       UNITED STATES DISTRICT COURT
Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 113 of 121 Page ID
                                  #:6092
                                                                          6

  faint [1] - 68:17            22:3                      2:22, 3:5                hammock [1] - 70:3         25:21, 28:6, 29:5,
  fainthearted [2] -         flooding [1] - 23:1        gap [1] - 7:21            hand [1] - 25:13           29:14, 29:23, 30:24,
    68:19, 68:20             floods [1] - 15:14         gatekeeping [1] -         handled [1] - 74:12        32:2, 32:13, 32:21,
  fair [1] - 64:4            Floor [6] - 3:10, 3:14,     86:20                    hands [1] - 59:9           32:23, 33:7, 33:13,
  fairly [2] - 59:23,          3:18, 3:22, 4:4, 4:8     general [14] - 12:25,     happy [3] - 59:11,         33:16, 34:4, 35:17,
    102:23                   folks [1] - 54:24           24:9, 24:10, 26:2,        90:15, 94:24              36:8, 36:10, 36:16,
  fall [3] - 87:12, 87:18,   follow [1] - 34:5           26:4, 26:5, 26:7,        hard [1] - 35:23           39:12, 40:19, 41:6,
    88:3                     Following [2] - 64:24,      26:13, 26:17, 26:24,     harm [1] - 83:8            41:9, 41:11, 41:21,
  Fanton [3] - 86:7,           103:18                    27:1, 27:19, 51:12,      Harry [13] - 37:12,        41:24, 42:21, 43:3,
    86:12, 86:13             fool [1] - 78:2             71:24                     37:15, 38:1, 38:11,       43:15, 43:24, 45:5,
  far [7] - 16:7, 36:23,     foolish [1] - 70:24        generally [4] - 24:25,     41:16, 43:21, 43:25,      45:9, 46:15, 47:8,
    42:9, 46:5, 78:24,       Force [3] - 19:4,           35:4, 45:7, 105:17        81:9, 81:14, 81:16,       48:23, 49:9, 50:8,
    80:18, 97:14               31:17, 31:19             gentlemen [1] - 6:16       81:19, 82:18, 85:7        52:11, 54:20, 55:18,
  Fax [11] - 2:7, 2:11,      foregoing [1] - 107:2      Geographic [2] -          Harry's [1] - 84:8         56:21, 59:11, 65:1,
    2:15, 2:23, 3:6, 3:11,   forge [2] - 100:6,          96:23, 97:2              Hayes [1] - 2:9            65:9, 67:20, 68:10,
    3:15, 3:19, 3:23, 4:6,     100:12                   given [2] - 42:21,        head [3] - 52:25,          71:18, 76:11, 76:15,
    4:10                     form [5] - 56:17,           61:13                     56:14, 56:18              80:11, 84:2, 84:23,
  fear [1] - 21:8              56:19, 71:9, 87:20,      Global [2] - 82:20,       headlines [1] - 8:8        85:10, 85:21, 91:11,
  Fearn [2] - 93:22, 96:8      87:21                     83:12                    hear [2] - 71:23, 99:6     93:16, 95:14, 97:17,
  Federal [1] - 1:23         formal [3] - 73:19,        Gloucester [3] -                                     98:7, 101:5, 102:16,
                                                                                  heard [2] - 24:25, 72:4
  fee [2] - 96:5, 107:5        73:25, 89:24              62:18, 63:1, 63:9                                   103:20, 104:25,
                                                                                  hearing [1] - 104:10
  feelings [1] - 42:15                                  GoPros [1] - 100:18                                  106:3
                             format [1] - 55:12                                   hearsay [2] - 27:22,
  fees [1] - 107:5                                      government [3] - 12:2,                              HONORABLE [1] - 1:4
                             formed [2] - 19:5,                                    31:3
  felt [2] - 50:2, 51:13                                 59:1, 60:24                                        honored [6] - 51:20,
                               73:24                                              heart [1] - 68:17
                                                        government's [1] -                                   58:19, 58:21, 59:8,
  few [4] - 47:9, 55:22,     fortunately [1] - 14:7                               hearted [1] - 10:1
                                                         19:12                                               60:9, 60:12
    74:11, 102:8             fortune [1] - 89:15                                  heavily [2] - 20:7,
                                                        governments [1] -                                   honoring [3] - 54:24,
  Figueroa [4] - 3:14,       forward [1] - 84:17                                   20:15
                                                         60:11                                               56:15, 98:18
    3:18, 3:22, 4:8          forwarded [2] - 74:13,                               held [3] - 58:4, 64:24,
                                                        GQ [3] - 99:2, 99:5,                                hope [1] - 85:1
  filed [2] - 28:2, 28:8       93:18                                               103:18
                                                         99:7                                               hosted [1] - 102:21
  Film [2] - 101:18,         foundation [1] - 30:7                                help [14] - 8:16, 9:2,
                                                        grief [1] - 43:7                                    hour [7] - 13:23, 14:1,
    101:25                   four [14] - 19:19,                                    9:14, 10:5, 10:9,
                                                        ground [5] - 14:14,                                  14:4, 35:2, 35:15,
  film [8] - 71:6, 71:14,      19:21, 20:14, 22:20,                                17:10, 34:21, 35:22,
                                                         15:17, 16:5, 16:7,                                  36:24, 105:13
    79:8, 79:12, 79:15,        22:22, 29:19, 29:21,                                77:11, 77:21, 83:18,
                                                         16:17                                              hours [10] - 7:14,
    79:17, 101:16, 102:2       32:11, 71:5, 71:14,                                 84:11, 94:16, 100:6
                                                        group [5] - 19:9,                                    45:17, 45:19, 45:25,
  final [1] - 20:17            88:1, 88:11, 100:13                                helped [2] - 89:14,
                                                         53:15, 99:12,                                       46:4, 46:7, 46:9,
  financial [1] - 7:8        frames [1] - 43:18                                    94:20
                                                         100:10, 100:22                                      46:11, 89:10, 100:13
  fine [2] - 25:18, 92:14    free [5] - 70:25, 78:3,                              Henican [3] - 81:19,
                                                        Group [1] - 2:17                                    House [1] - 53:21
  finish [3] - 14:23,          78:23, 89:10, 96:16                                 81:25, 84:8
                                                        Grunberg [1] - 2:20                                 huge [2] - 7:18, 64:6
    77:12, 77:24             friend [6] - 17:7, 28:3,                             hereby [1] - 107:2
                                                        guarantees [1] - 13:5                               hundreds [3] - 47:24,
  first [21] - 13:6, 13:8,     38:19, 62:20, 78:13,                               hero [1] - 92:5
                                                        Guardian [6] - 92:24,                                70:13, 70:14
    20:12, 29:18, 29:20,       84:17                                              hi [1] - 85:1
                                                         93:4, 93:6, 93:9,                                  hurt [3] - 11:4, 11:7,
    30:4, 30:6, 34:22,       friends [10] - 37:3,                                 Hi [1] - 95:25
                                                         93:23, 95:19                                        11:8
    35:4, 37:24, 38:11,        37:7, 39:23, 40:5,                                 Highness [2] - 62:24,
                                                        guess [3] - 22:10,                                  hurts [1] - 23:15
    39:6, 47:9, 61:22,         61:19, 74:18, 75:15,                                63:8
    76:14, 83:22, 91:17,       83:9, 86:8, 86:19         63:14, 88:25             hired [2] - 73:9, 73:13
    94:22, 95:25,            front [7] - 8:4, 28:20,    Gutman [6] - 65:15,       hoc [4] - 74:16, 75:13,               I
    100:21, 102:20             52:1, 53:24, 55:2,        66:11, 69:7, 70:25,       78:12, 92:21
  fit [5] - 13:16, 13:19,      90:6, 98:14               71:1, 89:14              home [6] - 56:25,         idea [4] - 39:4, 41:10,
    13:22, 14:7, 23:3        full [5] - 73:4, 77:13,    guy [11] - 49:23, 50:3,    57:8, 57:9, 57:10,         101:19, 103:13
  five [9] - 15:13, 17:1,      80:9, 93:25               50:5, 50:19, 50:25,       57:22, 60:10             ideas [1] - 99:14
    17:15, 18:19, 18:21,     fully [1] - 17:12           51:1, 51:6, 51:13,       honest [2] - 45:24,       identification [1] -
    19:8, 29:19, 29:21,      function [4] - 60:14,       66:7, 75:4, 86:3          82:5                       38:15
    45:14                      62:9, 86:20, 90:25       guys [2] - 100:10,        honor [9] - 51:18,        identified [2] - 28:16,
  five-minute [1] - 17:1     functioned [1] - 20:22      100:17                    56:7, 57:2, 60:13,         100:11
  fizzled [1] - 78:12        functions [1] - 60:13                                 61:7, 63:25, 64:9,       identify [1] - 27:24
  flat [3] - 87:12, 87:18,                                          H              65:14, 90:18             idiom [1] - 23:17
    88:3                                G                                         Honor [73] - 6:10,        ignoring [1] - 83:22
  flexible [1] - 70:6                                                              8:11, 8:17, 11:22,       Ilford [1] - 56:13
                                                        half [3] - 8:18, 56:11,
  flight [1] - 58:10                                                               17:17, 17:20, 17:21,     immediately [1] -
                             GA [4] - 2:6, 2:14,         57:12
  flooded [2] - 22:1,                                                              25:12, 25:16, 25:18,




                                       UNITED STATES DISTRICT COURT
Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 114 of 121 Page ID
                                  #:6093
                                                                          7

    31:22                      internationally [1] -        - 2:23                  known [1] - 89:18             43:12
  impact [2] - 61:13,            89:19                    jigsaw [1] - 88:22        knows [1] - 89:3            literally [1] - 72:17
    82:10                      interrupt [2] - 14:24,     Jim [2] - 80:1, 80:3      Kwaai [1] - 72:12           live [2] - 97:7, 97:8
  Impact [3] - 61:20,            79:20                    job [2] - 38:4, 38:7                                  lived [2] - 7:11, 57:23
    62:24, 90:17               interview [15] - 6:19,     John [5] - 12:9, 37:18,               L               lives [4] - 69:12,
  impacted [1] - 87:14           7:17, 7:22, 7:23, 8:1,     41:16, 43:23, 80:19                                   69:18, 81:10, 83:18
  impetus [1] - 78:25            8:13, 8:15, 8:18,        Jonathan [1] - 2:20                                   LLP [7] - 2:9, 3:9,
  important [3] - 31:23,         11:15, 23:13, 48:13,                               ladies [1] - 6:16             3:13, 3:17, 3:21, 4:4,
                                                          Josh [5] - 100:16,
    32:4, 88:14                  49:11, 64:19, 93:9,        100:17, 100:25,         landed [1] - 58:13            4:8
  included [3] - 81:25,          94:1                       101:16, 102:2           large [2] - 7:5, 92:4       local [1] - 82:9
    99:2, 99:9                 interviewed [3] - 48:4,    JUDGE [1] - 1:4           last [9] - 13:23, 14:1,     lock [1] - 74:15
  including [7] - 17:5,          48:18, 86:5              judicial [1] - 107:7        14:4, 22:4, 27:1,         London [1] - 56:13
    19:3, 20:1, 21:25,         interviewer [1] - 23:22                                47:12, 64:20, 78:14,
                                                          July [37] - 6:19, 6:22,                               look [37] - 28:15,
    65:16, 70:14, 80:21        interviewing [1] - 7:2                                 94:11
                                                            7:23, 11:15, 11:20,                                   28:19, 28:21, 31:24,
  income [3] - 97:7,           interviews [3] - 6:24,       12:1, 12:7, 13:8,       lasted [5] - 74:7,            32:10, 35:8, 35:19,
    97:10, 97:14                 96:3, 96:10                14:4, 14:9, 14:12,        75:12, 78:10, 89:22,        36:2, 36:6, 37:14,
  incorporated [1] -           introduced [1] - 18:8        14:22, 15:4, 15:15,       101:14                      37:17, 38:21, 39:5,
    44:9                       investigating [1] -          16:5, 18:25, 19:1,      late [1] - 74:23              39:10, 51:23, 53:3,
  INDEX [1] - 5:1                14:15                      19:3, 19:12, 19:16,     launched [1] - 79:17          53:4, 55:21, 59:6,
  individual [1] - 95:11       investigation [1] -          19:19, 22:19, 23:13,    Lavaca [1] - 2:10             60:16, 62:20, 71:10,
  individuals [2] -              27:15                      30:12, 30:13, 38:13,    Law [1] - 2:17                72:7, 77:11, 77:23,
    15:20, 98:25               invitation [4] - 58:21,      43:22, 47:7, 51:15,     lawsuit [3] - 28:2,           78:18, 81:4, 82:24,
  informal [1] - 89:24           58:25, 60:14, 98:23        51:21, 52:8, 103:7        28:7, 48:6                  83:21, 90:5, 91:2,
  information [6] -            invited [4] - 58:20,       jump [1] - 8:10           lawyer [1] - 74:14            92:23, 93:14, 95:25,
    27:16, 27:19, 28:3,          60:12, 98:18, 102:13     jurors [1] - 50:12        lawyers [4] - 45:4,           96:9, 101:4, 102:12
    31:23, 32:3, 92:14         invoke [1] - 104:6         JURY [2] - 1:16, 6:3        45:11, 46:12, 93:20       looked [2] - 40:17,
  informed [1] - 34:25         involve [1] - 15:19        jury [11] - 6:6, 39:4,    lay [2] - 30:7, 59:9          67:17
  initial [3] - 38:7, 46:21,   involved [19] - 10:22,       41:5, 46:14, 64:25,     lead [1] - 6:18             looking [1] - 77:24
    47:19                        12:5, 12:18, 19:2,         70:5, 93:4, 98:14,      least [6] - 15:13, 35:2,    loop [2] - 82:15, 83:7
  injured [1] - 13:3             19:14, 45:12, 54:24,       103:19, 103:21,           36:24, 46:10, 67:22,      Los [7] - 1:17, 1:24,
  injuries [2] - 68:21,          70:12, 72:4, 79:2,         106:1                     91:8                        2:18, 3:14, 3:18,
    69:9                         80:4, 80:19, 81:18,      jury's [1] - 50:9         leave [11] - 15:13,           3:22, 4:9
  injury [1] - 68:24             90:23, 90:25, 96:21,                                 24:2, 24:6, 24:15,        lost [1] - 69:13
                                                                                      25:7, 26:2, 26:11,
  inquiries [2] - 74:11,         97:1, 99:15                         K                                          love [1] - 93:25
    75:12                      involvement [1] -                                      26:20, 26:23, 27:5,       low [1] - 87:1
                                 10:23                                                104:14                    Luang [3] - 57:10,
  inquiry [2] - 80:12,
                                                          K-W-A-A-I [1] - 72:12     leaving [2] - 82:14,
    93:22                      involving [2] - 69:19,                                                             96:24, 99:25
                                 72:10                    keep [1] - 42:11            83:6
  inside [4] - 13:4, 35:1,                                                                                      luckily [1] - 13:25
                               Irish [2] - 80:1, 80:2     Ketamine [2] - 12:20,     left [2] - 52:18, 95:18
    35:15, 36:21                                                                                                lucky [2] - 22:17,
                                                           38:2                     less [7] - 17:15, 18:19,
  Insignia [3] - 61:3,         Irish-Belgium [1] -                                                                22:21
                                 80:1                     KEY [1] - 88:22             18:21, 19:8, 65:7,
    61:6, 61:8                                                                                                  lunch [2] - 103:16,
                               irrelevant [2] - 24:17,    Khun [2] - 91:25,           75:2, 107:5                 105:13
  insist [1] - 78:23
                                 97:17                     92:15                    level [5] - 22:8, 22:9,
  insisted [3] - 35:1,                                                                                          lwood@linwoodlaw.
                               isolate [1] - 36:10        kid [1] - 13:20             22:17, 61:9, 97:11
    35:14, 36:21                                                                                                  com [1] - 2:8
                               isolated [1] - 36:11       kids [9] - 9:2, 9:20,     levels [2] - 21:13,
  Instagram [2] - 66:22,
                                                           11:7, 38:2, 38:5,          21:19
    67:3                       issue [2] - 94:2, 99:3
                                                           38:10, 81:11, 94:16,     life [5] - 44:14, 69:13,
                                                                                                                           M
  instructed [2] - 33:8,
                                                           98:4                       69:15, 69:20, 70:19
    90:2                                  J               Kielwasser [2] -          Lifrak [1] - 3:13           Madison [2] - 3:10,
  insult [2] - 9:7, 9:8
                                                           107:10, 107:11           limit [1] - 16:9             4:4
  insulting [1] - 9:5
                               January [1] - 103:5        KIELWASSER [1] -          limited [2] - 16:23,        Magazine [1] - 48:4
  integral [1] - 87:4
                               Jason [1] - 80:20           1:23                       65:7                      Mai [2] - 100:11, 101:1
  intent [2] - 11:6, 80:24
                               Jeanine [1] - 4:7          kind [2] - 53:20, 60:3    Lin [5] - 2:5, 2:5, 2:13,   mail [34] - 2:8, 2:12,
  intention [2] - 10:4,
                               jeaninezalduendo@          King [5] - 58:22,           2:21, 3:4                  2:16, 2:19, 2:23, 3:6,
    10:9
                                 quinnemanuel.com          58:25, 59:1, 59:3,       line [10] - 17:25,           3:12, 3:16, 3:20,
  interact [1] - 15:23
                                 [1] - 4:10                59:4                       25:22, 35:3, 36:9,         3:24, 4:6, 77:20,
  interacting [1] - 88:12
                               Jennings [1] - 3:3         Kingdom [2] - 60:10,        63:24, 71:17, 72:7,        81:8, 81:12, 81:16,
  interest [4] - 91:25,
                               Jewell [1] - 80:20          60:25                      81:7, 91:4, 91:17          81:24, 83:16, 83:19,
    92:5, 92:8, 96:1
                               jgrunberg@                 knowing [1] - 23:7        lines [5] - 17:18,           83:22, 83:23, 84:8,
  international [4] - 7:5,
                                 linwoodlaw.com [1]       knowledge [1] - 63:20       25:15, 39:13, 39:18,       85:23, 85:25, 88:20,
    91:25, 92:4, 92:8




                                         UNITED STATES DISTRICT COURT
Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 115 of 121 Page ID
                                  #:6094
                                                                          8

   90:8, 90:11, 90:20,        103:3, 103:7, 103:8       monetary [2] - 77:19,      42:21, 43:3, 43:15,      64:1, 71:22, 74:23,
   91:18, 92:12, 92:13,      members [2] - 6:6,          78:20                     43:20, 44:12, 45:5,      87:25, 95:1, 103:7
   92:23, 93:19, 93:25        103:12                    money [4] - 77:16,         45:9, 45:13, 46:15,     mwood@wshllp.
  mails [3] - 71:8, 83:25,   membership [1] -            81:1, 89:7, 89:8          46:18, 46:19, 47:8,      com [1] - 2:12
   90:24                      103:12                    monsoon [1] - 15:14        47:13, 47:14, 47:17,
  main [1] - 97:3            memory [6] - 15:10,        month [5] - 46:3, 46:6,    50:8, 50:16, 52:11,                N
  Mallinson [2] - 80:20,      17:4, 35:5, 46:5,          57:21, 68:7, 69:2         52:14, 52:17, 53:6,
   97:24                      47:6, 83:20               months [7] - 15:13,        53:8, 53:9, 53:13,
  man [1] - 15:20            Men [3] - 99:2, 99:9,                                 53:14, 54:20, 54:22,    Nam [1] - 99:22
                                                         56:12, 88:1, 88:11,
  Man [2] - 99:5, 99:7        99:13                      102:8                     55:18, 55:23, 56:17,    name [6] - 18:12,
                             mention [6] - 26:2,                                   56:21, 56:23, 59:11,     18:15, 59:3, 80:12,
  managed [1] - 100:15                                  MORNING [2] - 1:17,
                              26:11, 26:18, 66:6,                                  59:13, 59:16, 65:1,      81:13, 102:3
  maps [1] - 17:10                                       6:4
                              66:9, 77:19                                          65:4, 65:9, 65:10,      named [2] - 15:20,
  March [4] - 43:23,                                    morning [9] - 6:6,
                             mentioned [6] - 26:13,                                67:19, 67:21, 68:10,     94:6
   44:2, 100:3                                           6:14, 6:15, 6:16,
                              65:15, 65:24, 66:4,        20:16, 42:5, 64:21,       68:13, 71:18, 71:20,    names [2] - 43:10,
  mark [1] - 97:12
                              96:22, 97:5                65:11, 65:12              76:11, 76:15, 76:18,     101:17
  Martin [9] - 17:5, 18:9,
                             mess [1] - 62:17           Morris [2] - 100:17,       76:19, 80:11, 80:17,    national [1] - 93:6
   18:25, 37:20, 38:15,
                             message [5] - 30:21,        100:25                    80:22, 83:1, 83:4,      National [2] - 96:23,
   38:19, 40:2, 41:17,
                              34:15, 40:1, 42:17,       mother [2] - 22:18,        84:2, 84:6, 84:23,       97:2
   44:1
                              42:19                      22:21                     84:25, 85:10, 85:12,    nationality [1] - 80:1
  mask [5] - 13:16,
   13:19, 13:21, 14:6,       messages [4] - 39:5,       mountain [1] - 15:8        85:17, 85:18, 85:21,    nature [4] - 22:18,
   23:2                       39:18, 42:14, 42:16       move [10] - 29:13,         85:24, 87:20, 87:23,     22:22, 69:18, 75:5
  masks [1] - 14:14          met [8] - 15:20, 15:23,     29:14, 30:24, 32:2,       87:24, 91:11, 91:14,    Navy [4] - 72:5, 72:22,
                              18:21, 73:23, 74:9,        52:11, 53:3, 68:10,       91:16, 93:11, 93:14,     100:2, 100:7
  materials [1] - 17:10
                              78:14, 91:21, 94:22        84:2, 91:11, 93:11        93:16, 93:17, 95:14,    near [1] - 25:11
  math [2] - 39:21,
                             meters [1] - 100:4         moved [3] - 30:3,          95:17, 97:17, 97:19,    necessarily [4] -
   43:14
                             Michael [1] - 3:13          32:6, 57:11               98:7, 98:13, 98:16,      40:12, 40:13, 42:18,
  Matt [2] - 2:9, 65:15
                             michaellifrak@             movie [13] - 72:4,         101:5, 101:8,            63:2
  matter [1] - 107:4
                                                         72:9, 79:24, 80:5,        102:14, 102:15,         necessary [1] - 39:12
  matters [1] - 42:7          quinnemanuel.com
                                                         80:8, 80:10, 88:25,       102:16, 102:19,         necessitate [1] - 22:9
  maximum [2] - 74:9,         [1] - 3:16
                                                         99:17, 99:19, 99:22,      103:15, 103:20,         need [13] - 11:2,
   75:22                     middle [1] - 96:9
                                                         101:10, 101:12            103:25, 104:2,           22:11, 29:3, 31:10,
  mean [19] - 9:10,          might [10] - 13:3, 22:1,
                                                                                   104:5, 104:7,            32:6, 42:6, 42:7,
   14:24, 27:12, 29:10,       23:1, 34:8, 34:21,        movies [1] - 105:3
                                                                                   104:11, 104:15,          42:18, 43:1, 43:15,
   39:8, 40:5, 40:20,         60:24, 75:21, 80:11,      MR [185] - 5:4, 6:10,
                                                                                   104:17, 104:22,          82:1, 89:3
   41:19, 49:15, 51:11,       92:10, 103:20              6:13, 6:16, 6:17,
                                                                                   104:25, 105:6,          needed [5] - 23:1,
   53:5, 57:6, 76:14,        Miko [2] - 80:4, 100:17     8:11, 8:16, 8:21,
                                                                                   105:9, 105:10,           80:25, 81:21, 100:8,
   79:20, 82:4, 101:19,      million [2] - 85:8,         8:22, 11:22, 11:24,
                                                                                   105:18, 105:22,          100:12
   104:9, 105:13,             85:13                      11:25, 17:17, 17:20,
                                                                                   105:23, 106:3           never [13] - 10:11,
   105:17                    mind [2] - 50:12,           17:21, 17:23, 17:25,
                                                                                  multitude [1] - 21:4      10:15, 10:21, 12:15,
  meaning [1] - 73:2          88:11                      18:2, 24:17, 24:20,
                                                                                  music [1] - 75:9          44:20, 66:18, 73:19,
  means [3] - 51:1, 51:2,    mindset [3] - 78:21,        25:10, 25:14, 25:16,
                                                         25:18, 25:21, 25:24,     Musk [42] - 8:7, 8:9,     77:7, 77:14, 77:24,
   61:8                       96:15
                                                         28:6, 28:9, 28:10,        9:1, 9:8, 9:17, 9:23,    78:20, 89:14, 96:10
  meant [6] - 50:20,         mine [1] - 38:19
                                                         28:11, 29:5, 29:9,        10:11, 10:18, 10:21,    New [3] - 3:10, 4:5,
   50:24, 51:3, 58:7,        minister [1] - 52:5
                                                         29:14, 29:20, 29:23,      10:25, 15:16, 16:19,     78:14
   72:17, 72:18              Minister [15] - 52:18,
                                                         30:1, 30:6, 30:8,         18:5, 25:7, 26:1,       news [3] - 7:5, 7:14,
  medal [2] - 60:23,          52:24, 53:1, 53:21,
                                                         30:24, 31:2, 31:5,        26:11, 26:20, 26:22,     8:15
   60:24                      54:1, 54:9, 54:18,
                                                         32:2, 32:9, 32:13,        27:4, 27:8, 27:12,      newspaper [1] - 93:6
  media [4] - 48:5,           54:23, 55:4, 55:11,
                                                         32:15, 32:21, 32:23,      28:4, 29:2, 31:7,       NEXT [1] - 2:25
   91:25, 92:4, 93:6          55:16, 56:2, 56:14,
                                                         33:1, 33:4, 33:7,         31:8, 31:10, 31:19,     next [10] - 3:25, 31:24,
  medical [1] - 81:10         56:25
                                                         33:13, 33:16, 33:19,      32:4, 35:1, 35:13,       54:8, 55:4, 55:10,
  medication [1] - 81:11     minute [2] - 17:1,
                                                         33:21, 33:25, 34:4,       35:14, 36:21, 36:22,     55:16, 56:1, 84:21,
  medicine [1] - 38:10        18:18
                                                         34:11, 34:23, 35:9,       36:23, 39:21, 48:8,      88:16, 88:18
  meet [1] - 87:8            minutes [7] - 17:15,
                                                         35:11, 35:17, 35:21,      49:25, 64:9, 75:3,      NFTFH [1] - 68:15
  meeting [9] - 11:15,        18:19, 18:22, 19:9,
                                                         35:25, 36:1, 36:8,        87:17, 95:15            nice [6] - 48:2, 50:3,
   12:1, 12:7, 12:11,         42:2, 101:15, 105:19
                                                         36:10, 36:15, 36:19,     MUSK [2] - 1:12, 29:1     59:23, 102:3, 102:6,
   18:14, 18:23, 19:5,       misunderstood [1] -
                                                         39:12, 39:16, 39:22,     Musk's [16] - 28:25,      102:8
   28:25, 31:7                33:23
                                                         40:19, 40:22, 40:24,      39:25, 46:21, 47:19,    Nicole [1] - 3:3
  meetings [2] - 12:6,       moment [4] - 59:9,
                                                         41:4, 41:6, 41:9,         50:22, 51:17, 52:8,     night [1] - 47:12
   19:2                       65:1, 92:1, 105:20
                                                         41:11, 41:14, 41:24,      56:15, 57:25, 60:9,     nine [2] - 38:24, 44:4
  member [4] - 103:1,        momento [1] - 60:7




                                       UNITED STATES DISTRICT COURT
Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 116 of 121 Page ID
                                  #:6095
                                                                          9

  none [2] - 12:9, 80:20      62:21, 90:16, 94:23,      organizations [2] -         104:20                    phrase [3] - 44:14,
  Noon [1] - 106:4            98:17                      51:18, 103:9              passed [1] - 94:3           44:17, 88:5
  nothing [5] - 64:8,        OF [5] - 1:2, 2:4, 3:2,    organized [1] - 62:9       passes [1] - 96:13         phrased [1] - 61:18
   74:17, 75:14, 82:17,       3:8, 4:2                  orient [1] - 98:2          Passy [1] - 80:4           physically [4] - 17:3,
   89:23                     offer [2] - 89:4, 96:10    original [2] - 90:24,      pay [4] - 71:16, 74:2,      66:18, 66:20, 69:17
  notice [1] - 16:22         offers [2] - 64:13,         93:19                      75:21, 89:19              picture [18] - 52:3,
  notification [1] - 58:12    105:3                     originally [1] - 58:6      PBS [2] - 64:18, 64:19      52:5, 53:3, 53:15,
  November [24] -            officer [2] - 52:25,       outside [4] - 36:22,       PC [4] - 2:5, 2:13,         53:24, 54:5, 55:18,
   34:24, 35:5, 35:13,        56:24                      41:5, 103:18, 103:21       2:21, 3:4                  56:15, 56:25, 59:6,
   36:2, 36:3, 36:4,         official [7] - 34:25,      overruled [3] - 24:18,     Peachtree [4] - 2:6,        59:18, 62:6, 68:14,
   36:20, 44:4, 73:20,        35:14, 35:16, 36:7,        31:4, 50:11                2:14, 2:21, 3:4            68:24, 69:2, 69:3,
   74:11, 75:19, 78:1,        36:21, 36:24, 107:11      own [8] - 50:12, 77:9,     pedo [4] - 51:1, 66:7,      69:6
   78:15, 78:22, 80:24,      Official [1] - 1:23         77:21, 78:19, 82:4,        75:4                      pictures [1] - 68:21
   83:1, 83:25, 87:16,       officials [3] - 12:2,       82:11, 83:10, 87:14       pedophile [11] - 50:7,     piece [4] - 88:22,
   88:11, 89:25, 92:3,        19:4, 54:13                                           50:21, 51:2, 54:14,        93:24, 96:11, 99:21
   93:2, 93:20, 95:20        often [1] - 67:6                      P                54:19, 57:4, 60:1,        piss [2] - 71:7, 71:15
  number [5] - 37:3,         old [1] - 94:17                                        64:5, 66:9, 95:6,         pitch [2] - 77:2, 77:15
   43:11, 53:17, 63:14,      ON [5] - 2:4, 2:25, 3:2,                               95:13                     place [8] - 47:4, 48:13,
   67:19                      3:8, 4:2                  page [35] - 3:25, 8:18,    people [43] - 14:14,        55:13, 55:15, 55:17,
  numbers [2] - 41:12,                                   8:21, 17:18, 25:15,        16:19, 17:4, 19:2,         59:23, 89:23
                             once [4] - 6:7, 19:17,
   43:8                                                  28:24, 29:21, 29:22,       22:11, 25:2, 26:15,       placed [1] - 29:6
                              32:5, 36:17
  NW [1] - 2:6                                           31:6, 31:24, 32:10,        40:5, 41:20, 47:22,
                             One [2] - 58:4, 59:19                                                            PLAINTIFF [3] - 2:4,
  nwade@linwoodlaw.                                      32:12, 32:13, 32:23,       47:24, 48:7, 49:22,
                             one [44] - 12:5, 12:22,                                                           3:2, 6:11
                                                         33:17, 35:8, 35:9,         50:5, 50:18, 50:25,
   com [1] - 3:6              14:17, 15:5, 15:20,                                                             Plaintiff [1] - 5:3
                                                         35:20, 39:6, 39:8,         51:6, 51:18, 56:7,
  NY [2] - 3:10, 4:5          18:5, 18:8, 20:3,                                                               plaintiff [1] - 104:21
                                                         39:9, 43:13, 44:1,         57:6, 62:2, 63:12,
                              20:21, 20:23, 21:3,                                                             plaintiffs [1] - 1:10
                                                         60:18, 65:24, 66:1,        63:13, 63:15, 63:18,
             O                21:5, 25:11, 36:24,
                                                         76:14, 82:25, 84:7,
                                                                                                              plan [5] - 12:3, 13:2,
                              37:23, 38:1, 38:3,                                    63:24, 64:1, 64:6,         13:11, 19:12, 29:15
                                                         84:21, 84:22, 84:24,       65:13, 70:12, 70:14,
                              40:15, 42:25, 50:6,                                                             plans [2] - 15:1, 15:6
  oath [1] - 26:10                                       88:16, 95:25, 102:20       75:20, 82:6, 86:8,
                              50:21, 53:8, 55:10,                                                             platform [2] - 7:18,
  object [3] - 36:11,                                   PAGE [2] - 2:25, 5:2        86:19, 87:2, 88:12,
                              55:13, 65:1, 66:25,                                                              67:5
   55:19, 87:21                                         pages [14] - 30:15,         88:15, 89:18, 89:19,
                              67:22, 69:6, 69:13,                                                             play [6] - 8:11, 25:17,
  objection [34] - 11:22,                                37:9, 38:24, 39:17,        90:2, 95:10, 99:12
                              78:14, 78:15, 79:25,                                                             47:9, 47:14, 48:23,
   17:19, 17:20, 17:24,                                  40:17, 40:21, 41:25,      per [2] - 12:23, 39:8
                              86:3, 91:21, 94:21,                                                              105:19
   24:17, 25:19, 28:6,                                   42:23, 43:2, 43:11,       percent [1] - 97:14
                              95:4, 96:19, 96:22,                                                             played [1] - 21:11
   29:5, 31:3, 34:6,                                     43:24, 43:25, 44:5,
                              97:20, 98:19, 98:20,                                 percentage [1] - 74:2      Plaza [1] - 59:21
   40:19, 45:5, 46:15,                                   44:7
                              98:22, 99:25, 103:10                                 perfect [1] - 31:2         pod [1] - 22:25
   46:17, 47:12, 47:13,                                 paid [5] - 73:16, 78:23,
                             onerous [1] - 74:14                                   perhaps [1] - 102:8        point [8] - 21:12,
   50:8, 52:14, 53:9,                                    81:1, 90:3, 96:10
                             ONLY [1] - 6:4                                        period [5] - 37:6,          21:14, 21:20, 29:17,
   54:20, 56:17, 56:19,                                 Palace [1] - 98:20
                             open [2] - 55:17, 56:2                                 43:17, 51:20, 67:7,        43:13, 80:11, 80:24,
   59:13, 59:14, 59:17,                                 panic [2] - 12:20, 38:5
                             operation [10] - 15:1,                                 74:15                      100:5
   85:10, 85:17, 87:20,                                 paragraph [1] - 96:9
                              19:23, 20:20, 20:22,                                 periods [1] - 43:11        portion [1] - 36:12
   91:14, 93:16, 95:14,                                 parole [1] - 44:14
                              21:25, 22:4, 26:16,                                  permission [2] - 65:6,     position [5] - 55:3,
   97:17, 101:5, 102:16                                 part [16] - 15:8, 16:12,
                              54:25, 64:6, 70:12                                    65:8                       56:1, 56:2, 56:4,
  obviate [1] - 43:1                                     16:17, 16:19, 19:11,
                             operations [1] - 18:6                                 permitted [1] - 54:8        56:6
  obviously [5] - 10:22,                                 21:11, 29:13, 29:17,
                             opinion [9] - 9:21,                                   person [2] - 27:24,        positive [2] - 93:23,
   46:12, 49:3, 90:25,                                   31:16, 64:6, 80:21,
                              10:20, 11:3, 16:12,                                   74:19                      96:11
   98:14                                                 82:1, 89:1, 91:20,
                              23:9, 23:19, 24:7,                                   personally [4] - 9:9,      possible [1] - 90:12
  occasion [2] - 54:23,                                  98:23, 99:24
                              82:5                                                  17:6, 82:18, 83:11        possibly [16] - 15:12,
   91:22                                                participate [4] - 94:6,
                             opportunity [3] - 20:6,                               persons [1] - 43:10         18:8, 37:13, 40:18,
  occasions [2] - 78:14,                                 94:22, 96:19, 97:3
                              77:5, 80:14                                          Peter [2] - 82:19,          45:15, 45:24, 46:11,
   91:22                                                participated [1] -
                             option [3] - 13:10,                                    83:11                      67:6, 70:13, 75:11,
  occurred [2] - 20:10,                                  97:20
                              15:12, 19:13                                         Phil [3] - 38:22, 41:17,    75:12, 87:13, 88:5,
   74:11                                                participation [2] -
                             options [4] - 13:9,                                    44:3                       92:7, 92:11, 98:22
  Oceans [2] - 96:24,                                    87:19, 88:4
                              14:15, 14:17, 34:10                                  Philippines [1] - 77:23    posted [2] - 68:15,
   97:23                                                particular [3] - 13:22,
                             order [11] - 25:2, 26:3,                              photo [3] - 28:24,          69:2
  October [14] - 28:9,                                   22:7, 56:6
                              26:4, 26:8, 26:12,                                    31:7, 92:19               posts [1] - 67:7
   28:20, 30:18, 32:11,       26:13, 26:14, 26:17,      partners [1] - 65:5
                                                                                   photograph [1] -           potential [1] - 14:12
   32:24, 33:21, 34:1,        31:2, 55:5, 55:6          parts [1] - 15:6
                                                                                    18:11                     power [1] - 88:13
   34:12, 61:12, 61:14,                                 party [2] - 59:19,
                             organization [1] - 7:6                                photos [1] - 92:15         powerful [1] - 74:24




                                       UNITED STATES DISTRICT COURT
Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 117 of 121 Page ID
                                  #:6096
                                                                         10

  PR [21] - 8:24, 9:6,       41:4, 41:6, 41:9,       profiting [1] - 92:18       74:24, 82:10              Recess [1] - 64:23
   9:11, 9:14, 9:16,         41:11, 41:14, 43:15,    project [3] - 79:11,       quote [2] - 61:19,         recognition [1] -
   9:21, 9:24, 10:2,         43:20, 44:12, 45:9,      79:12, 82:3                73:13                      61:10
   10:13, 10:19, 10:21,      45:13, 46:19, 47:8,     projects [4] - 74:1,                                  recognize [3] - 52:3,
   10:25, 11:6, 16:5,        47:14, 47:17, 48:23,     75:7, 79:8                           R                53:18, 102:3
   16:12, 16:17, 16:20,      49:1, 49:9, 49:13,      promote [3] - 66:16,                                  recognized [1] - 69:12
   23:10, 23:22, 27:8,       49:19, 49:20, 50:16,     66:18, 66:21                                         recollect [1] - 18:24
   27:12                     52:11, 52:17, 53:6,                                rain [1] - 22:19
                                                     proof [1] - 96:6                                      recollection [11] -
  preceding [1] - 84:24      53:8, 53:13, 53:14,                                rained [1] - 22:22
                                                     providing [2] - 17:10,                                 12:9, 18:20, 19:15,
  preparation [3] - 45:7,    54:22, 55:23, 56:23,                               raining [1] - 20:15
                                                      17:13                                                 19:17, 47:24, 61:15,
   45:12, 45:16              59:11, 59:16, 65:10,                               rains [4] - 15:14, 20:6,    61:23, 61:24, 63:13,
                                                     province [1] - 50:9
  prepare [4] - 44:23,       67:19, 67:21, 68:10,                                20:10, 20:12               64:19, 103:4
                                                     public [9] - 64:5,
   45:17, 46:6, 46:14        68:13, 71:18, 71:20,                               range [1] - 94:17          recommended [2] -
                                                      64:10, 67:2, 67:10,
  prepared [3] - 45:20,      76:11, 76:15, 76:18,     69:3, 71:22, 75:8,        rarely [1] - 42:15          82:18, 83:11
   45:21, 46:12              76:19, 80:22, 83:1,      87:18, 90:12              reach [4] - 34:12,         record [9] - 10:17,
  preparing [1] - 45:1       83:4, 84:2, 84:6,       publication [1] - 96:16     94:5, 100:5, 100:22        30:9, 31:2, 36:8,
  presence [5] - 16:4,       84:23, 84:25, 85:12,    publications [1] - 79:2    reached [3] - 34:3,         36:14, 41:11, 43:9,
   41:5, 64:24, 103:18,      85:18, 85:24, 87:23,                                34:17, 65:15               43:18
                                                     publicity [3] - 9:2,
   103:21                    87:24, 91:11, 91:16,     9:19, 96:16               read [13] - 18:3, 31:6,    recorded [3] - 36:17,
  present [2] - 96:4,        93:11, 93:17, 95:17,                                35:23, 36:8, 36:13,        36:18, 107:3
                                                     published [9] - 65:18,
   104:12                    97:19, 98:7, 98:13,                                 40:20, 41:3, 41:20,       redact [2] - 29:15,
                                                      77:7, 77:14, 77:25,
  presentation [3] -         98:16, 101:8,                                       42:22, 43:1, 43:9,         76:12
                                                      78:20, 87:21, 88:6,
   79:3, 92:15, 102:12       102:15, 102:19,                                     66:2                      redirect [2] - 65:6,
                                                      89:1, 95:12
  presentations [1] -        103:15, 105:18,                                    reading [1] - 42:2          80:13
                                                     publishers [1] - 89:11
   79:4                      105:23                                             ready [2] - 6:9, 103:21    reducing [1] - 22:8
                                                     publishing [1] - 87:25
  presented [2] - 75:8,     primarily [1] - 80:3                                realize [5] - 49:22,       reduction [1] - 107:6
                                                     pumping [1] - 22:15
   101:25                   prime [1] - 52:5                                     50:5, 50:18, 50:25,       refer [8] - 30:18, 33:8,
                                                     pumps [16] - 20:19,
  President [1] - 52:22     Prime [15] - 52:18,                                  51:6                       35:3, 35:17, 49:13,
                                                      20:22, 21:1, 21:3,
  PRESIDING [1] - 1:4        52:24, 53:1, 53:21,                                really [11] - 14:20,        61:21, 71:2, 71:17
                                                      21:6, 21:9, 21:11,
  prestigious [2] -          54:1, 54:9, 54:18,                                  15:1, 15:22, 16:22,       reference [4] - 10:21,
                                                      21:12, 21:16, 21:19,
   102:23, 103:6             54:23, 55:4, 55:11,                                 21:11, 21:17, 22:10,       35:16, 36:7, 43:7
                                                      21:24, 22:7, 22:11,
  pretty [1] - 10:13         55:16, 56:2, 56:14,                                 22:19, 39:12, 47:14,
                                                      22:14, 22:23                                         references [1] - 44:9
                             56:24                                               82:1
  previous [1] - 89:9                                purporting [1] - 70:18                                referencing [1] - 28:7
                            Prince [3] - 62:15,                                 rearranged [1] - 58:11
  Previously [1] - 5:3                               purpose [1] - 29:12                                   referred [3] - 21:15,
                             62:24, 63:8                                        reason [2] - 23:8, 43:4
  previously [2] - 86:18,                            purposes [1] - 29:15                                   37:11, 83:16
                            private [2] - 67:10,                                reasonable [2] -
   96:22                                             pursuant [1] - 104:25                                 referring [8] - 29:6,
                             67:13                                               41:23, 41:25
  PREVIOUSLY [1] -                                   put [13] - 8:17, 17:17,                                29:10, 29:16, 34:20,
                            problem [4] - 13:15,                                reasons [1] - 26:7
   6:11                                               36:15, 49:10, 53:13,                                  37:5, 58:3, 72:22,
                             83:10, 104:16, 105:5                               receded [1] - 15:14         73:22
  price [1] - 42:12                                   59:17, 89:23,
                            problems [6] - 82:11,                               receive [2] - 60:3, 60:4   reflect [3] - 43:10,
  Price [2] - 3:21, 6:15                              100:25, 101:9,
                             82:13, 85:16, 85:19,                               received [38] - 5:10,       43:11
  PRICE [128] - 5:4,                                  101:16, 102:2,
                             85:25, 103:23                                       5:11, 5:11, 5:12,
   6:10, 6:13, 6:16,                                  102:20                                               reflection [1] - 101:17
                            procedure [3] - 33:10,                               5:13, 31:1, 52:13,
   6:17, 8:11, 8:16,                                                                                       reflects [2] - 76:12,
                             34:5, 35:7                                          53:11, 60:6, 61:2,
   8:21, 8:22, 11:24,
                            procedures [2] -
                                                                Q                61:12, 61:16, 62:2,
                                                                                                            83:23
   11:25, 17:17, 17:21,                                                                                    refresh [3] - 18:20,
   17:25, 18:2, 24:20,       54:11, 54:15                                        62:3, 62:7, 62:23,
                                                                                                            35:5, 83:20
   25:10, 25:14, 25:16,     proceed [3] - 6:9,       quarter [2] - 44:2, 91:2    63:6, 68:11, 76:21,
                                                                                                           regard [2] - 9:19, 9:24
   25:21, 25:24, 28:9,       33:12, 59:15            quarters [1] - 44:5         76:24, 81:8, 83:23,
                                                                                                           regarded [1] - 20:5
   28:11, 29:14, 29:20,     Proceedings [1] -        Queen [1] - 56:18           84:5, 90:16, 91:13,
                                                                                                           regarding [1] - 42:14
   29:23, 30:1, 30:6,        1:16                    questions [6] - 8:12,       91:15, 93:12, 93:13,
                                                                                                           regards [1] - 99:14
   30:8, 30:24, 31:5,       proceedings [3] -         8:16, 55:22, 55:24,        96:25, 97:4, 97:13,
                                                                                                           regretted [1] - 89:13
   32:2, 32:9, 32:13,        64:24, 103:18, 107:3     65:7, 96:5                 101:6, 101:7,
                                                                                                           regulations [1] - 107:7
   32:15, 32:21, 32:23,     process [3] - 92:20,     quickly [8] - 20:4,         102:17, 102:18,
                                                                                                           relate [1] - 70:22
   33:1, 33:4, 33:13,        99:14, 99:16             24:3, 24:7, 24:15,         105:3
                                                                                                           related [1] - 73:9
   33:16, 33:19, 33:21,     procured [1] - 74:1       25:7, 41:19, 95:18,       receiving [5] - 60:24,
                                                                                                           relationship [7] -
   33:25, 34:11, 34:23,     produced [2] - 37:3,      104:4                      61:10, 62:20, 63:22,
                                                                                                            74:16, 75:13, 75:17,
   35:9, 35:11, 35:17,       99:18                   quiet [1] - 79:5            64:9
                                                                                                            78:9, 87:1, 89:21,
   35:21, 35:25, 36:1,      producer [1] - 75:9      Quinn [6] - 3:9, 3:13,     recently [1] - 79:17
                                                                                                            89:24
   36:8, 36:15, 36:19,      productions [1] -         3:17, 3:21, 4:4, 4:8      recess [4] - 42:5,
                                                                                                           relative [5] - 51:12,
   39:16, 39:22, 40:24,      97:24                   quite [3] - 31:17,          64:21, 105:25, 106:4
                                                                                                            78:18, 78:19, 90:24,




                                     UNITED STATES DISTRICT COURT
Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 118 of 121 Page ID
                                  #:6097
                                                                         11

   90:25                       73:24                                              77:4                       15:5, 16:1
                                                                  S
  released [5] - 87:15,      respected [1] - 73:22                               sent [12] - 9:18, 10:4,    Som [1] - 99:22
   96:22, 97:2, 97:4,        respond [4] - 31:22,                                 10:8, 30:21, 40:1,        someone [12] - 9:5,
   97:25                       34:16, 41:8, 41:10      Sadler [1] - 97:24         69:6, 78:18, 81:22,        11:4, 11:7, 17:7,
  relevancy [1] - 31:3       responded [1] - 34:2      safety [2] - 9:20, 9:25    87:17, 87:21, 90:8,        18:5, 27:16, 31:18,
  remain [3] - 74:17,        response [8] - 8:12,      SAR [1] - 98:1             90:20                      37:11, 54:14, 54:19,
   75:15, 83:8                 33:6, 34:10, 51:4,      save [4] - 9:2, 12:4,     sentence [1] - 44:14        70:18, 94:5
  remained [2] - 22:3,         73:8, 93:22, 96:8,       25:21, 42:13             September [11] - 28:8,     sometime [3] - 69:3,
   78:12                       106:1                   saved [2] - 9:7, 13:25     57:25, 58:5, 58:14,        89:25, 94:10
  remember [15] -            result [1] - 69:10        saw [3] - 23:25, 74:22     64:20, 70:23, 71:5,       sometimes [1] - 79:8
   17:14, 17:16, 18:7,       RESUMED [2] - 5:4,        scales [1] - 66:15         71:13, 72:3, 94:10,       somewhere [2] -
   18:16, 19:6, 33:11,         6:12                    scenario [2] - 22:23,      94:11                      18:11, 40:10
   48:5, 58:4, 60:6,         retired [1] - 75:10        79:3                     serious [1] - 22:17        soon [1] - 79:6
   60:8, 63:21, 66:1,        retrieve [1] - 100:8      scene [1] - 98:3          SESSION [2] - 1:17,        Soontornvat [2] -
   72:13, 81:2, 98:24        return [1] - 104:23       scheduled [1] - 58:6       6:4                        94:7, 94:8
  remind [2] - 11:19,        Return [1] - 99:22        Schwartz [1] - 3:17       set [1] - 67:12            sorry [23] - 14:23,
   76:3                      review [5] - 103:11,      screen [1] - 67:18        several [2] - 21:7, 91:8    29:23, 33:24, 42:12,
  remotely [1] - 97:9          103:12, 105:13,         Seals [3] - 72:22,        shall [1] - 43:18           43:16, 48:16, 50:14,
  removed [2] - 69:22,         105:16, 105:25           100:2, 100:7             Shanghai [1] - 74:10        51:23, 51:24, 54:6,
   104:13                    rich [2] - 48:9, 51:9     seals [1] - 72:5          short [6] - 15:22,          56:8, 64:16, 75:4,
  repeat [5] - 11:12,        Richard [3] - 62:15,      search [1] - 67:3          15:24, 47:10, 47:14,       79:20, 84:14, 84:24,
   50:14, 54:6, 86:11,         62:25, 63:8             second [7] - 8:21,         70:21, 100:19              85:21, 86:11, 91:4,
   91:4                      Rick [5] - 12:8, 40:2,     33:18, 57:9, 57:10,      shot [2] - 67:18, 67:22     93:10, 95:18, 99:6,
  reported [1] - 62:19         41:17, 80:7, 105:3       57:22, 61:9, 84:7        show [5] - 25:9, 52:16,     102:15
  Reporter [2] - 1:23,       rightly [1] - 82:10       seconds [2] - 35:24,       60:15, 76:10, 101:2       sort [11] - 48:1, 49:23,
   107:11                    rights [1] - 85:8          47:9                     showing [2] - 100:20,       50:5, 50:19, 50:25,
  reporter [1] - 51:3        ring [2] - 97:21, 97:22   section [3] - 25:8,        105:21                     51:6, 52:21, 57:9,
  Reporter's [1] - 1:16      rise [1] - 64:22           25:17, 100:22            shown [2] - 98:9,           75:10, 96:16
  reporters [1] - 106:5      risked [5] - 69:12,       sections [1] - 21:18       98:11                     sought [1] - 56:3
  represent [1] - 73:9         69:15, 70:19, 81:10,    sedate [1] - 38:5         shows [1] - 68:21          sound [1] - 92:7
  representing [5] -           83:17                   sedation [1] - 70:8       SIC [2] - 33:3, 86:7       South [4] - 3:14, 3:18,
   70:19, 75:20, 85:5,       risking [2] - 69:18,      see [52] - 11:4, 11:7,    side [4] - 15:8, 22:18,     3:22, 4:8
   92:21                       69:20                    14:18, 16:1, 18:4,        77:19, 79:3               space [5] - 15:22,
  represents [1] - 82:20     Rob [1] - 95:25            24:4, 27:16, 28:22,      sidebar [1] - 105:1         15:24, 22:5, 40:3,
  request [5] - 25:16,       Robert [1] - 3:17          31:11, 32:11, 32:18,     silk [2] - 101:3, 102:5     70:21
   40:24, 41:1, 93:18,       robertschwartz@            32:25, 33:2, 33:14,      simply [1] - 105:2         spaced [1] - 77:2
   104:11                      quinnemanuel.com         33:23, 34:21, 35:16,     single [2] - 27:24, 77:1   SpaceX [9] - 15:16,
  requested [3] - 23:8,        [1] - 3:20               36:7, 39:6, 39:10,       sit [3] - 10:20, 66:14,     16:4, 16:6, 16:10,
   92:22, 100:6              Robinson [17] - 73:23,     42:8, 47:10, 49:2,        103:9                      17:10, 17:15, 18:12,
  rescue [39] - 6:18, 7:3,     76:7, 76:24, 77:4,       53:11, 53:17, 54:10,     site [5] - 18:6, 25:1,      18:15, 18:21
   11:6, 11:16, 12:12,         81:23, 83:24, 85:4,      62:22, 68:14, 83:3,       26:25, 27:20, 100:20      span [1] - 45:24
   12:14, 13:8, 14:21,         89:18, 89:22, 90:2,      86:5, 87:5, 87:13,       sitting [3] - 10:16,       speaking [1] - 19:2
   15:2, 18:6, 18:10,          90:21, 91:3, 91:18,      88:23, 90:9, 90:10,       16:16, 23:8               special [2] - 6:7, 70:15
   19:23, 20:17, 22:25,        91:24, 92:13, 92:24,     90:11, 90:12, 90:22,     situation [3] - 42:14,     specific [11] - 29:21,
   25:1, 26:15, 26:25,         95:20                    91:2, 91:18, 91:19,       42:19, 78:20               33:9, 55:5, 55:6,
   27:1, 27:20, 38:9,        Rock [2] - 100:11,         92:1, 92:12, 92:16,      six [3] - 15:13, 44:7,      55:13, 60:13, 60:14,
   47:4, 54:25, 64:2,          101:1                    93:8, 93:9, 96:6,         57:21                      61:24, 91:1, 96:4,
   68:8, 68:25, 69:3,        role [1] - 77:2            96:11, 98:2, 98:9        six-month [1] - 57:21       98:25
   69:10, 69:16, 69:18,      Room [1] - 1:24           seeing [1] - 10:16        skeg [1] - 70:1            specifically [7] - 25:1,
   73:10, 77:2, 79:13,       row [1] - 55:2            seek [1] - 56:4           slang [4] - 72:18,          51:22, 62:4, 70:20,
   79:15, 82:8, 88:3,        Royal [8] - 59:21,        seem [2] - 18:7, 18:11     72:24, 72:25, 73:5         71:25, 96:24, 100:6
   94:1, 96:20                 61:3, 61:5, 61:8,       select [3] - 49:3,        small [5] - 13:16, 20:1,   speech [1] - 62:4
  rescued [1] - 100:1          62:11, 62:14, 62:24,     55:15, 99:12              22:5, 60:7, 101:2         spend [2] - 18:15,
  rescuers [5] - 25:3,         63:8                    selective [1] - 15:5      smallest [4] - 13:17,       42:1
   26:17, 58:24, 59:7,       RPR [2] - 1:23, 107:11    selects [1] - 63:18        19:23, 19:25, 23:3        spent [7] - 17:15,
   87:8                      rule [1] - 104:6          sell [1] - 76:8           social [1] - 61:13          44:23, 45:1, 45:17,
  reside [1] - 56:11         run [3] - 46:11, 57:20,   semi [1] - 75:10          Social [3] - 61:20,         89:10, 89:11, 100:13
  resides [2] - 53:21,         57:21                   send [1] - 10:13           62:24, 90:17              SPIRO [8] - 11:22,
   94:18                     running [1] - 47:24       sending [5] - 9:13,       sold [1] - 85:8             104:2, 104:7,
  respect [2] - 19:23,       rush [1] - 42:5            9:23, 10:18, 10:25,      solution [3] - 14:10,       104:11, 104:15,




                                       UNITED STATES DISTRICT COURT
Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 119 of 121 Page ID
                                  #:6098
                                                                         12

   104:17, 105:6,             42:2, 70:7, 74:17,         68:8, 80:25                 26:19, 32:8, 45:16,       29:22, 29:25, 30:4,
   105:10                     76:7, 97:9                successfully [1] -           45:18                     30:7, 31:1, 31:4,
  Spiro [1] - 3:9            stipulate [1] - 43:3        20:11                     tethering [2] - 12:18,      32:5, 32:12, 32:20,
  splitting [1] - 57:12      stipulation [13] -         suffer [2] - 82:14, 83:6     12:19                     32:22, 32:25, 33:2,
  sponsored [2] - 59:2,       42:24, 43:1, 43:6,        suggest [2] - 34:8,        Texas [1] - 94:19           33:10, 33:14, 33:18,
   59:3                       44:10, 80:14, 98:8,        59:25                     text [23] - 30:9, 30:15,    33:20, 33:23, 34:6,
  Springer [1] - 2:9          103:22, 104:1,            suggesting [1] - 92:10       30:21, 34:15, 37:2,       34:22, 35:7, 35:10,
  stage [3] - 62:7, 63:21,    104:8, 104:24,            suggests [1] - 78:9          37:8, 37:11, 37:15,       35:19, 35:23, 36:13,
   91:1                       105:2, 105:9, 105:10      Suite [1] - 2:10             37:17, 37:20, 38:15,      36:17, 39:14, 39:15,
  stamped [1] - 28:21        stop [3] - 19:18,          Sullivan [6] - 3:9,          38:21, 39:1, 39:18,       39:20, 40:20, 40:23,
  stand [7] - 11:3,           22:16, 60:24               3:13, 3:17, 3:21, 4:4,      40:1, 41:14, 42:14,       41:1, 41:5, 41:7,
   20:24, 54:8, 55:7,        stopped [2] - 15:10,        4:8                         42:15, 42:16, 42:19,      41:10, 41:13, 41:19,
   55:10, 55:13, 104:5        15:11                     sum [3] - 89:8, 96:25,       43:16, 60:16, 62:22       41:21, 41:22, 42:4,
  standing [1] - 54:1        story [42] - 63:25,         97:4                      texts [6] - 28:16,          42:11, 42:12, 42:24,
  stands [1] - 68:17          64:2, 64:5, 64:7,         summer [1] - 66:25           39:23, 43:8, 43:12,       43:6, 43:19, 44:9,
  Stanton [14] - 9:13,        64:10, 65:14, 65:16,      supplies [1] - 21:4          44:8, 60:9                45:6, 45:11, 46:17,
   12:9, 29:24, 39:1,         66:17, 66:19, 66:21,      suppose [2] - 56:5,        Thai [15] - 12:2, 34:25,    49:12, 49:15, 50:10,
   41:18, 44:6, 80:7,         70:25, 71:15, 71:22,       69:18                       35:14, 35:16, 36:7,       50:14, 52:13, 52:16,
   80:15, 80:19, 98:4,        71:24, 71:25, 74:22,      surprised [1] - 13:10        36:20, 36:23, 59:1,       53:5, 53:7, 53:10,
   104:13, 104:22,            74:24, 75:2, 75:8,        survey [3] - 14:17,          60:23, 61:3, 61:5,        54:21, 55:20, 56:19,
   105:3, 105:21              75:21, 76:8, 77:16,        17:10, 17:11                61:8, 64:19, 72:5,        56:22, 59:14, 64:21,
  start [6] - 14:21, 15:2,    78:2, 78:6, 78:23,                                     80:2                      65:3, 65:8, 68:11,
                                                        surveying [1] - 16:1
   21:12, 21:14, 21:20,       79:21, 79:23, 80:3,                                  Thai-Irish [1] - 80:2       71:19, 76:14, 76:16,
                                                        surveys [1] - 15:17
   80:24                      80:5, 80:7, 80:21,                                   Thailand [25] - 9:13,       80:16, 80:18, 82:25,
                                                        sus [1] - 51:1
  started [5] - 19:15,        80:25, 82:9, 84:12,                                    9:19, 10:19, 15:17,       83:3, 84:4, 84:22,
                                                        sustain [1] - 46:17
   57:11, 57:14, 66:12,       84:15, 87:17, 88:2,                                    16:17, 38:20, 57:9,       85:20, 87:22, 91:13,
                                                        Sustained [4] - 54:21,
   90:23                      88:14, 89:6, 89:15,                                    57:12, 57:17, 58:1,       93:12, 93:15, 95:16,
                                                         56:22, 95:16, 97:18
  starting [3] - 32:18,       99:2, 99:9                                             58:10, 58:13, 58:16,      97:18, 98:11, 101:6,
                                                        sustained [2] - 68:25,
   36:5, 75:19               stream [3] - 41:15,                                     60:10, 61:11, 61:14,      102:17, 103:14,
                                                         69:10
                              41:16, 60:17                                           61:16, 62:10, 72:15,      103:16, 103:24,
  starts [2] - 84:8, 84:20                              sway [1] - 86:23
                             streaming [1] - 41:15                                   90:15, 91:21, 97:7,       104:9, 104:13,
  state [7] - 41:12,                                    switched [1] - 106:5
                             Street [11] - 1:24, 2:6,                                97:8, 97:16, 98:20        104:16, 104:19,
   43:18, 80:14, 88:11,                                 sworn [1] - 26:18
                              2:10, 2:14, 2:21, 3:4,                               Thais [4] - 72:10,          104:24, 105:5,
   103:22, 103:25,                                      SWORN [1] - 6:11
                              3:14, 3:18, 3:22, 4:8,                                 72:11, 72:12, 73:3        105:8, 105:11,
   105:2                                                Sworn [1] - 5:3
                              53:18                                                Tham [3] - 57:10,           105:24
  statement [12] - 24:6,                                systems [1] - 57:15
                             stretcher [1] - 70:6                                    96:24, 99:25             therefore [1] - 100:4
   24:7, 24:14, 24:15,
                             strike [1] - 79:11                                    Thanet [43] - 28:3,        Theresa [1] - 54:1
   24:22, 25:6, 27:21,
   50:6, 83:13, 83:15,       string [2] - 92:24, 93:8
                                                                   T                 28:13, 28:17, 29:4,      they've [3] - 82:4,
   85:22, 92:3               studio [1] - 79:15                                      30:1, 30:10, 30:21,       82:11, 83:9
  statements [3] -           stunt [20] - 8:24, 9:6,    table [1] - 89:4             31:18, 31:22, 34:2,      thinking [2] - 82:3,
   23:12, 23:15, 49:14        9:11, 9:14, 9:16,         Tallin [2] - 81:14,          34:13, 34:24, 35:13,      95:10
  states [1] - 107:7          9:21, 9:24, 10:2,           81:20                      36:20, 37:9, 39:17,      third [1] - 91:5
  STATES [1] - 1:1            10:13, 10:19, 10:21,      Taylor [1] - 2:13            41:15, 43:21, 60:17,     thirds [1] - 95:21
  States [1] - 52:22          11:1, 16:5, 16:13,        TC [1] - 33:3                60:22, 61:19, 61:25,     Thompson [1] - 4:3
  station [2] - 7:13, 7:17    16:17, 16:20, 23:10,      team [18] - 12:10,           62:23, 63:3, 71:11,      thousands [1] - 47:25
  Station [1] - 21:15         23:22, 27:9, 27:12          13:10, 19:3, 28:25,        71:14, 72:9, 74:5,       thread [3] - 83:3,
                             stupid [4] - 72:10,          31:8, 61:13, 61:16,        80:25, 81:3, 81:16,       87:13, 91:4
  Staton's [1] - 80:12
                              72:11, 72:15, 72:19         61:18, 62:3, 62:5,         81:21, 82:13, 83:5,      threads [1] - 90:10
  stenographically [1] -
                             sub [9] - 9:24, 10:4,        62:8, 63:2, 63:22,         83:16, 84:18, 85:1,      THREE [1] - 1:16
   107:3
                              10:8, 10:13, 10:18,         79:25, 90:17, 98:24,       86:14, 86:15, 86:16,     three [22] - 18:9,
  step [8] - 9:10, 48:6,
                              10:25, 23:1, 23:8,          105:6                      86:18, 87:11, 89:13       22:19, 22:22, 26:14,
   66:22, 71:4, 79:7,
                              23:10                     telephone [1] - 1:25       Thanet's [2] - 33:6,        26:16, 32:16, 44:5,
   104:16, 104:17,
                             submarine [2] - 9:18,      television [1] - 7:15        43:16                     45:23, 56:12, 71:5,
   104:19
                              23:15                     Temple [1] - 2:18          thanking [1] - 59:19        71:14, 74:9, 74:15,
  STEPHEN [1] - 1:4
                             submersion [1] - 22:9      ten [3] - 7:21, 35:24,     Thanton's [1] - 43:16       75:13, 75:23, 78:10,
  stick [1] - 23:15
                             submit [1] - 36:11           65:7                     THE [112] - 2:4, 3:2,       88:1, 89:9, 89:22,
  still [19] - 9:21, 10:1,
                             substantial [1] - 91:25    tense [1] - 23:4             3:8, 4:2, 6:6, 8:14,      94:21, 101:15
   10:20, 11:3, 11:10,
                             substantially [1] -        terminology [1] - 92:6       8:19, 11:23, 18:1,       throughout [1] - 66:4
   13:9, 13:15, 13:24,
                              19:8                      testified [1] - 69:21        24:18, 24:19, 25:20,     THURSDAY [2] - 1:18,
   14:2, 14:3, 14:9,
                             successful [3] - 13:6,     testimony [5] - 24:13,       29:8, 29:10, 29:17,       6:1
   19:19, 19:22, 23:8,




                                       UNITED STATES DISTRICT COURT
Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 120 of 121 Page ID
                                  #:6099
                                                                         13

  ticha [1] - 91:20          Tune [2] - 77:10, 77:22   united [1] - 107:7        vetting [3] - 54:10,      WEST [1] - 1:24
  Ticha [1] - 90:24          turn [2] - 25:15, 77:1    United [5] - 52:22,        54:11, 54:15             West [5] - 2:6, 2:14,
  Tik [2] - 46:24, 57:18     turned [2] - 88:8, 88:9    58:3, 59:19, 60:10,      via [1] - 93:20            2:18, 2:21, 3:4
  timeframe [3] - 90:1,      TV [1] - 97:24             60:25                    video [12] - 23:24,       wet [1] - 36:23
    102:7                    tweet [5] - 48:14,        UNITED [1] - 1:1           47:8, 47:16, 47:18,      whatsoever [4] -
  timestamp [5] - 31:25,       48:17, 75:3, 88:12,     unless [2] - 90:3, 98:8    48:24, 92:15, 92:19,      21:22, 39:25, 78:8,
    33:21, 35:18, 35:22,       103:7                   unlikely [1] - 79:2        100:18, 100:19,           80:6
    36:9                     tweeted [1] - 64:9        unprotected [1] - 13:4     100:23, 101:2,           White [1] - 53:21
  today [7] - 10:20,         tweets [16] - 39:25,      UNSWORTH [3] - 1:8,        105:20                   whole [6] - 20:20,
    11:10, 11:12, 16:16,       46:21, 47:20, 50:22,     5:3, 6:11                Video [2] - 48:25, 49:8    22:3, 22:4, 22:9,
    23:9, 66:14, 103:9         51:17, 51:18, 52:9,     Unsworth [27] - 6:14,     Videotape [1] - 8:20       98:24, 100:4
  together [3] - 82:6,         56:16, 57:25, 64:1,      8:23, 25:23, 30:9,       videotape [1] - 47:11     wife [1] - 85:2
    100:25, 102:2              71:22, 74:23, 87:16,     32:3, 33:5, 34:12,       videotaped [1] - 8:15     Wild [3] - 86:4, 86:8,
  Tom [2] - 79:18, 80:1        87:20, 87:25, 95:2       39:13, 47:10, 47:18,     Videotaped [1] - 25:23     86:19
  took [5] - 36:24, 47:4,    twilson@                   49:21, 51:24, 53:15,     view [1] - 74:4           wildly [1] - 54:19
    48:13, 77:20, 100:10       linwoodlaw.com [1]       65:11, 67:3, 72:1,       viewed [6] - 8:15,        William [1] - 3:21
  top [6] - 53:17, 76:12,      - 2:16                   74:23, 76:20, 80:23,      8:20, 25:23, 47:16,      williamprice@
    81:8, 84:3, 88:19,       two [29] - 12:19,          91:6, 98:9, 100:23,       48:25, 49:8               quinnemanuel.com
    92:12                      12:25, 14:25, 18:9,      101:18, 101:25,          virtually [1] - 58:12      [1] - 3:24
  total [3] - 58:15,           22:7, 26:7, 38:20,       105:13, 105:19,          visa [2] - 57:20, 57:21   willing [2] - 10:17,
    63:14, 97:5                43:24, 43:25, 45:22,     105:25                   voiceover [2] - 98:3,      10:24
  totally [2] - 38:13,         45:23, 47:3, 74:9,      up [18] - 6:19, 8:17,      105:20                   WILSON [1] - 1:4
    89:10                      75:12, 75:22, 78:10,     17:17, 22:3, 22:16,      Volanthen [5] - 37:18,    Wilson [2] - 2:13, 65:4
  touch [2] - 102:6,           78:14, 83:11, 87:2,      28:14, 42:17, 50:12,      37:23, 41:16, 43:23,     window [1] - 20:5
    102:8                      87:8, 89:22, 91:22,      53:13, 53:17, 59:17,      80:20                    wish [2] - 42:12, 96:5
  toward [1] - 61:13           95:21, 96:21, 97:22,     62:17, 67:12, 77:5,      volume [1] - 22:24        withdraw [1] - 85:21
  trail [1] - 90:22            98:18, 98:21, 98:22,     80:12, 96:8, 97:6,       volumes [1] - 38:20       WITNESS [10] - 5:2,
  trailer [5] - 99:17,         101:15                   102:20                   volunteers [2] - 58:24,    24:19, 39:15, 41:21,
    99:20, 99:22,            TWO [1] - 6:3             urging [1] - 42:25         82:9                      42:12, 45:11, 50:14,
    101:20, 101:23           two-thirds [1] - 95:21    Urquhart [6] - 3:9,       vS [1] - 1:11              71:19, 80:18, 83:3
  training [1] - 70:15       TX [1] - 2:10              3:13, 3:17, 3:21, 4:4,                             witness [8] - 25:12,
                             TX6 [5] - 5:13, 102:12,    4:8
  Transcript [1] - 1:16                                                                    W                30:3, 32:5, 35:17,
  transcript [8] - 8:17,       102:14, 102:18,         US [1] - 19:4                                        104:3, 104:5,
    17:18, 23:24, 49:10,       102:20                  useful [1] - 75:11                                   104:17, 104:19
    49:12, 107:3, 107:5      type [2] - 75:5, 97:10                              Wade [1] - 3:3
                                                                                                           witnesses [1] - 104:12
  transcripts [1] - 41:3                                          V              wait [3] - 33:18, 43:5,
                                                                                                           woman [1] - 94:6
                                                                                  104:20
  transporting [1] -                    U                                                                  WOO [1] - 103:25
    69:22                                                                        waiting [1] - 36:22
                                                                                                           WOOD [54] - 17:20,
                                                       vague [2] - 11:22,        Waller [2] - 79:18,
  trapped [1] - 19:20                                                                                       17:23, 24:17, 25:18,
                             U.S [4] - 31:17, 31:19,    85:17                     80:1
  trial [2] - 45:17, 49:16                                                                                  28:6, 28:10, 29:5,
                              85:9                     valuable [5] - 64:5,      Warny [2] - 80:1, 80:3
  TRIAL [2] - 1:16, 6:3                                                                                     29:9, 31:2, 33:7,
                             UK [21] - 7:11, 7:13,      71:22, 74:22, 87:17,     watch [1] - 7:15
  tried [1] - 71:14                                                                                         34:4, 36:10, 39:12,
                              12:10, 13:10, 19:3,       88:2                     watched [1] - 80:8
  true [17] - 12:1, 26:9,                                                                                   40:19, 40:22, 41:24,
                              53:2, 56:18, 58:9,       value [2] - 75:2, 75:3    water [22] - 20:19,
    34:17, 34:24, 35:12,                                                                                    42:21, 43:3, 45:5,
                              61:13, 61:16, 61:18,     varies [1] - 97:11         20:22, 21:1, 21:3,
    54:12, 55:15, 59:3,                                                                                     46:15, 46:18, 47:13,
                              62:3, 62:5, 63:2,        varying [1] - 40:6         21:6, 21:9, 21:11,
    61:2, 61:18, 62:23,                                                                                     50:8, 52:14, 53:9,
                              90:17, 93:7, 93:20,      verb [1] - 23:4            21:12, 21:13, 21:16,
    68:24, 79:14, 83:5,                                                                                     54:20, 55:18, 56:17,
                              97:9, 98:20, 98:22,      verified [1] - 27:19       21:19, 21:24, 22:7,
    95:4, 99:1, 107:2                                                                                       56:21, 59:13, 65:1,
                              104:23                   verify [1] - 27:16         22:8, 22:11, 22:14,
  try [9] - 9:14, 12:3,                                                                                     65:4, 65:9, 80:11,
                             umm [1] - 31:16           Vern [7] - 32:19, 96:1,    22:15, 22:23, 22:24
    12:11, 27:15, 27:18,                                                                                    80:17, 85:10, 85:17,
                             uncertainty [1] - 14:9     96:3, 96:6, 101:18,      ways [1] - 15:1
    28:3, 55:24, 59:3,                                                                                      85:21, 87:20, 91:14,
                             uncomplimentary [1]        101:25                   wear [1] - 16:10
    77:11                                                                                                   93:14, 93:16, 95:14,
                              - 73:2                   Vernon [5] - 67:3,        weather [3] - 13:13,
  trying [12] - 9:1, 10:5,                                                                                  97:17, 101:5,
                             under [3] - 26:10,         71:25, 74:23, 91:6,       20:4, 23:2
    10:9, 15:7, 66:16,                                                                                      102:14, 102:16,
                              32:24, 70:7               92:1                     week [1] - 45:23
    69:9, 76:8, 77:15,                                                                                      103:20, 104:5,
                             understandably [1] -      VERNON [3] - 1:8, 5:3,    weeks [8] - 45:23,
    81:19, 83:18, 88:21,                                                                                    104:22, 104:25,
                              82:10                     6:11                      46:3, 74:8, 74:9,
    98:17                                                                                                   105:9, 105:22, 106:3
                             understood [3] -          Vernon's [1] - 92:15       75:13, 75:23, 78:10,
  tube [3] - 9:8, 9:11,                                                                                    Wood [6] - 2:5, 2:5,
                              19:13, 27:11, 74:1       version [1] - 101:21       89:22
    9:12                                                                                                    2:9, 2:13, 2:21, 3:4
                             undertook [1] - 11:5      vetted [1] - 54:5         Weisbart [1] - 2:9
  Tuesday [1] - 23:23                                                                                      word [5] - 72:12,




                                       UNITED STATES DISTRICT COURT
Case 2:18-cv-08048-SVW-JC Document 167 Filed 12/23/19 Page 121 of 121 Page ID
                                  #:6100
                                                                         14

   72:18, 72:24, 72:25,
   73:5
  words [3] - 49:17,
   73:20, 78:2
  works [4] - 18:5, 67:5,
   67:9, 77:18
  world [1] - 12:15
  worldwide [2] - 7:18,
   48:9
  worth [2] - 89:6, 89:8
  write [3] - 33:5, 34:1,
   93:23
  writing [4] - 63:4,
   73:18, 82:1, 94:20
  written [1] - 78:8
  wrote [2] - 31:6, 31:13

             Y

  Year [5] - 99:3, 99:5,
   99:7, 99:9, 99:13
  year [15] - 25:6, 30:12,
   57:14, 64:20, 78:14,
   78:16, 78:25, 79:4,
   82:19, 91:23, 94:2,
   94:11, 99:1, 99:23,
   103:5
  years [3] - 7:9, 74:15,
   94:17
  Years [1] - 78:14
  yesterday [12] - 24:14,
   24:21, 26:4, 26:6,
   26:13, 72:13, 72:18,
   72:20, 73:7, 80:15,
   97:5, 97:6
  York [2] - 3:10, 4:5
  yourself [2] - 45:21,
   70:14

             Z

  Zalduendo [1] - 4:7
  zero [2] - 46:3, 53:8

              £

  £1,000 [1] - 97:4
  £1,400 [1] - 96:25
  £25,000 [1] - 97:12




                             UNITED STATES DISTRICT COURT
